Gov. Ex. 37
                                     HIGHLY CONFIDENTIAL


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     1                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF ILLINOIS

     2                                 EASTERN DIVISION

     3                                              )

             IN RE: DEALER MANAGEMENT               ) MDL NO. 2817

     4       SYSTEMS ANTITRUST                      )

             LITIGATION,                            ) CASE NO. 18 C 864

     5                                              )

     6

     7

     8    ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN, VOL 2

     9                Highly Confidential - Attorneys' Eyes Only

   10                                  January 17, 2019

   11

   12            ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN,

   13      VOLUME 2, produced as a witness at the instance of the

   14     PLAINTIFF(S), and duly sworn, was taken in the

   15     above-styled and numbered cause on the 17th day of

   16      January, 2019, from 9:07 a.m. to 4:43 p.m., via

   17     telephone, before Shauna L. Beach, RDR, CRR, CSR in and

   18     for the State of Texas, reported by machine shorthand,

   19     at the law offices of Gibbs & Bruns, LLP, 1100

   20     Louisiana, Suite 5300, Houston Texas                   77002, pursuant to

   21     the Federal Rules of Civil Procedure and the provisions

   22     stated on the record or attached hereto.

   23

   24

   25


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                                                                                  FTC-0001253

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              BRICE WILKINSON                                                 2 2
          4   Gibbs & Bruns,LLP                                                    Appearances                           176
               1 100 Louisiana                                                3 3
          5   Suite 5300
              Houston, Texas 77002
                                                                              4 4 ROBERT BROCKMAN
          6   agulleyggibbsbruns.com                                          5 5 Examination by Ms. Wedgworth                     176
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              MICHAEL N. NEMELKA
        10 JOSEPH LONG                                                             Signature and Changes                     369
              Kellogg Hansen Todd Figel & Frederick                           9 9
        11    Sumner Square                                                        Reporter's Certificate                 370
               1615 M Street, NW., Suite 400
                                                                             10 10
        12    Washington, D.0 20036
              mnemelkagkellogghansen.com                                     11 11
        13    jlonggkellogghansen.com                                        12 12
        1 4 FOR THE HEATERS-MP CT.A SS PT./UNTIE-FS,                         13 13
        15    PEGGY J. WEDGWORTH
              ROBERT WALLNER (appearing telephonically)
                                                                             14 14
        16    JOHN HUGHES                                                    15 15
              Milberg Tadler Phillips Grossman,LLP                           16 16 Tt came to our attention earlier today that there was an
        17    One Pennsylvania Plaza
                                                                                inadvertent mis-numbering of exhibits at the deposition of Ronald
               19th Floor
        18    New York, New York 10119                                       17 17 Lamb,causing a duplication of exhibits
              pwedgworthgmilberg.com                                         18 18 "Plaintiffs`-670" through "Plaintiffs`-679." Accordingly,
        19    rwallnergmilberg.com                                           19 19 Veritext will be adjusting the numbering of the duplicate
        20 FOR CDK GLOBAL:
        21    MARK RYAN
                                                                             20 20 exhibits to reflect the deponent
              Mayer Brown                                                    21 21
        22    1999 K Street, N.W.                                            22 22
              Washington, DC 20006-1101
                                                                             23 23
        23    mryan(dtmayerbrown.com
        24                                                                   24 24
        25                                                                   25 25

                                                                  Page 169                                                                      Page 171
                       A PPEARANCES                                           1               EXHIBITS
                                                                                  NO.      DESCRIPTION                  PAGE
         2   FOR THE WITNESS:                                                2
         3     MICHAEL P.A. COHEN                                                 Exhibit 274 Email chain ending with email to 318
                                                                             3           Robert Theron Brockman, II fi on Bob
               Sheppard Mullin                                                           Brockman dated November 9,2016
         4     2099 Pennsylvania Avenue                                      4           REYMDL00263304
               Suite 100                                                                 Highly Confidential - Attorneys'
                                                                             5           Eyes Only
         5     Washington, D.C. 20006-6801                                   6    Exhibit 275 Email chain ending with email to 321
               mcohengsheppardmullin.com                                                 Christopher Rulon from Bob Brockman
                                                                             7           dated September 17, 2013
         6                                                                               REYMDL00611282 - REYMDL00611284
             ALSO PRESENT:                                                   8           Highly Confidential - Attorneys'
         7                                                                               Eyes Only
                                                                             9
               SCOTT CHERRY                                                       Exhibit 657 Email chain ending with email to 184
         8     Vice President - General Counsel at The Reynolds              10          Bob Brockman from Ronald Lamb dated
                                                                                         September 2,2015
               and Reynolds Company                                          11          REYMDL00244021 - REYMDL00244025
         9                                                                               Highly Confidential - Attorneys'
                                                                             12          Eyes Only
               Ben Harwood, Videographer
                                                                             13   Exhibit 658 Email chain ending with email to 201
        10                                                                               Robert Schaefer from Bob Brockman
        11                                                                   14          dated April 30, 2015
                                                                                         REYMDL00045348
        12                                                                   15          Highly Confidential - Attorneys'
        13                                                                               Eyes Only
                                                                             16
        14
                                                                                  Exhibit 659 Email chain ending with email to 213
        15                                                                   17          Bob Brockman from Ron Workman dated
        16                                                                               December 24, 2015
                                                                             18          CDK-CID-00963942
        17                                                                               Confidential
        18                                                                   19          Highly Confidential
                                                                             20   Exhibit 660 Reynolds and Reynolds January 2016 221
        19
                                                                                         Financial Package
        20                                                                   21          REYMDL00719700 - REYMDL00719787
        21                                                                               Highly Confidential - Attorneys'
                                                                             22          Eyes Only
        22                                                                   23   Exhibit 661 Email chain ending with email to 229
        23                                                                               Bob Brockman from Robert Schaefer
                                                                             24          dated January 5,2016
        24                                                                               REYMDL00045556
        25                                                                   25        Highly Confidential - Attorneys'Eyes Only


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         1               EXHIBITS                                               1   1             EXHIBITS
             NO.      DESCRIPTION                  PAGE                                 NO.   DESCRIPTION              PAGE
         2                                                                     22
             Exhibit 662 Email chain ending with email to 234                        Exhibit 674 Email chain ending with email to 276
         3          Robert Schaefer from Craig Moss                             3 3 Brockman Tommy Barras from Jonathan
                    dated October 7,2016                                                    Strawsburg dated July 19, 2017
        4           REYMDL00590725 - REYMDL00590727                             4 4          REYMDL00503332 - REYMDL00503335
                    Highly Confidential - Attorneys'                                        Highly Confidential - Attorneys'
        5           Eyes Only
                                                                                5 5          Eyes Only
        6    Exhibit 663 Email chain ending with email to 237
                                                                                6 6 Exhibit 675 Reynolds and Reynolds July 2018 284
                    Keith Hill from Bob Brockman dated
                                                                                            Financial Analysis Package
         7          November 28, 2017
                                                                                7    Brockman REYMDL00723521 - REYMDL00723612
                    REYMDL00661495 - REYMDL00661497
         8          Highly Confidential - Attorneys'                                        Highly Confidential - Attorneys'
                    Eyes Only                                                   8 8          Eyes Only
         9                                                                      9 9 Exhibit 676 Reynolds and Reynolds December YTD 288
             Exhibit 664 Email chain ending with email to 240                        Brockman 2017 Financial Analysis Package
        10          Dan Agan from Jonathan Strawsburg                          10 10          REYMDL00722459 - REYMDL00722550
                    dated April 21,2016                                                     Highly Confidential - Attorneys'
        11          REYMDL00333091 - REYMDL00333092                            11 11          Eyes Only
                    Highly Confidential - Attorneys                            12 12 Exhibit 677 Email chain ending with email to 289
        12          Eyes Only                                                        Brockman Robert Schafer from Bob Brockman
        13   Exhibit 665 Email chain ending with email to 244                  13 13          dated February 7,2015
                    Bob Brockman from Robert Schaefer                                       REYMDL00061987 - REYMDL00061988
        14          dated May 8,2016                                           14 14          Highly Confidential - Attorneys'
                    REYMDL0005012.7                                                         Eyes Only
        15          Highly Confidential - Attorneys'                           15 15
                    Eyes Only                                                        Exhibit 678 Email chain ending with email to 292
        16                                                                     16 16 Brockman Ron Lamb from Bob Brockman dated
             Exhibit 666 Email chain ending with email to 247                               June 30, 2015
        17          Robert Schaefer from Bob Brockman
                                                                               17 17          REYMDL00583889 - REYMDL00583890
                    dated May 31,2016
                                                                                            Highly Confidential - Attorneys'
        18          REYMDL00045445
                                                                               18 18          Eyes Only
                    Highly Confidential - Attorneys'
                                                                               19 19 Exhibit 679 Email chain ending with email to 296
        19          Eyes Only
                                                                                     Brockman Robert Schaefer from Bob Brockman
        20   Exhibit 667 Email chain ending with email to 252
                    Chris H. Hellyer from Robert                               20 20          dated July 1,2017
        21          Schaefer dated June 1,2016                                              REYMDL00045179
                    REYMDL00068321 - REYMDL00068325                            21 21          Highly Confidential - Attorneys'
        22          Highly Confidential - Attorneys'                                        Eyes Only
                    Eyes Only                                                  22 22
        23                                                                     23 23
        24                                                                     24 24
        25                                                                     25 25


                                                                    Page 173                                                                Page 175
         1               EXHIBITS
             NO.      DESCRIPTION                  PAGE                         1                PROCEEDINGS
         2                                                                      2              THE VIDEOGRAPHER: Good morning. Today
             Exhibit 668 Email chain ending with email to 256
         3          Robert Schaefer from Bob Brockman                           3 January 17th, 2019. We're on the record at 9:07 a.m.
                    dated June 2,2016
        4           REYMDL00071272 - REYMDL00071273                             4 This is the continued recorded deposition of Mr. Robert
                    Highly Confidential - Attorneys'
        5           Eyes Only                                                   5 Brockman in the matter of In Re: Dealer Management
        6    Exhibit 669 Email chain ending with email to 256
                    Robert Schaefer from Bob Brockman
                                                                                6 Systems Antitrust Litigation in the United States
         7          dated August 12, 2016                                       7 District Court for the Northern District of Illinois in
                    REYMDL00238490- REYMDL00238491
         8          Highly Confidential - Attorneys'                            8 the Eastern Division.
                    Eyes Only
         9                                                                      9              My name is Ben Harwood, and I'm the
             Exhibit 670 Email chain ending with email to 259
        10   Brockman Robert Schafer from Bob Brockman
                                                                               10 videographer present on behalf of Veritext. The court
                    dated August 12, 201                                       11 reporter is Shauna Beach, also present on behalf of
        11          REYMDL00238492- REYMDL00238493
                    Highly Confidential - Attorneys'                           12 Veritext. This deposition is being held at Gibbs &
        12          Eyes Only
        13   Exhibit 671 Email chain ending with email to 262                  13 Bruns, LLP, located at 1100 Louisiana Street, Suite
             Brockman Bob Brockman from Jonathan
        14          Strawsburg dated June 20, 2017
                                                                               14 5300, in Houston, Texas,ZIP Code 77002.
                    REYMDL00263065 - REYMDL00263066                            15              Will counsel please state their appearance
        15          Highly Confidential - Attorneys'
                    Eyes Only                                                  16 and firm affiliation for the record.
        16
           Exhibit 672 Email chain ending with email to 268                    17              MS. WEDGWORTH: Peggy Wedgworth, from
        17 Brockman Robert Schaefer from Bob Brockman
                  dated July 4, 2016
                                                                               18 Milberg Tadler Phillips Grossman, on behalf of
        18        REYCID0074420 - REYCID0074422                                19 Dealership Class Plaintiffs.
                  Highly Confidential - Attorneys'
        19        Eyes Only                                                    20              MR.HUGHES: John Hughes, Milberg Tadler
        20 Exhibit 673 Email chain ending with email to 271
           Brockman Jon Martin from Robert Schaefer                            21 Phillips Grossman, representing Dealership Class
        21        dated May 9,2017
                  REYMDL00470609
                                                                               22 Plaintiffs.
        22        Highly Confidential - Attorneys'                             23              MR.NEMELKA: Mike Nemelka from Kellogg
                  Eyes Only
        23                                                                     24 Hansen, representing the Individual and Dealership Class
        24
        25                                                                     25 Plaintiffs, and with my colleague, Joe Long.

                                                                                                                              3(Pages 172 - 175)
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                                                                     Page 176                                                             Page 178
         1           MS. GULLEY: Andi Gulley, from Gibbs &                       1 customers.
         2 Bruns, representing Mr. Brockman and the Reynolds and                 2     Q. When a dealership -- do you call it "converts"
         3 Reynolds Company.                                                     3 or "switches"?
         4           MR. WILKINSON: Brice Wilkinson, also with                   4     A. We use either term.
         5 Gibbs & Bruns.                                                        5     Q. So when a dealership converts DMS,there are
         6           MR.COHEN: Michael Cohen, with Sheppard                      6 risks, correct, to the dealership?
         7 Mullin, representing the defendant, the Reynolds and                  7          MS. GULLEY: Objection; form.
         8 Reynolds Company and the witness, Mr. Brockman.                       8     A. A risk?
         9           MR.RYAN: Mark Ryan,from Mayer Brown, on                     9     Q. (By Ms. Wedgworth) Risk, yes. Risk in loss of
        10 behalf of CDK Global.                                                10 sales, loss of customers, loss of employees, are there
        11           THE VIDEOGRAPHER: Will the court reporter                  1 1 risks when a DMS switches -- when a dealership switches
        12 please swear in the witness and we may proceed.                      12 DMS?
        13             ROBERT THERON BROCKMAN,                                  13          MS. MILLEN: Objection; form
        14 having been first duly sworn, testified as follows:                  14     A. I don't know that I would characterize it as
        15                 EXAMINATION                                          15 risk. There's certain overhead that is involved,
        16 BY MS. WEDGWORTH:                                                    16 because the dealership's employees have to learn new
        17     Q. Good morning, Mr. Brockman. As we started                     17 software. And I'm sure you've been through situations
        18 yesterday, I'll just ask you -- all of the rules we put              18 where you had to change from one software package to
        19 in place yesterday, are you okay with continuing those               19 another software package.
        20 same rules today?                                                    20          You know, you've got to learn how -- it's
        21     A. Yes, ma'am.                                                   21 kind of like I have a new iPhone, and I -- I've never
        22     Q. So if you answer a question, I'll assume you                  22 had iPhones before. I've always had Androids. And
        23 understand the question. Is that fair?                               23 it's, you know, quite different. And so therefore,
        24     A. Yes, ma'am.                                                   24 there's overhead. I wouldn't call that "risk."
        25     Q. And if you don't understand, please, let me                   25     Q. (By Ms. Wedgworth) Is it fair to say that in

                                                                     Page 177                                                             Page 179
         1 know and I'll restate the question. And if you need to                1 the first year or two after a DMS conversion by a
         2 take a break at any time, please, let me know. I'm                    2 dealership, there is employee turnover at the dealership
         3 happy to take a break as long as there's a question not               3 in nearly all cases?
         4 pending. I'll ask that you answer the question before                 4           MS. GULLEY: Objection; form.
         5 we take a break, if that -- can you agree to that?                    5     A. I would not agree that that has anything to do
         6     A. Yes, ma'am.                                                    6 with conversions. Turnover in dealerships is
         7     Q. Okay. I wanted to start today on a different                   7 astronomical. For instance, in the sales department in
         8 topic of converting dealerships. When they convert                    8 the dealership, 100 percent turnover a year is quite
         9 DMSs, does Reynolds track all dealerships who convert                 9 common. It's not that high a percentage in other parts
        10 DMSs -- or switch DMSs?                                              10 of the dealership, but as an industry, the turnover by
        11          MS. GULLEY: Form.                                           1 1 -- by my standards is horrible.
        1/     A. I'm sorry. I don't understand.                                1/     Q. (By Ms. Wedgworth) And is some of that
        13     Q. (By Ms. Wedgworth) Well, when a dealership                    13 turnover for some dealerships a factor of a DMS
        14 switches, say, from a Reynolds DMS to a CDK DMS,does                 14 conversion?
        15 Reynolds track that conversion?                                      15           MS. GULLEY: Objection; form.
        16          MS. GULLEY: Form.                                           16     A. Ma'am, I -- I don't know that I can say that.
        17     A. That's not --we consider that a -- a lost                     17 You know, certainly a conversion that -- that goes
        18 customer. The concept of conversion is not part of                   18 poorly -- frankly, the principal reason for a conversion
        19 anything that we keep track of.                                      19 going poorly is the people refuse to learn the new
        20     Q. (By Ms. Wedgworth) So Reynolds --                             20 software.
        21     A. When you lose a customer, I mean, it's implied                21     Q. (By Ms. Wedgworth) And that's a cost for the
        22 that there's a -- obviously, there has to be a                       22 dealership; correct?
        23 conversion involved, I suppose, so we don't think about              23           MS. GULLEY: Form.
        24 it -- it in those terms. And therefore, I can't say                  24     A. Certainly if the dealership personnel will not
        25 that -- that we track conversions. We track lost                     25 learn the new software, which causes the conversion to

                                                                                                                        4(Pages 176 - 179)
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         1 not go as smoothly as it should, certainly that's a cost          1 you don't mean longer than two or three months?
         2 to the dealership.                                                2         MS. GULLEY: Objection; form.
         3     Q. (By Ms. Wedgworth) Is it fair to say that for              3   A. That's correct, ma'am.
         4 some dealerships, switching DMS can take years to                 4   Q. (By Ms. Wedgworth) If a dealership changes
         5 recover from?                                                     5 DMS,they may have to acquire new servers; correct?
         6           MS. GULLEY: Objection; form.                            6     A. That's correct.
         7    A. I think that that would be not a fair                       7    Q. And they may have to acquire new printers;
         8 statement. There's certainly -- that has happened, you            8 correct?
         9 know -- you know, several times in my experience in the           9    A. Typically not new printers. Printers are
        10 business, but it's not -- it does not generally happen.          10 pretty much universal pieces of equipment and,
        11    Q. (By Ms. Wedgworth) Is it fair to say that                  1 1 especially since everything is laser printers now,laser
        12 there is employee turnover after a dealership switches           12 printers are very standard.
        13 DMS?                                                             13     Q. So it's not typical when you change DMS that
        14           MS. GULLEY: Objection; form.                           14 you would have to, as a dealer, acquire new printers?
        15    A. I personally don't believe that, any more than             15     A. That's correct.
        16 usual, which is horrible. The turnover by itself,                16    Q. And are -- is there other equipment that
        17 absent anything, is -- is unsatisfactory, in my opinion.         17 dealers would have to acquire when they change DMSs?
        18    Q. (By Ms. Wedgworth) Is it fair to say there's               18         MR.RYAN: Object to the form.
        19 customer disruption after a dealership switches DMS?             19     A. No. PCs are, again, you know, very much
        20           MS. GULLEY: Objection; form.                           20 standardized, and whatever PCs they've got, work. I
        21      A. Again, I think the source of disruption                  21 personally think that it's very advantageous to acquire
        22   would -- would occur not because the conversion itself,        22 a second monitor for users -- second monitors are $200.
        23   but because of the -- the poor attention that dealership       23 We don't even sell them. Efficiency goes way up when
        24   employees pay to learning the new system. It is -- it's        24 you go from, you know, one monitor to two monitors. And
        25   one of our-- our chief problems in the business.               25 that happens a lot in our installations, but it's just

                                                           Page 181                                                               Page 183
         1    Q. (By Ms. Wedgworth) So when a dealership is                  1 because we -- we -- you know, tell the dealer, look, if
         2 considering switching DMS,they have to consider whether           2 you want to have 20 percent more productivity, give
         3 or not their employees can efficiently integrate into             3 people a second monitor. But that's not a requirement.
         4 the new system; is that correct?                                  4    Q. (By Ms. Wedgworth) If a dealership changes
         5         MS. GULLEY: Objection; form.                              5 DMS,they also have to get their data transferred from
         6    A. That is a correct statement.                                6 the old DMS to the new DMS; correct?
         7    Q. (By Ms. Wedgworth) Is it fair to say that if a              7    A. That's correct.
         8 dealership does choose to convert, that that conversion           8    Q. And it can take months for the staff at a
         9 cannot be done quickly?                                           9 dealership to get comfortable with that new DMS once the
        10         MS. GULLEY: Objection; form.                             10 data is transferred over; correct?
        11    A. No, I don't agree with that. The -- the                    11          MS. GULLEY: Form.
        12 conversion process, you know, properly done, where the           12     A. Again, I -- I think that varies greatly by
        13 dealership personnel do what they're supposed to do as           13 individual. But in -- from a general statement,
        14 far as learning the new system, that -- that conversion          14 dealership personnel don't stand up and cheer -- jump up
        15 can go very quickly. And again, I'll repeat again, if            15 and down about having to learn a new system any more
        16 they're not diligent in learning the new software,               16 than you would. It -- it's something that you -- you
        17 conversion process can drag on until they finally, you           17 got to concentrate on, you got to pay attention and you
        18 know, give up and decide to accept the new system and to         18 got to do it.
        19 learn it.                                                        19    Q. (By Ms. Wedgworth) It's a complicated process;
        20      Q. (By Ms. Wedgworth) And when you say "drag on," 20 is that fair?
        21 sometimes that can be up to two years; correct?                  21           MS. GULLEY: Form.
        22          MS. GULLEY: Objection; form.                            22     A. It's not a complicated process. The complexity
        23    A. No, I think that would be more -- more -- more             23 isn't -- people just are sitting in a chair and doing
        24 on the line of two to three months.                              24 it.
        25      Q. (By Ms. Wedgworth) So when you say "drag on,"            25     Q. (By Ms. Wedgworth) Mr. Brockman, I'll show you

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                                                                                                                                    FTC-0001257

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         1 what's been marked as Plaintiffs Exhibit 657.                        1           MS. GULLEY: Objection; form.
         2          (Exhibit 657 was marked for                                 2     A. Yes, ma'am.
         3            identification.)                                          3     Q. (By Ms. Wedgworth) And, in trying to keep the
         4            MS. WEDGWORTH: And for the record, its a                  4 business, Mr. Lamb sends this letter to Mr. IIendrick; is
         5 document Bates-stamped REYMDL00244021 through 025. Have              5 that correct?
         6 you had a chance to review the document?                             6     A. Yes, ma'am. I think it was primarily intended
         7     A. Yes, ma'am.                                                   7 for Mr. Brown. Mr. Hendrick, at that point in time, was
         8     Q. (By Ms. Wedgworth) Is -- is this an email you                 8 not actively involved in -- in this process. He was
         9 wrote to Mr. Lamb around September 1st, 2015?                        9 the -- the titular head.
        10     A. Yes, ma'am.                                                  10           But as you may or may not be aware, he's
        11     Q. And in this email, did you try to be truthful                1 1 very involved in stock car racing and, at this point in
        12 and accurate?                                                       12 time, he was fully consumed in running the stock car
        13     A. Yes, ma'am.                                                  13 racing operation, not the dealership management
        14     Q. So the attachment to the email is a letter                   14 operation. Mr. Brown was in -- in charge of that.
        15 dated November 24, 2014, addressed to Mr. Rick Hendrick             15     Q. And Mr. Brown's title at Hendrick is -- do you
        16 and is signed by Ron Lamb. Do you remember reviewing                16 know?
        17 this letter?                                                        17     A. He was president of the automotive group.
        18     A. Yes, ma'am.                                                  18     Q. And in trying to keep the business of the
        19     Q. And is Mr. Hendrick an owner of the largest                  19 Hendrick automotive group, Mr. Lamb writes this letter
        20 automotive group -- I'm sorry -- the largest client of              20 to Mr. -- I'm sorry -- Mr. Lamb writes the letter to
        21 Reynolds?                                                           21 Mr. Hendrick and Mr. Brown; correct?
        22     A. I'm not sure it's the largest client. It, for                22     A. Yes.
        23 sure, is the largest privately owned group in the                   23     Q. And in this letter, on the first page, halfway
        24 country.                                                            24 down the page, there are "Convert with Risks" where
        25     Q. Are you aware of any client for Reynolds that's              25 Mr. Lamb writes, "Converting 95 dealerships and 29

                                                                    Page 185                                                                 Page 187
         1 larger than Hendrick?                                                1 collision centers is a major project with serious
         2      A. I believe at that point in time, the Penske                  2 risks." Do you agree with that statement?
         3 organization is -- and still is, because they're the                 3           MS. GULLEY: Objection; form.
         4 second largest publicly owned group in the country.                  4     A. Yes, ma'am. The sheer size of it is -- is what
         5     Q. And if we look at your email at the 1st to                    5 makes it, you know, challenging. It's one thing to
         6 Mr. Lamb, you write, "Ron, the first half of this letter             6 convert one dealer or two dealers or four dealers or a
         7 is brilliant. I made just a slight addition." Do you                 7 dozen dealers, whatever, but to convert 95 and 29
         8 see that, at the email you wrote to Mr. Lamb? First                  8 collision centers, the sheer scale, you know, causes it
         9 sentence?                                                            9 to be a -- a very serious project and with risks.
        10             "The first half of this letter is                       10     Q. (By Ms. Wedgworth) One of those risks is it
        1 1 brilliant. I made just a slight addition." Do you see              1 1 would take -- likely take years to recover?
        1/ that?                                                               1/           MS. GULLEY: Form.
        13     A. I saw it. But now I'm trying to --                           13     A. Well, again, the issue is -- as I've -- as I've
        14     Q. On the first page, right under the --                        14 previously stated, is that the training and education of
        15     A. Okay. Yes, I found -- I found it.                            15 personnel is -- is the biggest problem, by far, in
        16     Q. And --and you say,"The first half of the                     16 conversions. And if you have, you know,95 sets of
        17 letter is brilliant. I made just a slight addition."                17 personnel, with each dealership has its own personnel
        18 And then you say,"However starting with 'Upgrade and                18 structure that has to be, you know, taught, they have
        19 Grow', it loses fire." Do you see that?                             19 to, you know, accept the fact that change is going to
        20     A. Yes, ma'am.                                                  20 happen. Get serious about learning the new software.
        21     Q. So if we go to the letter, the first page of                 21 Again, if you take that project for one dealer or two
        22 the letter, under the heading -- this is a letter that              22 dealers or five dealers -- it's just way greater if it's
        23 Mr. Lamb wrote to Mr. Hendrick at a time when Hendrick              23 95. And that -- that causes, you know,the risk
        24 was considering moving from Reynolds to CDK; is that                24 quotient to go up.
        25 correct?                                                            25     Q. (By Ms. Wedgworth) Even at one dealer, though,

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         1 you have the same issue of training the personnel;                      identified the key issues, specifically, the fact that
         2 correct?                                                              2 we had a windows-based DMS. And even more specifically
         3    A. Yes. But its much smaller. It could be, for                     3 that it talks about the products that we have that are
         4 instance, the number of people around this table.                     4 extremely profitable for the dealer, which are --
         5    Q. Well, it also depends on the size ofthat                        5 docuPAD is, perhaps, the leading one.
         6 dealership originally as well; correct?                               6    Q. (By Ms. Wedgworth) If we go to the next page
         7    A. That's correct.                                                 7 of the letter, at the top, it says,"Here are examples
         8    Q. But here, Mr. Lamb says, "It will likely take                   8 of when a group converts from Reynolds." Do you see the
         9 years to recover." You agree with that, right?                        9 chart at the top of the page?
        10           MS. GULLEY: Form.                                          10            And then underneath -- and it lists
        11      A. In this particular situation, the level of risk              1 1 Herb's -- Herb Chambers, Prestige Management Services
        12 was such that, because ofthe number of people that have              12 and Ed Morse and other auto dealerships. Do you see
        13 to be trained, it could take -- assuming it went wrong,              1 3 that?
        14 it could take quite a while.                                         14     A. Yes, I do.
        15    Q. (By Ms. Wedgworth) The last sentence on this                   15      Q. And then Mr. Lamb writes, "In nearly all cases,
        16 page says --Mr. Lamb writes,"Reynolds tracks all                     16 there is a significant drop in sales, which is expected
        17 dealerships who convert using publicly available data."              17 the first year or two of a conversion given all the
        18 Do you see that?                                                     18 employee turnover and customer disruption." Do you see
        19    A. Yes, I do.                                                     19 that?
        20      Q. Do you agree with that statement?                            20    A. Yes, I do.
        21      A. I think that -- that the statement is -- is                  21      Q. Do you agree with that statement?
        22   somewhat less than complete, because publicly available            22      A I think, certainly, you can pick out cases
        23   data -- I think that the -- the number of dealerships              23 where, you know, that -- that has been a -- a true
        24   that are public is less than ten. I think the number is            24 statement. And certainly in these cases here -- I know
        25   actually, like, seven. And so while "Reynolds tracks               25 some of these customers. Their problem was -- and

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         1 all dealerships who convert using publicly available                  1 that's they had, you know, turnover at the top, change
         2 data" --it sounds like a lot of dealers, but it's not.                2 in -- in dealership, you know, leaders. I don't know
         3 It's -- it's really only seven or eight.                              3 that that's the case in all of them, but I believe from
         4    Q. So in this letter that Mr. Lamb writes to the                   4 a statistical standpoint, you know, the stats that are
         5 Hendrick Automotive, he's less than complete on this                  5 shown here are true. But to say that they're -- they're
         6 statement?                                                            6 completely the result of -- of a conversion, it could be
         7         MS. GULLEY: Objection; form.                                  7 true; it could not be true.
         8     A. No. I think the -- the state- -- the statement                 8    Q. Well, you stand by the statement Mr. Lamb wrote
         9 as written is true, okay?                                             9 in this letter, don't you?
        10    Q. (By Ms. Wedgworth) And complete?                               10           MS. GULLEY: Objection; form.
        11          MS. GULLEY: Objection; form.                                11     A. Yes, I do. These -- these statistics -- or
        1/     A. Well, when you say "complete," as a sentence,                 12 these particular dealerships are a matter of public
        13 it certainly is complete. Is it -- is it a paragraph,                13 record.
        14 or is it a page that describes everything that go --                 14      Q. (By Ms. Wedgworth) So is it fair to say, in
        15 goes into this statement? No, it's not.                              15 nearly all cases, there is a significant drop in sales,
        16    Q. (By Ms. Wedgworth) Well, you commented that                    16 which is expected the first year or two of a conversion,
        17 the first half of this letter was brilliant. Do you                  17 given all the employee turnover and customer disruption?
        18 still stand by that?                                                 18          MS. GULLEY: Objection; form.
        19           MS. GULLEY: Objection; form.                     19                A. I -- I think that -- that there's no question
        20     A. Well, first of all, I didn't detect any             20             that the statistics that are shown for these dealerships
        21   spelling errors and, you know, that pleased me a lot.    21             are true. I don't agree that one can necessarily infer
        22   Salespeople are not necessarily the greatest as far as   22             that all situations, that, you know, that's what's
        23   grammar and, you know, punctuation and spelling and that 23             happening.
        24   sort of thing.                                           24                 Q. (By Ms. Wedgworth) Well, you approved this
        25             I thought it was brilliant in that it          25             letter in this statement going to Hendrick Automotive

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         1 Group; correct?                                                     1 big conversions, are a problem. But what I'm saying is
         2          MS. GULLEY: Objection; form.                               2 there's -- there's other factors that have to do with
         3     A. Yes, I did.                                                  3 Automotive News ranking, and other motivations, other
         4     Q. (By Ms. Wedgworth) The next sentence says,                   4 reasons.
         5 "What is really surprising is these groups have not                 5     Q. (By Ms. Wedgworth) Is it fair to say that, for
         6 recovered." Do you see that?                                        6 some dealerships who convert, it takes at least one to
         7     A. Yes.                                                         7 two years to recover?
         8     Q. And do you recall that these groups listed                   8     A. Certainly if they don't educate their people
         9 above, where they drop in sales from one year over the              9 properly. If they don't force their people to learn the
        10 next, have yet to recover?                                         10 new software promptly, you know,that can occur.
        11     A. That, I -- I don't have knowledge of.                       11     Q. You mentioned docuPAD in your previous answer
        12     Q. So the last one on the chart, Gordon Auto                   12 and some yesterday. If a dealership buys a docuPAD, is
        13 Group, it had a conversion year in 2009. Do you see                13 it -- is the price for that purchase and installation
        14 that?                                                              14 somewhere around $10,000 per unit?
        15     A. Yes, I do.                                                  15            MS. GULLEY: Form.
        16     Q. And then last year Aut- --Automotive News                   16     A. Yes, it is.
        17 ranked them as 110. And in 2014, which is -- appears to            17     Q. (By Ms. Wedgworth) And is there a monthly
        18 be the most recent data for this letter -- they're at              18 maintenance fee per docuPAD of $1,000 a month?
        19 142 with a change, according to this chart, of going               19     A. Yes, ma'am.
        20 down 32 places. Do you see that?                                   20     Q. And as to any change on any form used on the
        21     A. Yes, I do.                                                  21 docuPAD, is there a cost of-- of around $300 for any
        22     Q. Okay. And in this chart, Mr. Lamb is                        22 change?
        23 representing to Hendrick Automotive Group that the                 23     A. I disagree that that's for any change. A whole
        24 conversion had something to do with their lowering in              24 brand-new document, like, for instance, a new finance
        25 rank of sales; correct?                                            25 contract, the charge would be in that area. But to say

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         1     A. That's what it's saying. I have a little bit                 1 that any change is in that area, that would not be
         2 different belief as far as changes in Automotive News               2 correct.
         3 ranking. Dealerships are inherently very competitive                3     Q. Can any change with regard to any docuPAD
         4 people. And the -- the standard of measurement between              4 document be made for free at Reynolds?
         5 dealerships is typically number of cars sold, number of             5     A. To the best of my knowledge, unless we have
         6 vehicles sold.                                                      6 done something in error, in which case we would adjust,
         7          It happens continuously in this industry                   7 or if -- if the entity that produced the contract in the
         8 where a dealer will want to have his name in lights as              8 first place, if it was not working, you know, correctly
         9 far as his ranking is concerned, and so he'll do                    9 after installation, we would fix that at no charge. But
        10 whatever it takes to sell more cars, which means he cuts           10 other than those kind of situations, it would be a
        1 1 price. And he gets his name in lights, and he gets his            1 1 charge.
        12 Automotive News ranking up, and then he decides he's not           12     Q. Is the average charge for any change on any
        13 making enough money. And then he decides to tighten up             13 document or form with regard to docuPAD roughly $300?
        14 on discounting and not to try to sell everybody every              14     A. I -- I don't know that there is an average. We
        15 car.                                                               15 don't keep that. You know,there's not a stat that --
        16           But his -- so the sales numbers go down,                 16 you know, that I know of or ever seen.
        17 but his profit   his internal profit numbers -- go way             17     Q. Well, would it surprise you to say that-- I've
        18 up. And then they kind of-- like this (indicating).                18 heard dealers say that, for any change, when you use the
        19     Q. And in spite of all that, Mr. Lamb -- with your             19 docuPAD, everything is $300?
        20 approval, saying it was "brilliant" -- quotes Automotive           20     A. Ma'am, dealers will say most anything on any
        21 News ranking with regard to sales in order to convince             21 given day.
        22 Hendrick to not convert; is that correct?                          22     Q. Well, does it surprise you they say any change
        23           MS. GULLEY: Form.                                        23 is $300 on a docuPAD form or document?
        24     A. What I'm saying is -- and that's that,                      24            MS. GULLEY: Objection. I'm sorry.
        25 certainly, conversion issues, particularly with -- with            25            Objection; form.

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         1            DEFENSE COUNSEL: Objection. (Inaudible.)                1 was simply: Are you aware of any incidents like that,
         2     A. Again, ma'am, you know, dealers are prone day               2 where a dealership can sell their docuPAD? That was my
         3 to day to say almost anything. And I -- I have been in             3 question. It was -- it was straightforward. "Yes" or
         4 this business now --the 10th of January this year, I've            4 "no"?
         5 been at it 53 years. And I -- I haven't seen it all,               5          MS. GULLEY: Form.
         6 but I've seen a lot. And one of the things is -- is                6    A. Yes.
         7 dealers will say most anything.                                    7    Q. (By Ms. Wedgworth) And you said there was one
         8     Q. (By Ms. Wedgworth) If a dealership has                      8 occasion; is that right?
         9 Reynolds DMS and switches out of Reynolds, can they                9          MS. GULLEY: Form.
        10 return the docuPAD and get a credit on an account?                10    A. Well, there's one that I know of
        11     A. No, ma'am.                                                 11    Q. (By Ms. Wedgworth) Now, you've had a chance to
        12     Q. Can they sell the docuPAD?                                 12 review this letter that was sent by Mr. Lamb to Hendrick
        13     A. Yes, ma'am.                                                1 3 Automotive Group. Is there anything in the letter that
        14     Q. To -- can they sell it to another dealership               14 you're aware of that's inaccurate?
        15 who could then use it?                                            15          MS. GULLEY: Objection; form.
        16     A. Yes, ma'am.                                                16    A. I would want to read it again.
        17     Q. And are you aware of any -- any incidences like            17    Q. (By Ms. Wedgworth) Well, I'm not asking you to
        18 that?                                                             18 read it again. As you reviewed it, did -- did anything
        19     A. I think I've been exposed to just one. You                 19 stick out as being inaccurate to you?
        20 know, docuPAD is a -- an amazing profit producer. I               20          MS. GULLEY: Objection to the form and
        21 don't know whether you've ever bought a car, you know,            21 instruction.
        22 and been through the docuPAD experience and contrast              22    A. Ma'am, I would really like to read it one more
        23 that with a typical, you know,finance and information             23 time.
        24 manager's, you know, closing techniques.                          24    Q. (By Ms. Wedgworth) Well, then let's put it
        25            You know, docuPAD takes that all away. It              25 aside and we can go on to the next document.

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         1 is completely user driven in that you interact with --             1           With regard to the Reynolds DMS contract,
         2 you know, the screen, with the stylus. And you make                2 do you know the average length of the -- the DMS
         3 your choices with no pressure, you know,from the                   3 contract that a dealer signs today?
         4 finance manager. And customers love it. The reason why             4     A. We don't keep an average number. That's not a
         5 dealerships love it is -- and that's because customers             5 stat that I keep or have kept. What we see is -- and
         6 have a chance to choose. And a miracle occurs; they buy            6 this is just a general, you know, observation, it's not
         7 more.                                                              7 at all a scientific average. Typically, you know, five
         8            And that's the reason why docuPAD produces,             8 years to seven years. It is rarely less than that.
         9 you know, profits on the average of $200 per trans- --             9     Q. Does Reynolds offer a contract -- DMS contract
        10 per vehicle sales transaction. And if you have a -- a             10 to dealers less than five years?
        1 1 typical finance manager will handle on the order of 70           11     A. We don't offer one. In some cases, you know,
        1/ transactions a month. At $200 additional profit, that's           1/ we end up negotiating the one that -- where the length
        13 $14,000 a month, which means that you recover the                 13 of contract relates to the whole process of -- of buying
        14 initial cost of docuPAD very, very quickly. And then              14 a DMS system is -- and that's the -- the level of
        15 from that point on, it is a massive generator of                  15 discount that the dealership will achieve, it will be
        16 profits.                                                          16 based upon the length of the contract. And that
        17            We have dealers that are willing to, you               17 short-term contracts -- we'll say a 36-month contract --
        18 know, have their picture in Automotive News and                   18 of the discount is appreciably less. And the dealer has
        19 advertisements and say,"docuPAD paid for my entire                19 a choice. They can go for a short-term contract, or
        20 Reynolds bill," which is --                                       20 they can go for a long-term contract; they get a better
        21            You know,I didn't invent docuPAD, but I                21 discount.
        22 saw it and bought it. And the results of-- are nigh on            22     Q. Are there any DMS contracts at Reynolds longer
        23 miraculous.                                                       23 than seven years?
        24            MS. WEDGWORTH: Move to strike.                         24     A. Yes, ma'am.
        25    Q. (By Ms. Wedgworth) Mr. Brockman, my question                25     Q. What's the longest contract that Reynolds has

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         1 with the dealership concerning DMS?                                 1 sit here?
         2           MS. GULLEY: Objection; form.                              2     A. No, ma'am.
         3     A. I -- I can't speak to what's the longest. I                  3     Q. Do you have any reason to believe this -- that
         4 have seen them ten years and, in some cases, a little               4 you didn't receive and write this email?
         5 over ten years. But that's not a -- that's not a                    5             MS. GULLEY: Objection; form.
         6 complete statement, because I don't see every contract.             6     A. No, ma'am. I -- I presume it is. It's not a
         7 I just see some.                                                    7 forgery. I -- I have no reason to -- to believe that
         8     Q. (By Ms. Wedgworth) Does Reynolds track the                   8 it's not accurate. But I -- I don't remember anything
         9 tenure that a dealership stays with Reynolds?                       9 about -- GuesTraq is -- must be some very minor entity,
        10     A. No. We have no process for doing that. The                  10 because I sure don't remember anything about it. I
        1 1 only way to know is -- and that's to go to the contract           1 1 don't know what it does.
        12 file and see what prior contracts are in the contract              12     Q. (By Ms. Wedgworth) Is this an example of you
        13 file. We don't -- we don't produce any reports in -- in            13 granting exemption -- an exemption to a third party?
        14 that regard.                                                       14             MS. GULLEY: Objection; form.
        15     Q. And have you ever tried to determine                        15     A. I'd say, based on -- on what's in bold --what
        16 the average tenure of a Reynolds dealership?                       16 I'm saying here -- and that's that I don't want to
        17     A. No, ma'am, I have not.                                      17 invest the time and trouble right now which, I would
        18     Q. Anyone at Reynolds tried that?                              18 presume, that applies to an RCI interface.
        19           MS. GULLEY: Objection; form.                             19     Q. (By Ms. Wedgworth) So it's fair to say that
        20     A. Again, no way of knowing.                                   20 you are granting an exemption to GuesTraq here?
        21     Q. (By Ms. Wedgworth) Well, you said you could                 21             MS. GULLEY: Objection; form.
        22 look at the contracts and make that determination?                 22     A. Well, there's -- there's -- to discuss that,
        23           MS. GULLEY: Objection; form.                             23 you've got to look at this next-to-the-last sentence.
        24     A. Yes, ma'am.                                                 24 where it talks about Query Builder. Query Builder is
        25     Q. (By Ms. Wedgworth) And no one at Reynolds has               25 a -- a piece of software. It is -- it's a reporting

                                                                   Page 201                                                          Page 203
         1 done that?                                                          1 software. It's not really very good. It's been around
         2     A. There's not been any --                                      2 for quite a while. And we're -- we've created a much
         3          MS. GULLEY: Objection; form.                               3 better set of reporting software, and we're endeavoring
         4     A. -- any, you know, orchestrated plan or project               4 to, you know, get Query Builder phased out.
         5 to go determine, you know, what the tenure is. On an                5             And in that kind of situation, there's --
         6 individual basis, at contract renewal time, it may come             6 there's always times when it arises when somebody is
         7 up that this customer has been a customer for 22 years.             7 using Query Builder and we'd rather they not use Query
         8     Q. (By Ms. Wedgworth) Mr. Brockman, I'll show you               8 Builder because we want to get rid of all Query Builder
         9 what's been marked as Plaintiffs Exhibit 658.                       9 usage. We want to delete that software, because we have
        10          (Exhibit 658 was marked for                               10 better software. We don't want to continue to maintain,
        11           identification.)                                         1 1 you know, very, very old and obsolete-type -- type
        1/          MS. WEDGWORTH: Which is Bates-stamped                     1/ software.
        13 REYMDL00045348.                                                    13             And so the question is, typically: Do
        14     Q. (By Ms. Wedgworth) Have you had a chance to                 14 these people convert to an RCI? And that's what it
        15 review the document?                                               15 looks like is the case here. And what I'm saying is --
        16     A. Yes, ma'am.                                                 16 in this -- I don't want to put them through RCI, you
        17     Q. Is GuesTraq a third party here?                             17 know, because that's -- that's a development effort.
        18     A. Yes, I believe they are a third party.                      18 Instead, for the time being, let them continue operating
        19     Q. And does this email reflect -- is this an email             19 the way they're operating.
        20 you wrote to Mr. Schaefer in response to an email he               20     Q. (By Ms. Wedgworth) So you approve the ongoing
        21 sent you on or about April 23rd, 2015 and April 30th,              21 exemption for GuesTraq; correct?
        22 2015?                                                              22     A. Yeah. Temporarily.
        23     A. It appears to -- that to be correct. Frankly,               23     Q. And do you limit the time of the exemption in
        24 I don't remember this particular situation.                        24 this email?
        25     Q. So GuesTraq doesn't ring a bell to you as you               25     A. Not in this email. I worked very closely with

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         1 Mr. Schaefer, and he understands what I'm doing is --                     Q. (By Ms. Wedgworth) How ODE got started.
         2 and that's that I -- I'm being forced into a situation               2         MS. GULLEY: Just let him finish his
         3 of expediency due to development processes.                          3 previous answer.
         4     Q. You can set that aside. I want to talk a                      4         Just go ahead and finish the answer.
         5 little bit about ODE, Open Dealer Exchange. Are you                  5    A. The how,the first part about it is -- implies
         6 familiar with that organization?                                     6 the why. Okay?
         7    A. Yes, ma'am.                                                    7    Q. (By Ms. Wedgworth) Actually, it doesn't. It's
         8   Q. And it's a joint venture between Reynolds and                   8 a how.
         9 CDK; is that correct?                                                9          MS. GULLEY: Just let him finish.
        10   A. That's correct.                                                10          MR.RYAN: Let me --let me just -- I know
        11      Q. Do Reynolds and CDK each own 50 percent of ODE9 1 1 my object- -- her objections are good for me, but I
        12      A. That's correct.                                 12 believe the question was: How did it come about? And I
        13      Q. How did that come about, ODE?                   1 3 think he's answering that question.
        14           MS. GULLEY: Objection; form.                  14           MS. GULLEY: Correct.
        15      Q. (By Ms. Wedgworth) How did ODE come about?                  15    A. That's certainly what I'm trying to do.
        16            MS. GULLEY: Objection; form.                             16         MS. GULLEY: Go ahead and continue your
        17      A. I think it came about by the fact that there's              17 response.
        18 a --a process in the -- in the dealership world. It's               18    A. In any rate, at this point, the salesperson
        19 like this: You have a prospect that comes into the                  19 inputs the -- you know,the facts of the -- ofthe
        20 dealership. They're looking for a certain kind of                   20 transaction, which is the --you know, the type of car,
        21 vehicle. You have some of those type that they're                   21 what the sales price is, you know, what the down payment
        22 looking for: different colors, different trim levels,               22 is, what -- what the consumer's FICO score is. And they
        23 different options. You go out and you -- you walk the               23 can, with a --not much more than a press of a button,
        24 inventory. And they get to visit the green one and the              24 send that package of information to a potential lender.
        25 red one and the blue one and the silver one. And                    25 And the lender can look at it and say "Yes" or "No" or

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         1 they -- they have different types of interiors, you                  1 "Maybe," or "Maybe with a little more down payment, it
         2 know, more leather and less leather.                                 2 will work." Or "We need to have some more proof of
         3        But any rate, the prospect finally decides,                   3 employment."
         4 "I like this one here." And the car salesman's heart                 4          And it facilitates, you know, the whole
         5   kind of takes a leap for the good. They go back inside             5 financing process. And Dealertrack has done a very good
         6   to see if they can work out a deal. Well, an inherent              6 job of-- of building that that product and has,
         7   part of-- you know, a giant percentage of car sales                7 basically, a near monopoly on that process. And so
         8   involves financing. I don't know what the number is,               8 ODE's goal was, was to be able to replicate that process
         9   but I wouldn't be surprised by an 80 or 90 percent car             9 and become successful in that marketplace.
        10   sales transactions that involve financing where the               10    Q. (By Ms. Wedgworth) Were you the decision maker
        11   dealership has -- has to help get done.                           1 1 to enter ODE as a joint venture with CDK?
        1/            So what happens is -- and that's the car                 12      A. I was responsible for the Reynolds side.
        13   salesperson gets an authorization form signed by the              13     Q. Did you contact CDK or did CDK contact you,
        14 prospect to pull their credit. They pull their credit               14 initially?
        15   and get their FICO score. And then they go shopping for           15    A. I don't specifically recall that, but I --
        16   financing. And Dealertrack has built up a -- a nifty              16 my -- my belief is -- and that's they contacted us.
        17   application, and it's enjoyed very considerable success           17   Q. Who contacted you at CDK?
        18   with it. And what it does is -- and that's that you               18    A. I don't think that the contact was directly
        19 enter the -- you know, the information about this                   19 with me. It was -- it -- it was somebody else in our
        20 potential transaction, what kind of vehicle it is --                20 organization.
        21    Q. (By Ms. Wedgworth) I'm focusing on ODE, not                   21    Q. Who did you speak with about the joint venture
        22 Dealertrack.                                                        22 from CDK,initially?
        23          MS. GULLEY: Just let him finish his                        23          MS. GULLEY: Objection; form.
        24 answer.                                                             24    A. I -- I would say that the -- the first
        25    A. But you're asking me why ODE got started.                     25 conversation, again, was not between me and CDK. It

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                                                                   Page 208                                                              Page 210
         1 was with other people in our organization, principally              1 break?
         2 over in the product planning area. And it was only                  2            MS. WEDGWORTH: Yes. Let's take a break.
         3 after that, that I had conversation. And the name that              3            THE VIDEOGRAPHER: The time is 9:57 a.m.,
         4 I recall I had a conversation with was Ron Workman. He              4 and we're off the record.
         5 was a senior vice-president.                                        5            (Short recess 9:57 to 10:17 a.m.)
         6     Q. (By Ms. Wedgworth) Who at Reynolds, in product               6            THE VIDEOGRAPHER: The time is 10:17 a.m.,
         7 planning, spoke to CDK concerning forming ODE?                      7 and we're back on the record.
         8     A. Certainly one of the people that would have                  8             EXAMINATION (Continuing)
         9 been involved was Jon Strawsburg.                                   9 BY MS. WEDGWORTH:
        10     Q. Anyone other than Mr. Strawsburg?                           10    Q. Mr. Brockman, focusing you back on ODE. have
        11     A. I'm sure there was, but I can't remember                    1 1 CDK and Reynolds had meetings in person regarding ODE?
        12 specifically.                                                      12    A. Yes, ma'am.
        13     Q. You --you said yesterday that CDK is your                   13    Q. How many?
        14 largest competitor; is that a fair statement?                      14    A. Well, I -- I think in order to give the correct
        15     A. That's correct.                                             15 answer on that -- are -- are we talking about meetings
        16     Q. Why did Reynolds en- -- enter into a joint                  16 where everybody that's involved are all together? Or
        17 venture with its largest competitor?                               17 where some of the folks that are involved are all
        18     A. Well, it wasn't because they were our largest               18 together and some are on the phone? You know, which
        19 competitor, I can assure you that. But in the situation            19 definition of-- of"meeting," you know, would you like
        20 like this, one has to decide, is the opportunity, you              20 me to answer?
        21 know, worth it? In this particular case, it appeared to            21    Q. Well, ODE has board of directors' meetings;
        22 be worth it.                                                       22 correct?
        23           The other principal factor is -- and that's              23    A. That's correct.
        24 that if you don't do it, what else might, you know, CDK            24    Q. And are those board of directors' meetings in
        25 do. Who might they partner up with? Might they partner             25 person or by phone?

                                                                   Page 209                                                              Page 211
         1 up with somebody else, which would mean that we would be 1               A. Typically, by phone.
         2 forever locked out of this very attractive business that            2    Q. And are those -- how often do those board of
         3 Dealertrack has. And so the decision was -- and that's              3 directors meetings occur?
         4 we ought to proceed, but proceed carefully,                         4    A. There -- there's not a -- a fixed schedule, but
         5 investigating, you know, the potential with ADP.                    5 my -- my guess is -- and that would be probably on -- on
         6     Q. Was ODE founded around 2009?                                 6 a quarterly basis, you know, three or four times a year.
         7     A. I don't remember the exact date, but it's been               7    Q. So on a quarterly basis, ODE holds telephonic
         8 awhile.                                                             8 board of directors' meetings; is this correct?
         9     Q. And the decision to proceed with CDK was made                9    A. Not -- generally on a quarterly basis. It's
        10 by you?                                                            10 not a fixed, you know, first quarter, second quarter,
        11     A. Yes.                                                        1 1 third quarter, you know.
        1/     Q. And in making that decision, you said you spoke             12    Q. And have you participated in meetings with CDK
        13 to Mr. Workman at CDK?                                             13 concerning ODE in person?
        14           MS. GULLEY: Objection; form.                             14    A. I have, but rarely.
        15     A. That was one of the people that --that I                    15    Q. Approximately how many times?
        16 talked to.                                                         16            MS. GULLEY: Form.
        17     Q. (By Ms. Wedgworth) Who else at CDK did you                  17    A. No more than once a year, if that. It --it
        18 speak to?                                                          18 typically revolves around NADA,because we are --we
        19           MS. GULLEY: Objection; form.                             19 tend to all parties be present at NADA,and so we'll sit
        20     A. I'm sorry. I -- I don't remember the names.                 20 down and talk for half an hour.
        21 You know, I think that there's -- you know, there's                21    Q. (By Ms. Wedgworth) So at the NADA meetings,
        22 been -- I know there's been turnover in that                       22 which are -- that's an annual conference?
        23 organization, but Ron Workman was the consistent person            23    A. Yes, ma'am.
        24 throughout.                                                        24    Q. Held in, usually, late January, coming up?
        25           MS. GULLEY: Is this a good time for a                    25    A. Coming up. I understand it's going to be Super

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         1 Bowl Weekend. Its going to be in San Francisco.                   1 believe that this is not the board meeting minutes
         2     Q. So normally, at the NADA meetings, you meet                2 of ODE for December 2015?
         3 with CDK people con- -- to discuss ODE?                           3           MS. GULLEY: Form.
         4           MS. GULLEY: Form.                                       4     A. Ma'am, I don't have, you know -- you know,
         5     A. Yes. And that meeting tends to be a very                   5 clear enough memory of -- of that particular time, you
         6 informal meeting, because were -- there's not --                  6 know, several years back. That's three years back.
         7 there's no fixed agenda, there's no, you know, special            7 This -- these are exactly what went on at -- it looks
         8 place or whatever. We just find time to, you know, get            8 like it, but... (Pause.)
         9 together, you know,for a half hour or so.                         9     Q. (By Ms. Wedgworth) There's someone here you
        10     Q. (By Ms. Wedgworth) And when you --the last                10 haven't mentioned for CDK: Bihner        Bihner,
        1 1 time you met with CDK,who did you meet with?                    1 1 B-i-h-n-e-r. Do you know Mr. Bihner?
        12           MS. GULLEY: Objection; form.                           12     A. I have been on telephone conversations with
        13     A. The only person whose name I -- there's two               1 3 him, hut! don't know. I think his first name is Joe.
        14 people: It was Steve Anenen and Ron Workman.                     14 But I've -- I've -- and I may have met him at NADA and
        15     Q. (By Ms. Wedgworth) And other than you meeting             15 shaken hands with him, but I -- I couldn't pick him out
        16 in person with CDK,do Reynolds people meet with CDK              16 of a crowed.
        17 people regarding ODE in person?                                  17     Q. And Mr. Bihner is a CDK person?
        18     A. Yes. Yes.                                                 18     A. Yes.
        19     Q. How often?                                                19     Q. Manager?
        20     A. Again, there's no fixed schedule. It depends              20     A. I would think, maybe, perhaps he might even be
        21 on, you know, what projects are at hand. You know, so            21 an officer.
        22 it could be once or twice a year. It could be five,              22     Q. And for R&R,on these board meeting minutes has
        23 six, seven times a year.                                         23 Mr. Pontis listed. Is he also someone from Reynolds who
        24     Q. Have you met with anyone from ODE at places               24 interacts with CDK concerning ODE?
        25 other than the NADA convention?                                  25     A. Yes. He works for Jon Strawsburg.

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         1     A. I think that I have, but I can't recall a                  1     Q. You can put that aside.
         2 specific, you know, time or place. Steve Lloyds is                2           Is there any reason to believe that these
         3 the -- is the, you know, the CEO of ODE. I talk to him            3 minutes are inaccurate?
         4 mostly on the phone or, you know, over Skype. But as              4           MS. GULLEY: Objection; form.
         5 far as other people, I think I've -- I've been on                 5     A. No, ma'am.
         6 telephone calls with their head of software development,          6     Q. (By Ms. Wedgworth) Now, Reynolds also has a
         7 Tom -- and I can't remember his last name right now.              7 relationship with CDK concerning CDR; correct?
         8 That -- you know, maybe once a year.                              8           MS. GULLEY: Form.
         9          (Exhibit 659 was marked for                              9     A. Yes, ma'am.
        10           identification.)                                       10     Q. (By Ms. Wedgworth) And that relationship is,
        11     Q. (By Ms. Wedgworth) I'd like to show you what's            1 1 again, a joint venture between Reynolds and CDK?
        1/ been marked as Plaintiffs Exhibit 659. My initial                12     A. That's my understanding. I -- I'm not --
        13 question is: Have you seen this document before?                 13 generally much less familiar with CVR, because that
        14     A. No, ma'am.                                                14 is something that was entered into considerably before
        15     Q. You have not?                                             15 my time at Reynolds. And it is, you know, completely
        16     A. Not this specific document, I don't believe.              16 controlled by CDK, because they have the -- the dominant
        17     Q. The cover email says that Mr. Workman sent it             17 ownership interest.
        18 to you on December 24th, 2015. The cover email. Is               18     Q. And CVR is 80 percent owned by CDK and 20
        19 this an email you received from Mr. Workman on or about          19 percent owned by Reynolds; is that correct?
        20 December 24th, 2015?                                             20     A. That's my understanding. Although I'm not in a
        21          MS. GULLEY: Objection; form.                            21 position where I can say for sure that's exactly how it
        22     A. Again, you know, this -- this cover email                 22 is, because I was not there when it was -- when it was
        23 with -- would tend to indicate that, but I honestly              23 founded.
        24 don't recall, yeah, this specific email.                         24     Q. So other than ODE and CVR, does Reynolds have
        25     Q. (By Ms. Wedgworth) Do you have any reason to              25 any other formal relationships with CDK?

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         1           MR. RYAN: Objection.                                        1 regarding this DMS agreement is with CDK?
         2     A. I don't think so.                                              2          MS. GULLEY: Objection; form.
         3     Q. (By Ms. Wedgworth) Does Reynolds have any                      3     A. That -- that's correct.
         4 informal relationships with CDK currently?                            4     Q. (By Ms. Wedgworth) I'd like to show you what's
         5           MS. GULLEY: Objection; form.                                5 been previously marked as Exhibit 504. I don't think we
         6     A. Yes. Probably one.                                             6 have to mark it again.
         7     Q. (By Ms. Wedgworth) What is that?                               7          MS. GULLEY: You don't.
         8     A. It is a -- again, this is something that, you                  8     Q. (By Ms. Wedgworth) Previously marked Exhibit
         9 know, began considerably before my time. But I came --                9 504, Mr. Brockman. Document Bates-stamped
        10 became aware of its existence, you know, after we                    10 REYMDL00263055. Have you had time to review the
        1 1 acquired Reynolds. It has to do with -- when a customer             1 1 document, Mr. Brockman?
        12 decides to leave, you know, one of us, as long as that               12     A. I've never seen this before. Could you give me
        13 customer pays all their bills, honors all of their                   13 just a moment more?
        14 contractual obligations, we will turn over to the                    14     Q. Yes.
        15 assuming company copies of data files for that                       15     A. Yes.
        16 dealership.                                                          16     Q. Is this an email you received and responded to
        17     Q. And that relationship, you have with CDK?                     17 on or around May 30, 2017?
        18     A. Yes, ma'am.                                                   18     A. Yes, ma'am, it appears to be that.
        19     Q. And --                                                        19     Q. And was it your intent to be truthful and
        20     A. And I might add that it is unwritten, informal.               20 accurate in writing the email?
        21 And I wouldn't go so far as to characterize it as a                  21           MR.RYAN: Objection.
        22 relationship. What it is -- it is a practice. And                    22     A. Yes, ma'am.
        23 it -- it has no specified duration. It's something                   23     Q. (By Ms. Wedgworth) And here you're responding
        /4 that, you know, either one of us could, you know, quit               24 to a question from Mr. Strawsburg; correct?
        25 tomorrow.                                                            25     A. That's correct.

                                                                     Page 217                                                            Page 219
         1     Q. So you would not call it an informal                           1     Q. And in the email you write, "Other than our
         2 relationship?                                                         2 informal relationship with CDK, we provide no assistance
         3     A. No, ma'am. I would call it a practice.                         3 to any third party." Do you see that?
         4     Q. Is the inform- -- the practice reciprocal?                     4     A. Yes.
         5           MS. GULLEY: Objection; form.                                5     Q. Is this the informal relationship with CDK you
         6     A. Yes, ma'am.                                                    6 just testified about?
         7     Q. (By Ms. Wedgworth) Who for CDK -- who for                      7     A. Yes, ma'am.
         8 Reynolds implements this reciprocal practice?                         8     Q. So in -- in the response to Mr. Strawsburg, you
         9           MS. GULLEY: Form.                                           9 referred to it as an informal relationship?
        10     Q. (By Ms. Wedgworth) Between CDK and Reynolds? 10                      A. Yes, ma'am, in that case, I did.
        11           MS. GULLEY: Form.                                          11     Q. And did this informal relationship with CDK
        1/     A. I honestly don't know which department actually               1/ allow CDK to access Reynolds software in May 2017?
        13 handles it. It's my belief that it gets done but, you                13           MS. GULLEY: Objection; form.
        14 know, exactly where in the organization it occurs, I --              14     A. The answer to that is "not correct."
        15 I can't tell you.                                                    15     Q. (By Ms. Wedgworth) Did this informal
        16     Q. (By Ms. Wedgworth) Would it be under                          16 relationship with CDK allow CDK to -- to work with
        17 Mr. Schaefer's role? His team?                                       17 Reynolds regarding the -- both DMS systems?
        18     A. It could be. But for some reason, I think                     18           MS. GULLEY: Objection; form.
        19 that -- that that's not where it happens. I think it --              19     A. There -- we need to talk some more about, you
        20 it's more likely to happen over in part of the                       20 know, what, you know,the informal relationship -- or
        21 operations department of the organization.                           21 this involves. We receive notification, typically
        22     Q. Do you have a similar reciprocal relationship                 22 from the customer, that they're -- that they're
        23 with any other DMS providers?                                        23 converting to CDK. And our first question is -- is:
        24     A. Do not.                                                       24 "Well, have you decided when?" And with that
        25     Q. So the only reciprocal relationship you have                  25 information, we also ask them to -- to notify CDK

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                                                                     Page 220                                                                 Page 222
         1 actually, CDK is notifying them as to when their                      1 basis?
         2 conversion is going to take place.                                    2      A. Yes, ma'am.
         3           And there's a scheduling process that takes                 3      Q. And the purpose of this report is for Reynolds
         4 place where -- when the conversion data is going to be                4 to understand the financial analysis going on, overall,
         5 outputted on to a tape, and that tape is -- can then --               5 at the company; is that correct?
         6 then be given, you know,to CDK. They don't actually                   6      A. That's correct. It's prepared for senior level
         7 access our systems at all.                                            7 vice-presidents. And it -- it's not financial
         8           There -- there's an inter- -- intermediate                  8   statements, but it's financial information. And to say
         9 step in there where the accounts receivable position                  9 that it's used to run the company is probably a
        10 of-- of the customer is verified by our accounting                   10 mischaracterization.
        1 1 department. And it's not just, you know, what                       11             I get this report once a month. I probably
        12 they might be currently due, but also what's going to be             12 spend 30 minutes on it. And the reason why I only spend
        1 3 due by the time the conversion occurs. And so                       1 3 30 minutes on it is because it's historical information.
        14 there's -- there then -- there's then a dollar amount                14 It is -- has been -- very little bearing as what I
        15 which represents the total remaining obligation of the               15 should be doing on a day-to-day. Reynolds is the type
        16 customer, and that's from a financial standpoint. And                16 of company where what happened five years ago has way
        17 before the tape is actually cut, we get a check for                  17 more impact on what we see in here than what happened --
        18 their remaining financial obligation.                                18 than what's happened in the last month.
        19     Q. (By Ms. Wedgworth) And then CDK and Reynolds                  19      Q. And these reports show that -- whether or not
        20 have a conversation; is that correct?                                20 Reynolds is -- what their sales are; is that correct?
        21     A. No. There --there's been a conversation prior                 21             MS. GULLEY: Form.
        22 to that, but it will be a -- a subsequent conversation.              22      A. Yes. That -- that is one ofthe sta- --
        23 It -- it's a multistep, and I -- I'm not in a position,              23 statistics that it provides. But, again, from an
        24 from a knowledge standpoint, to describe that with                   24 important standpoint, as far as running the company,
        25 perfect accuracy. But generally, that's what happens.                25 this report is very little used by me. I'm much more

                                                                     Page 221                                                                 Page 223
         1     Q. And Reynolds does not have that relationship                   1 interested in who we've hired, the customers we've sold,
         2 with any other DMS provider; is that correct?                         2 what projects we're accomplishing as far as new product
         3           MS. GULLEY: Objection; form.                                3 development. Those are all way more -- way more
         4     A. That's correct. What the other -- other                        4 important for the success of the organization.
         5 providers have to do is -- and that's they have to ask                5     Q. (By Ms. Wedgworth) Well, these are prepared by
         6 the customer to, you know, run reports of things like                 6 Reynolds at least on a monthly basis; correct?
         7 parts inventory and vehicle inventory and general ledger              7     A. That's correct.
         8 balances, for the -- for the customer to copy those                   8     Q. And they are sent to you at least on a monthly
         9 reports out to a -- a thumb drive or a small hard disk                9 basis?
        10 and -- and give that to the vendor that they're going                10     A. That's correct.
        1 1 to, that they're converting to. And then those reports              11     Q. And it's -- there is a team at Reynolds who
        12 are run through data conversion programs to accomplish               12 prepares these financials; is that correct?
        13 the same thing.                                                      13     A. That's correct.
        14           MS. WEDGWORTH: Move to strike everything                   14     Q. If we go to Page 12 of this document, which has
        15 after "That's correct."                                              15 a Bates ending 712. And this document, at the top, is
        16     Q. (By Ms. Wedgworth) You can set that document                  16 "NA DMS Product Solution Data Services P&L." Do you see
        17 aside, Mr. Brockman. Mr. Brockman, I'll show you what's              17 that at the top?
        18 been marked as Plaintiffs Exhibit 660.                               18     A. Yes, ma'am.
        19           (Exhibit 660 was marked for                                19     Q. Under the "One Time Revenue" for RCI, you'll
        20            identification.)                                          20 see that there's a variance of 354 percent here. Do you
        21     Q. (By Ms. Wedgworth) I believe yesterday you                    21 see that?
        22 testified this type of document is a management report               77     A. I'm sorry that I'm not quite -- could you --
        23 concerning finances at Reynolds; is that correct?                    23     Q. So it would be the third line ofnumbers down.
        24     A. That -- that's correct.                                       24     A. Okay. Yes. Okay. I see the third line of
        25     Q. And do you receive these reports on a monthly                 25 numbers down.

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         1       Q. Where it looks like in January of 2015 there                  1 see that?
         2 were 150 RCI customers. And then for 2016, there's 681                 2     A. Yes, I see that.
         3 customers. Do you see that? Or sales?                                  3     Q. Okay. So is it fair to say that, after the
         4             MS. GULLEY: Objection; form.                               4 February 2015 agreements, that revenue for RCI jumped
         5       A. I'm seeing that. I'm not sure that it says                    5 dramatically?
         6 that's customers.                                                      6           MS. GULLEY: Objection; form.
         7    Q. (By Ms. Wedgworth) Or sales -- of 150 sales                      7     A. Well, when you referred to agreements, I'm --
         8 versus 681 in 2016?                                                    8 I'm -- can you describe which agreement that you're
         9             MS. GULLEY: Objection; form.                               9 talking about?
        10       A. What my issue is -- and that's -- it's just I'm              10     Q. (By Ms. Wedgworth) Well, the data exchange
        1 1 not really familiar with this report. I don't know                   1 1 agreements and the other two agreements in February of
        12 whether that means -- whether that's a sales number or                12 2015. We looked at the exhibit yesterday that you
        13 whether that's a customer number.                                     13 signed.
        14       Q. (By Ms. Wedgworth) In either event, it's                     14     A. Okay. The --
        15 increased 354 percent; you would agree?                               15           MS. GULLEY: Objection; form.
        16             MS. GULLEY: Objection; form.                              16     A. --this --this is the stand-down agreement,
        17       A. Whatever it is, it's got "354%" beside it.                   17 you know, with CDK.
        18       Q. So the heading on the left-hand side says,"One               18     Q. (By Ms. Wedgworth) Okay. So after the
        19 Time Revenue." Do you see the heading?                                19 stand-down agreement, is it fair to say that RCI
        20             MS. GULLEY: Objection; form.                              20 revenues jumped?
        21       A. Yes, I see that.                                             21           MS. GULLEY: Objection; form.
        22       Q. (By Ms. Wedgworth) And so for RCI, for January               22           MR.RYAN: Objection.
        23 2016, it's 681 versus 150 in the month a year earlier.                23     A. Again, I -- I would not think that a percentage
        24             MS. GULLEY: Form.                                         24 basis -- that they jumped that much. So I would be
        25       A. Yes, that's what it looks like. You're                       25 surprised if there's not some other, you know,

                                                                      Page 225                                                          Page 227
         1 obviously more familiar with this report than I am.                    1 customers, you know, third parties that -- that have
         2    Q. (By Ms. Wedgworth) Well --                                       2 come under RCI contracts. I don't think it's just those
         3            MS. GULLEY: Move to strike. It's a joke.                    3 ones that came to us as a result ofthe stand-down
         4 I'm sorry.                                                             4 agreement. Again, looking at this, I can't tell.
         5    Q. (By Ms. Wedgworth) Going -- going down to the                    5     Q. (By Ms. Wedgworth) Has RCI been profitable in
         6 recurring revenue, for the RCI number, it's -- appears                 6 2016?
         7 to be $5,910,000 for 2016, whereas the previous year,                  7           MS. GULLEY: Objection; form.
         8 for 2015, was $3,104,000. Do you see that?                             8     A. We -- we don't have profit numbers on RCI. And
         9            MS. GULLEY: Form.                                           9 I need to explain some about -- we don't have any
        10    A. I wonder if somebody has a straightedge. I'm                    10 internal cost accounting.
        1 1 77 years old, and my vision is not as good as it used to             11     Q. (By Ms. Wedgworth) So you don't know if RCI is
        1/ be.                                                                   1/ profitable?
        13            MS. WEDGWORTH: Well, even at my age, which 13                           MS. GULLEY: Wait a minute. He's going to
        14 I won't put it on the record -- I highlighted. To keep                14 finish his answer.
        15 my -- I'm mean, that's how I read it. But -- but you                  15     A. What I'm saying is --and that's that if RCI is
        16 didn't have the highlight. So I -- what I'm saying is,                16 profitable, I have no way of knowing, you know, if it is
        17 I need aid, too.                                                      17 or how much. The reason why is because we don't have
        18            MS. GULLEY: Which line are we, I'm sorry.                  18 internal cost accounting. And organizationally -- and I
        19            MS. WEDGWORTH: So RCI,"Recurring                           19 realize for somebody that's used to dealing with larger
        20 Revenue."                                                             20 corporations, you know, that sounds kind of crazy.
        21         MS. GULLEY: Got it.                                           21           But you have to remember that I came from a
        22    Q. (By Ms. Wedgworth) Of $5,910,000 versus                         22 very small organization, and I'm very sensitive to, you
        23 $3,104,000 the previous year. Do you see that?                        23 know, the use -- efficient use of personnel, of
        24    A. Thanks to the straightedge, yes, I do.                          24 overhead. And the cost accounting imposes an
        25    Q. And that's an increase of 90 percent? Do you                    25 overhead -- much like in a law firm, you know, you have

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         1 to keep time accounting records, you know, billing            1            identification.)
         2 records and that sort of thing. That takes probably 5         2    Q. (By Ms. Wedgworth) I'd like to show you what's
         3 or 6 percent. Well, if we were to have cost accounting,       3 been marked as Plaintiffs Exhibit 661, a one-paged
         4 it would do the same thing to us. And I, frankly, would       4 document, Bates-stamped REYMDL00045556.
         5 rather have the productivity, you know, than the              5         Mr. Brockman, have you had time to review
         6 information.                                                  6 the document?
         7          And that's the reason why that -- I -- I             7    A. Yes, ma'am.
         8 don't have a number as far as profitability for RCI.          8    Q. Have you seen it before?
         9 It's part of the overall, you know, organizational            9     A. Yes, ma'am.
        10 numbers, because you don't have, you know, one               10     Q. Did you write this email to Mr. Schaefer on or
        1 1 piece that operates as a whole entity. We keep track of     1 1 about January 5th, 2016?
        12 sales numbers but not profit numbers, because we don't       12    A. Yes, I did.
        13 have any profit numbers.                                     13    Q. The subject line, when you write the email, is
        14    Q. (By Ms. Wedgworth) I'd like to show you what           14 blank. And then you write, "Bob, From a policy
        15 was marked yesterday as Plaintiffs Exhibit 651, on Page      15 standpoint, the term 'profitability'(and any of its
        16 17. And yesterday, I think we looked at the footnote on      16 variants) in relation to RCI are never to be uttered in
        17 Page 17 that says,"We are expecting an annual revenue        17 front of anyone inside or outside the company. Your
        18 of approximately 90 million from" -- "generated from         18 people need to understand this as well. Bob."
        19 the CDK Deal." Do you see that?                              19          Is that an accurate statement of what you
        20     A. Yes, ma'am.                                           20 wrote to Mr. Schaefer and Mr. Lamb?
        21     Q. Is that a number that you asked to be tracked?        21    A. Yes, ma'am. And the reason why that I -- I
        22    A. I did not.                                             22   wrote it is because we don't track profitability,
        23    Q. Were you interested in the annual revenue              23   because we don't have cost accounting. Without cost
        24 concerning the CDK deal?                                     24   accounting, it's impossible to accurately track
        25    A. Revenue-wise, yes.                                     25   profitability.

                                                        Page 229                                                                Page 231
         1    Q. And when you say "CDK Deal," what do you refer          1           Secondly, you know,from a policy
         2 to?                                                           2 standpoint, Reynolds is run very, very much like a small
         3     A. That is the -- the stand-down agreement where          3 company where, you know, the CEO, which is me, and a
         4 they agreed to cease and desist hacking our systems.          4 handful of other people actually understand how
         5    Q. So due to the CDK deal, Reynolds expects annual         5 profitable the company is. We keep that information
         6 revenue of approximately 90 million; is that correct?         6 very closely held. It's nobody's business.
         7         MS. GULLEY: Objection; form.                          7          It -- which is completely different than
         8     A. That's what this says --                               8 the way Reynolds used to be operated. Of course, as a
         9     Q. Is there any reason to --                              9   public company, everybody had access to the -- to the
        10          MS. GULLEY: Let him finish his answer.              10   financials, because they were -- they were publicly --
        11    A. That -- that is not -- not my expectation,             11   published.
        1/ though, this is something our chief financial officer,       1/            I believe that, from an operating
        13 you know, decided he would throw in. But it's -- again,      13   standpoint, that that is very deleterious to the
        14 it's not a number that I would routinely track.              14 successful operation of the business. And the reason
        15     Q. (By Ms. Wedgworth) Was that a number you were         15   why I feel that way is because everything we do, you
        16 interested in?                                               16   know, is involved in long-term success. For example,
        17    A. Yes, ma'am.                                            17   a --a software package, you know, may take five years
        18    Q. Is that a number that you --you asked your CFO         18   to develop, get into the marketplace and have -- become
        19 and/or Mr. Schaefer to analyze and come up with?             19 accepted in the marketplace. You know, that -- that's a
        20     A. No --                                                 20   direct expense to profit. You know, if you don't
        21           MS. GULLEY: Objection; form.                       21   understand, you know, how the company operates, you're
        22     A. -- I did not. I thought -- I just said that           22   liable to think that things aren't doing well. Well,
        23 I -- I didn't ask, for instance, for this footnote to be     23   the reality is, we're developing a lot of software,
        24 inserted.                                                    24 which costs a lot.
        25           (Exhibit 661 was marked for                        25         So I think that, you know, having profit

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         1 numbers being thrown around the company -- and                     1     Q. (By Ms. Wedgworth) In the financial
         2 particularly in this case, where we don't have any cost            2 statements?
         3 accounting to support what profit might be, is -- is               3           MS. GULLEY: Form.
         4 dangerous for morale, for the whole organization. I                4     A. They do not follow any financial statements,
         5 have followed that policy religiously. And as a result,            5 you know, incomes, to that level of detail. You know,
         6 you know, Reynolds is a -- a -- a very profitable                  6 there is a -- a gross, you know, revenue number that
         7 company.                                                           7 goes in the audits -- goes in -- which is where the
         8    Q. Is there any reason you limited this email                   8 financial statements are.
         9 concerning your prohibition on discussing profitability            9     Q. (By Ms. Wedgworth) You said the comment that
        10 to RCI?                                                           10 someone made in Mr. Schaefer's organization was that RCI
        11     A. That -- that's where I saw the most recent                 1 1 is very, very profitable; is that correct?
        12 violation.                                                        12           MS. GULLEY: Objection; form.
        13     Q. What violation did you see?                                13     A. That -- that's what gave rise to this
        14     A. I saw someone in Bob Schaefer's organization               14 particular email.
        15 mumbling about profitability when they're in no position          15     Q. (By Ms. Wedgworth) And you don't recall who
        16 to do so because -- since we have no cost accounting,             16 that person is?
        17 they don't know how profitable it is -- or unprofitable,          17           MS. GULLEY: Objection; form.
        18 for that matter.                                                  18     A. No, ma'am.
        19     Q. Who was the person commenting on profitability             19     Q. (By Ms. Wedgworth) I'd like to show you what's
        20 concerning RCI in Mr. Schaefer's organization?                    20 been marked as Plaintiffs Exhibit 662.
        21     A. I'm sorry. I don't remember the name of the                21          (Exhibit 662 was marked for
        22 person.                                                           22           identification.)
        23     Q. And what was the comment?                                  23          MS. WEDGWORTH: Can I have one back?
        24     A. The comment was something in regard to RCI                 24     Q. (By Ms. Wedgworth) Mr. Brockman, as you read,
        25 being, you know, very, very profitable. Well, there's             25 I'm going to let you know that I'm going to reference

                                                                  Page 233                                                            Page 235
         1 no way to know,in the first place. And secondly, the               1 questions to the second page of the document where --
         2 discussion of profits openly at that level is -- you               2 where you write in it.
         3 know, we don't do that.                                            3           Mr. Brockman, have you had a chance to
         4     Q. But you're certainly interested in RCI revenue;             4 review the document?
         5 correct?                                                           5     A. I'm almost there. Yes, ma'am.
         6            MS. GIILLEY: Objection; form.                           6     Q. And on the second page, where you wrote an
         7     A. Yes, ma'am. And the reason why I'm interested               7 email in response to Mr. Schaefer and Mr. Schaefer wrote
         8 in RCI revenue, particularly in regards to the CDK                 8 you back, did you write this email in ordinary course of
         9 stand-down agreement, is because CDK's attitude and, you           9 your business around August 9th, 2016?
        10 know, talk and discussion in the marketplace regarding            10     A. Okay. Is this -- can you point out
        1 1 data security, and specifically our data security                1 1 specifically --
        12 procedures, has been very hurtful over the years. And             1/     Q. Your email, kind of in the middle of the page.
        13 I'm looking forward to, you know,recovering from some             13     A. Okay. It's the one in bold print?
        14 of the hurt that we endured over a number of years.               14     Q. Yes.
        15     Q. (By Ms. Wedgworth) So you specifically do want             15     A. Okay.
        16 to track revenue at RCI as it relates to the stand-down           16     Q. And you wrote it to Mr. Schaefer on about
        17 agreement with CDK?                                               17 August 9, 2016?
        18            MS. GULLEY: Objection; form.                           18     A. Yes, ma'am. That's -- that's what the email
        19     A. Yes, ma'am. I made inquiries about that.                   19 says. I don't remember specifically but, you know,
        20 Since that's over with now, it's of less importance, you          20 that's what it says.
        21 know, currently. I -- I really don't follow it that               21     Q. And the email says, "I am still needing an
        22 much anymore. But during this time period, I was.                 22 answer as to where we stand on the amount of revenue
        23     Q. (By Ms. Wedgworth) Well, Reynolds currently                23 that we were supposed to realize out of the CDK deal."
        24 follows that; correct?                                            24 Do you see that?
        25            MS. GULLEY: Objection; form.                           25     A. Yes.

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         1     Q. And the CDK deal you're referring to there is               1     A. Teams? There's really only one team award
         2 what you call the "stand-down agreement"?                          2 that's been in place for quite a while, which is a
         3     A. That's correct.                                             3 department of the year. And we give that out twice. We
         4     Q. And you're asking Mr. Schaefer, here, to answer             4 give it once in Dayton and we give it once in Houston.
         5 a question you -- you're waiting on concerning the                 5     Q. Dayton is toward the end of the year?
         6 revenue realized from that stand-down deal; is that                6     A. No, they're both -- one of them is on a
         7 correct?                                                           7 Wednesday in November and on a Friday, the following
         8             MS. GULLEY: Objection; form.                           8 Friday.
         9     A. That's correct. And as I pointed out                        9     Q. And is there any monetary compensation for the
        10 previously, the reason why I'm interested in that is              10 team with -- that goes with that award?
        1 1 because I believe that we suffered greatly from ADP's            11     A. No.
        12 actions over the years. And one of-- one of the                   12     Q. Is there any trip or -- or benefit to that
        13 reasons why I'm concerned about this revenue is because           1 3 award for the team?
        14 this is a recompense for the things that they did to us.          14     A. There -- there's no direct prize or -- you
        15 And I'm -- I'm curious as to this coming out at -- as             15 know, as there are with some of our awards, individual
        16 the way that it was planned to come out.                          16 awards. This particular award, there's no prize.
        17     Q. (By Ms. Wedgworth) Meaning it was planned to               17 There's a plaque. You know,there's no trip. However,
        18 come out to -- to generate revenue?                               18 people that are in that department, especially our key
        19             MS. GULLEY: Objection; form.                          19 people in that department are -- in due course, and --
        20     A. That's -- that's correct. That was one of                  20 and because it's the right thing to do, they will
        21 our -- our motivations for, you know, the whole                   21 inevitably, you know,receive better salary increases
        22 stand-down agreement in the first place. It was to                22 than -- than they otherwise might. It's a very
        23 stop, you know, ADP from hacking in, banditing our                23 prestigious award to get, the department of the year.
        24 systems and to, you know,recompense us for the damage             24     Q. In Plaintiffs Exhibit 663, is this an email
        25 they've done to us over the years on the subject of data          25 you received from Mr. Schaefer around November 10, 2016

                                                                  Page 237                                                         Page 239
         1 security.                                                          1 where he writes to you to make a pitch that his team win
         2            MS. GULLEY: Thank you. Robert emailed me                2 that 2016 team -- team award.
         3 and said he was disconnected. Just letting you know.               3     A. Yes. That's what it is.
         4            MS. WEDGWORTH: Can we go off the record?                4     Q. And did you receive this email?
         5            THE VIDEOGRAPHER: This is the end of Media              5     A. Yes, ma'am.
         6 1. The time is 11:02 a.m., and we are off the record.              6     Q. The second paragraph of this email that
         7            (Short recess 11:02 to 11:09 a.m.)                      7 Mr. Schaefer writes to you says, "This organiza-" --
         8            THE VIDEOGRAPHER: This is the beginning of              8 well, the first paragraph says, "Several years ago
         9 Media 2. The time is 11:09 a.m. We're back on the                  9 (about 9) you met with the Data Services team" -- which
        10 record.                                                           10 is also known as DSV; correct?
        11             EXAMINATION (Continuing)                              11     A. That's correct.
        1/            (Exhibit 663 was marked for                            1/     Q. -- "you met with the Data Services team and we
        13             identification.)                                      13 discussed our role with[in] the company. At this [the]
        14 BY MS. WEDGWORTH:                                                 14 time, we were just starting the security enhancements,
        15    Q. Mr. Brockman, I'll show you what's been marked              15 RCI was just in it's infancy in the new company. We
        16 as Plaintiffs Exhibit 663. Have you had an opportunity            16 discussed our role and at the time you quoted the
        17 to review it?                                                     17 following to the team:
        18    A. I'm almost done. Yes.                                       18           "This organization is like the CIA, I
        19    Q. Are there any awards at Reynolds that are given             19 (meaning you) understand what this organization is and
        20 to reward high-performing teams?                                  20 will be doing but we cannot communicate to the rest of
        21    A. Yes, there are.                                             21 organization what specifically is being done, how it is
        22    Q. What are those awards?                                      22 being done and any the successes that are accomplished.
        23    A. The rewards are numerically, you know,                      23 You will receive[d] medals behind the scenes. Someday,
        24 principally, individual awards.                                   24 we will be able to communicate and celebrate your
        25    Q. I asked just for teams, team awards.                        25 successes. I can assure you ofthat!"

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         1               Did you say that?                                         1 subject is: "Draft ASB: New Features for MMS Data
         2        A. Yes, I did.                                                   2 Synchronization (Sync) - Review Due by April 26." Do
         3        Q. You can put that document aside. Did                          3 you recognize this email?
         4 Mr. Schaefer's team win the 2016 team award?                            4     A. Yes, ma'am. But I -- I -- I'm sitting here
         5        A. I honestly can't remember. I don't -- I don't                 5 searching my mind, and I -- I don't recall, frankly,
         6 think they did.                                                         6 what I was talking about. It was talking about
         7        Q. Has Mr. Schaefer's DSV team ever won the award?               7 something having to do with Data Sync, but what it's
         8        A. I don't remember clearly yes or no, but -- I --               8 talking about, I don't remember.
         9 my belief would be, no.                                                 9     Q. Well, Mr. Bauer writes to you and others,
        10        Q. Mr. Schaefer would know for sure, I presume?                 10 "Please review the attached draft ASB announcing New
        11        A. I know for sure he would. And I might add, I                 1 1 Features for MMS Data Synchronization (Sync). Forward
        12 get a number of letters like this from all corners of                  12 any edits/comments to my attention."
        1 3 the company.                                                          13           And then you respond,"Tom, This is
        14               MS. WEDGWORTH: Why don't we take a break                 14 absolutely not to be released. I have no idea why it
        15 now. Can we take a 10-minute break?                                    15 was ever built. The policy all along has been to not
        16               MS. GULLEY: That's fine.                                 16 make further enhancements to MMS that make the dealer's
        17               THE VIDEOGRAPHER: The time is 11:15 a.m.,                17 DMS data more valuable - so it is easier to leave us and
        18 and we're off the record.                                              18 not feel the pain. Notify all of those concerned.
        19              (Short recess 11:15 to 11:31 a.m.)                        19 Bob."
        20               THE VIDEOGRAPHER: Back on the record at                  20           Did you write that?
        21 11:31 a.m.                                                             21     A. Yes, ma'am, I did. But the point I'm trying to
        22                EXAMINATION (Continuing)                                22 make is -- is whatever the feature was, I can't tell
        23              (Exhibit 664 was marked for                               23 you. I don't remember.
        24                identification.)                                        24     Q. Is it fair to say that you did not approve of
        25 BY MS. WEDGWORTH:                                                      25 further MMS enhancements to the dealer's DMS data?

                                                                       Page 241                                                             Page 243
         1        Q. Mr. Brockman, I'll show you what's been marked                1           MS. GULLEY: Objection; form.
         2 as Plaintiffs Exhibit 664.                                              2     A. What -- that's correct. What -- what's
         3        A. May I tell you the news first?                                3 happening here is --
         4        Q. Yes. Well, off the record, then.                              4     Q. (By Ms. Wedgworth) Actually, there's no
         5             MS. GULLEY: Let's just stay on the record.                  5 question pending.
         6 We'll do this in a little bit Let's proceed with --                     6          Is it fair to say that the policy at
         7             MS. WEDGWORTH: Sadly, we're on the record.                  7 Reynolds was to not make further enhancements to the MM
         8 So if you will take a look at the exhibit.                              8 to make the dealer's data more valuable?
         9             (Brief discussion.)                                         9           MS. GULLEY: Objection; form.
        10        A. 664 is the one we're supposed to be looking at               10     A. That's what I'm -- I'm endeavoring to explain.
        1 1 it?                                                                   11     Q. (By Ms. Wedgworth) And I just asked a
        12        Q. (By Ms. Wedgworth) Yes.                                      12 yes-or-no question.
        13             MS. GULLEY: Thank you.                                     13           MS. GULLEY: You can answer the question.
        14        Q. (By Ms. Wedgworth) A document Bates-stamped                  14           MR. RYAN: I object to cutting the witness
        15 REYMDL00333091 through 092. And Mr. Brockman, as you                   15 off.
        16 review the document, I'll let you know my questions                    16           MS. GULLEY: Go ahead and answer.
        17 relate to the second page of the document.                             17     A. Well, okay. There --there's two databases.
        18              Mr. Brockman, have you had a chance to                    18 There's -- there's the DMS database, which every
        19 review --                                                              19 dealership has. MMS is -- is a marketing database,
        20        A. Yes, ma'am.                                                  20 which we sell under the Naked Lime Marketing MS tag, and
        21        Q. -- Exhibit 664? Did you receive and write this               21 these databases are -- are different in -- in the amount
        77 email on or about April 19, 2016?                                      22 of data that they contain.
        23        A. Yes, that -- I believe that's what it says.                  23           As we, you know, make investments
        24        Q. And if we start on the second page of the email              24 to improve the product offering for Naked Lime
        25 where Mr. Bauer writes to you and some others. The                     25 Marketing, which is the MMS database, we want to do that

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         1 so that product will sell more. That's -- that's what             1 look like is -- and that's they come in in the middle of
         2 our investment is -- is, you know, based upon.                    2 the night. And we're -- we're very suspicious about
         3         What's happened here appears -- and that's                3 people coming in in the middle of the night. That's
         4 we have done something that's an enhancement to MMS.              4 just doesn't look like ordinary business use of the
         5   And for some reason, you know, we have, in the                  5 software. It looks like something foreign.
         6   synchronization process, you know, made that -- made            6           And what they're saying is -- and that's
         7   that information, which we're buying and building on our        7   that we want them to enter CAPTCHA individually, which
         8   own, we're moving that over to the dealership's DMS.            8   has been a -- a pretty successful way to turn back, you
         9 And we don't intend to do that. So what's happened                9   know, interlopers. They even have gone so far -- and
        10 is -- is the development is going to stray from what is          10   this is hard to believe -- they'll have the software --
        1 1 logical from a business standpoint.                             11 their software, when they come across CAPTCHA, which
        12    Q. (By Ms. Wedgworth) You -- so the developer --              12 they can't fix with their software -- they can't detect.
        13 did you say "developer" or "development"?                        13          You know, when you look at a CAPTCHA,a
        14    A. Somebody in the development area.                          14 series of pictures. You know, humans can pick them out
        15    Q. And this is your email reining that                        15 pretty well, so what they'll do is -- and that's they'll
        16 development --or developer back in?                              16 send a quickie message to some place in India. And some
        17          MS. GULLEY: Form.                                       17 place in India, somebody is staying up all night or all
        18    A. That's correct. It says,"This is absolutely                18 day and, you know, they'll look at the CAPTCHA on their
        19 not to be released."                                             19 screen and they can answer it. And then they -- they
        20   Q. (By Ms. Wedgworth) Mr. Brockman, I'd like to                20 send that back to -- where all of this is occurring in
        21 show you what's been marked as Plaintiffs Exhibit 665.           21 the U.S. And they get in. 1 mean, it's -- it's --
        22         (Exhibit 665 was marked for                              22 they've gone to that extreme to try and dig their way
        23          identification.)                                        23 in.
        24    Q. (By Ms. Wedgworth) Have you had a chance to                24     Q. So in these security improvements that
        25 review Plaintiffs Exhibit 665?                                   25 you've -- want Reynolds to implement, one of those

                                                                 Page 245                                                   Page 247
         1     A. I'm just about there. Yes, ma'am.                          1 security improvements is CAPTCHA would have to be
         2     Q. Did you write this email on or -- and its                  2 entered individually for each report to be exported;
         3 attachment on or about May 8, 2016?                               3 correct?
         4     A. I -- I'm sorry. I'm not seeing where -- where              4      A. That's correct.
         5 I -- I wrote it. Unless it's this little short email              5    Q. And the other security improvement would be
         6 down at the bottom of Page 1 that you're talking about.           6 that no exports could be done from 7 p.m. Saturday until
         7   Q. Yes. Yes.                                                    7 8 a.m. Monday; correct?
         8   A. Yes, I understand and I -- I did write that.                 8    A. Correct. And it says, you know,"Bulk export
         9     Q. Page 2 of the document, did you write this as              9 functionality has been removed for data security
        10 well, dated May 9, 2019, entitled "Security                      10 reasons." That's the error message.
        1 1 Improvements"?                                                  11    Q. And the additional time limit, also, was that
        1/     A. I don't think I actually wrote that. I think              1/ no exports could be done, of any kind, from 7 p.m. to 8
        13 that it was written by somebody else, and I attached it          13 a.m.; correct?
        14 on to my email.                                                  14      A. That's correct.
        15     Q. And in your email that has no subject, you                15    Q. And Reynolds implemented these security
        16 write, "This is what needs to be done"; is that correct?         16 improvements at the end of May; correct?
        17    A. That's correct.                                            17    A. I'm not sure, you know, what got done when.
        18    Q. And in the attachment, which is entitled                   18 I'm not -- I'm not in the loop at that part.
        19 "Security Improvements," are these security improvements         19      Q. Is it fair to say, when these security
        20 that you wanted Reynolds to implement in the May 2016            20 improvements were implemented, your main concern was
        21 time frame?                                                      21 security?
        22    A. Yes, ma'am. Specifically, what -- what's                   22    A. Absolutely.
        23 involved here is -- and that's that we're endeavoring,           23         (Exhibit 666 was marked for
        24 as part of our research, to figure out what third-party          24           identification.)
        25 hackers, bandits, look like. And one of the things they          25      Q. (By Ms. Wedgworth) I'd like to show you what's

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         1 been marked as Plaintiffs Exhibit 666.                               1     A. Yeah. Mr. Bates is a -- a -- a credible
         2            Mr. Brockman, have you had a chance to                    2 person.
         3 review Plaintiffs Exhibit 666?                                       3     Q. So it's fair to say this list below is of major
         4     A. Yes.                                                          4 accounts at Reynolds?
         5     Q. And is this an email you received and wrote in                5     A. Yeah, based on Dave Bates' opinion, yeah, I
         6 May 31,2016?                                                         6 would agree. His opinion would be a good opinion.
         7     A. Yes.                                                          7     Q. And so the major accounts at Reynolds were
         8     Q. And this email concerns security enhancements;                8 given exemptions for the new security enhancements; is
         9 correct?                                                             9 that correct?
        10     A. What it concerns is -- and that's that, as I've              10           MR.RYAN: Object to form.
        1 1 testified, you know, previously -- yesterday, that the             11     A. No. Just these specific ones.
        12 detection ofthe techniques that, you know, bandits use              12     Q. (By Ms. Wedgworth) The major accounts listed
        13 to get in our system is not a perfect process. In other             13 in Exhibit 666 --
        14 words, we can't look at what they're doing and say,                 14     A. Yes.
        15 "Okay, that's a bad guy and, you know, what's happening             15           MS. GULLEY: Objection.
        16 is wrong."                                                          16     Q. (By Ms. Wedgworth) -- are the ones who received
        17            We -- in the course of continuing to                     17 exemptions to the security enhancements?
        18 improve our -- our security controls, we make them a                18           MS. GULLEY: Objection; form.
        19 little too tight, and it's because there's things                   19     A. Just the people on this list.
        20 happening that we don't -- we had not anticipated. For              20     Q. (By Ms. Wedgworth) Do you recall, when the
        21 instance, here it talks about the fact that, you know,              21 security enhancement was put into place, it was done
        22 people come in early to run reports. And I never                    22 over the weekend?
        23 perceived that that would actually be happening.                    23           MS. GULLEY: Objection; form.
        24     Q. You never understood that?                                   24     A. I'm sorry. I -- I don't recall and I -- I
        25     A. No. I did not understand in the -- in the                    25 would not know.

                                                                    Page 249                                                               Page 251
         1 dealership world, that people would come in at 5 a.m. in             1     Q. (By Ms. Wedgworth) Do -- do you recall that
         2 the morning and run reports. I just didn't perceive                  2 dealers were not informed of these security enhancements
         3 that. And sure enough, that was a little too tight.                  3 in advance?
         4 And so what we're doing here is -- and that's where                  4          MS. GULLEY: Objection; form.
         5 we're -- we're issuing, you know, temporary rollbacks                5     A. I would say it's our general policy not to
         6 for specific dealers of-- of that particular security                6 announce security enhancements in advance.
         7 change until such time as we can, you know, make it an               7     Q. (By Ms. Wedgworth) With regard to these
         8 overall change to -- to the -- to the security process.              8 security enhancements that were put in place at the end
         9     Q. And you gave temporary exemptions to all of                   9 of May 2016, they were ultimately withdrawn, weren't
        10 these major accounts listed in Exhibit 666 with regard              10 they?
        1 1 to your security improvements; correct?                            11           MS. GULLEY: Form.
        1/            MS. GULLEY: Objection; form.                             1/     A. I'm not in a position to be able to say. I --
        13     A. These are -- these are the people that -- you                13 I don't know.
        14 know, that call our support center and -- and register,             14     Q. (By Ms. Wedgworth) Do you recall during this
        15 you know, what we consider to be a valid complaint. And             15 time period that Reynolds received a lot of complaints
        16 therefore, these people, we issued a -- a temporary                 16 from dealerships concerning the -- the security
        17 bypass to this particular security change.                          17 enhancements that Reynolds released at this time?
        18     Q. (By Ms. Wedgworth) And the groups listed here                18     A. Ma'am,I'm not aware of-- you know, of what
        19 are major accounts; is that a fair statement?                       19 went on in that period of time, other than if I would be
        20     A. I've not looked at each specific one.                        20 notified, such as this email right here.
        21     Q. Well, you don't have any reason to believe that              21     Q. You would be notified?
        22 Mr. Bates is inaccurate when he says, "Terry and Willie,            22     A. I would only be notified of situations like
        23 Below is a list of Major Accounts who have expressed                23 this one here.
        24 frustration and disappointment with the changes that                24     Q. Would Mr. Schaefer be notified on a -- on a
        25 have occurred." Do you see that?                                    25 normal basis concerning this?

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                                                                   Page 252                                                                Page 254
         1     A. Yeah, he would be more likely to than                        1      A. I don't know specifically what's going on
         2            (Exhibit 667 was marked for                              2 there, but my decision was based on what takes up most
         3            identification.)                                         3 of the second page. It's -- this one was clearly worthy
         4     Q. (By Ms. Wedgworth) Mr. Schaefer, I'll show you               4 of an exception, period.
         5 what's been marked as Plaintiffs Exhibit 667.                       5     Q. (By Ms. Wedgworth) So you granted this
         6     A. You mean me?                                                 6 exception; is that correct?
         7     Q. Mr. Brockman.                                                7            MS. GULLEY: Form.
         8     A. Okay.                                                        8      A. Yes, ma'am. And I -- the -- I don't know --
         9     Q. I'm trying to see if I can outdo Mr. Nemclka.                9 this happened back in 2016, two --two and a half years
        10            Mr. Brockman, have you reviewed Plaintiffs              10 ago. I don't know exactly what the state of affairs is
        1 1 Exhibit 667?                                                      1 1 regarding data security in this particular area, but I
        12     A. Not quite. It's five pages.                                 12 do know that, you know,this has quieted down and is no
        13     Q. The good news is the last two are screenshots,              13 longer an issue. And Ms. Lisa Wood continues to be our
        14 I think.                                                           14 friend and good customer.
        15     A. You're right.                                               15     Q. (By Ms. Wedgworth) Well, on the "quieted down
        16     Q. Have you had a chance to review Exhibit 667?                16 and no longer an issue," let me show you what we're
        17     A. Yes, ma'am.                                                 17 marking as Plaintiffs Exhibit 668.
        18     Q. And did you receive and write this email on or              18            (Exhibit 668 was marked for
        19 about May 31st, 2016?                                              19             identification.)
        20            MS. GULLEY: Form.                                       20     Q. (By Ms. Wedgworth) Have you reviewed
        21     A. Yes, ma'am.                                                 21 Plaintiffs Exhibit 668?
        22     Q. (By Ms. Wedgworth) And in all your emails that              22      A. Not quite through, but so far I'm really
        23 you wrote, do you try to be truthful and accurate?                 23 enjoying it. I'm serious. Yes, ma'am.
        24     A. Yes, ma'am.                                                 24     Q. Did you receive and write this email on or
        25     Q. On the first page, where the subject is "Data               25 about June 2nd, 2016?

                                                              Page 253                                                                     Page 255
         1 Security impact," and the earlier emails are May 31st,              1     A. Yes,I did.
         2 with your email being May 31st. And then Mr. Schaefer               2     Q. And you write to Mr. Schaefer, "Please see
         3 ultimately responding on June 1st, where you -- where               3 changes that I have made." And this attachment is
         4 the email from Mr. Agan, before yours, says,"Bob, I'm               4 "DRAFT - CAPTCHA Suspension Talk Track."
         5 hearing from several AVPs that whatever action we took              5           If we go to the second page of the
         6 recently has got a number of customers quite upset.                 6 document,"Sales Breaking News," it says,"We have
         7 There is an email from the IT Support Director for John             7 suspended the CAPTCHA and time restriction updates
         8 Eagle dealerships below. Dan." Are you familiar with                8 released earlier this week. Read below for the
         9 John Eagle dealerships?                                             9 authorized talk track to discuss with customers."
        10     A. Not very much beforehand but, certainly, this               10           Does this refresh your recollection that in
        1 1 one here -- this dear lady -- and I'll refer to her as a          1 1 early June 2016, Reynolds suspended the security
        1/ "dear lady" -- "I leave my house before Sam to get to              12 enhancements they had put in place late May?
        13 the store before 6am." And -- and she's coming in to be            13           MS. GULLEY: Objection; form.
        14 there at 6 a.m., and the list of reports that she's                14     A. Yes. That -- that is correct. And certainly,
        15 running manually is remarkable. She's clearly a very               15 you know, the whole rest of what I wrote here is -- is
        16 dedicated person.                                                  16 worth going through.
        17     Q. Referring to your email, on the front page,                 17     Q. (By Ms. Wedgworth) I just want to focus on the
        18 about her remarkable abilities, you write, "Bob, This"             18 last bullet point to get to the end of the story.
        19 is one -- "This one is worthy of an exception even                 19 "Effective immediately the two enhancements regarding
        20 considering the CarFax 3rd party usage." Do you see                20 restricted hours and CAPTCHA have been suspended." Were
        21 that?                                                              21 both suspended on or around June 1,2016?
        22     A. Yes.                                                        77         MS. GULLEY: Object to the form and the
        23     Q. Do you know what the CarFax third-party usage               23 instruction.
        24 reference is?                                                      24     A. I'm not aware of the exact date that that was
        25            MS. GULLEY: Objection; form.                            25 done, but I would presume sometime in that time frame.

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         1    Q. (By Ms. Wedgworth) And in that bullet                         1 will now be in real-time, which will enable the system
         2 referencing two enhancements, that references the                   2 to identify upgrade opportunities in the timeliest
         3 security enhancements; correct?                                     3 fashion," which makes the AutoAlert product a whale of a
         4    A. I think it represents two of the security --                  4 lot better. And so we're doing a lot more than just
         5 security enhancements and, probably, it's not likely all            5 providing data to them. We're actually inserting
         6 of them because, you know, we do them in batches. We                6 functionality into our operating software that makes
         7 don't do them individually. So there -- there's more                7 their product better.
         8 than likely others which, you know, stayed in place.                8     Q. (By Ms. Wedgworth) In the top email, you
         9    Q. This does not reference any, does it?                         9 write, "They are clearly over the line. Exercise our
        10          MS. GULLEY: Form.                                         10 termination for convenience." Is this you request- --
        11    A. No, it does not.                                             11 ordering that AutoAlert's contract be terminated?
        12    Q. (By Ms. Wedgworth) So this "Sales Breaking                   12     A. That's correct.
        1 3 News" talking points references two data security                 13     Q. And are you ordering that their contract he
        14 enhancements that were being suspended; correct?                   14 terminated due to the fact that they're informing
        15          MS. GULLEY: Objection; form.                              15 dealerships of their monthly data integration fee that
        16    A. Yeah, but it primarily references the reasons                16 they are passing along to the dealers?
        17 why that we do what we do and the reasons why we operate 17                     MS. GULLEY: Objection; form.
        18 the way we do.                                                     18     A. That's correct. That is clearly prohibited in
        19          (Exhibit 669 was marked for                               19 our contract. Now,they are perfectly within their
        20           identification.)                                         20 rights to disclose the cost of their-- of their
        21    Q. (By Ms. Wedgworth) I'd like to show you what                 21 product, you know, the price that they charge the
        22 we've marked as Plaintiffs Exhibit 669. Mr. Brockman,              22 dealer. You know, they are not permitted, underneath
        23 have you had a chance to review Plaintiffs Exhibit 669?            23 our contract, to -- you know, publish the price that we
        24    A. I'm just about there. Yes.                                   24 charge them.
        25    Q. Did you receive and write this email on or                   25     Q. (By Ms. Wedgworth) You would agree with me

                                                               Page 257                                                              Page 259
         1 about August 12th, 2016 that is Plaintiffs Exhibit 669?             1 that the vendor market is compet- -- is a competitive
         2     A. Yes, ma'am.                                                  2 market; correct?
         3     Q. I take it you are familiar with AutoAlert as a               3     A. When it comes to car sales, yes, that's
         4 third-party vendor?                                                 4 necessarily true.
         5     A. In name only. I've never been to their place.                5     Q. I'd like to show you what's been marked as
         6 Never talked to them.                                               6 Plaintiffs Exhibit 670.
         7     Q. Does the Reynolds contract with vendors prevent              7           (Exhibit 670 Brockman was marked for
         8 the vendor from disclosing data integration fees to the             8            identification.)
         9 dealerships?                                                        9     Q. (By Ms. Wedgworth) Mr. Brockman, have you
        10          MS. GULLEY: Objection; form.                              10 reviewed Exhibit 670 Brockman?
        11     A. That -- that contract specifies that they --                11     A. Yes, ma'am.
        1/ they cannot specifically, you know, cite what our                  12     Q. And did you receive and write this email around
        13 monthly fee is to them, which is what appears to have              13 August 12th, 2016?
        14 occurred in this particular case.                                  14     A. Yes, ma'am.
        15     Q. (By Ms. Wedgworth) And you have --                          15     Q. And --and if you will note the previous
        16 Mr. Strawsburg writes to you about this particular case            16 Exhibit, 669, was on the same day as well.
        17 of AutoAlert?                                                      17     A. That --that's correct. And since there's
        18     A. Yes.                                                        18 reference to that -- that's important -- is the reason I
        19          MS. GULLEY: Objection; form.                              19 just pulled it back out of the pile, so I can open it up
        20     A. And I'd like to point out as well, this is not              20 and look at it again.
        21 an ordinary RCI, you know, application. It was a very              21     Q. So at this time, meaning August 12th, 2016, did
        22 special one where it actually, you know,requires us to,            22 AutoAlert have a "real-time service drive lead feature"?
        23 you know, insert into our mainline software the                    23     A. No, they did not. They were not even
        24 functionality that they're asking here.                            24 certified. They were not even part of RCI at that
        25          Because they -- they cite "Repair orders                  25 point.

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         1    Q. Your email at the top says,"Take away the                   1 yet -- it it's not finished, they're not RCI certified.
         2 RO's" RO's means repair orders?                                   2 We have decided rather than to go forward as we had
         3    A. Yes. That's what it means, but what -- what's               3 planned, based upon their actions, we're not.
         4 important is -- is the paragraph just below that, in              4    Q. (By Ms. Wedgworth) Did AutoAlert become RCI
         5 bold, where it says, "They're not even certified???"              5 certified?
         6 Good God. And now yet in -- in their June 27th, you               6     A. I'm not aware of whether they have or not.
         7 know, notification, you know,they're -- they're                   7 I -- I would presume they did, but I don't know.
         8 bragging about the fact they're now associated with --            8     Q. Mr. Brockman, have any data breaches of dealer
         9 we've "completed the process to become RCI certified              9 DMS occurred in the past three years?
        10 with your DMS provider, Reynolds & Reynolds. As you              10        MS. GULLEY: Objection; form.
        11   know, the RCI certification program was designed to            11     A. I believe so. There's -- there's one that I
        12   ensure the highest level of data security for you and          12 recall involving DealerBuilt that was pretty
        13   your customers, and our certification has been a request       1 3 substantial
        14   by many of our dealers."                                       14     Q. (By Ms. Wedgworth) Is that the only one you
        15           But they haven't got it.                               15 recall?
        16    Q. Well, they do have -- real time has been opened            16          MS. GULLEY: Objection; form.
        17 for them, right?                                                 17      A. Of size, you know, that's the only one that,
        18          MS. GULLEY: Objection; form.                            18 you know, that was a very, very good-sized one. It was
        19      A. No.                                                      19 huge.
        20      Q. (By Ms. Wedgworth) Well, you -- you say, "Take           20           (Exhibit 671 Brockman was marked for
        21 away the RO's opened real time," so something must be in         21           identification.)
        22 place for AutoAlert; correct?                                    22      Q. (By Ms. Wedgworth) Mr. Brockman, I'll show you
        23           MS. GULLEY: Objection; form.                           23 what's been marked as Plaintiffs Exhibit 671.
        24      A. What's happening is -- certainly appears, you            24 Mr. Brockman, have you had time to review Plaintiffs
        25 know,from -- from the documents in front of me --                25 Exhibit 671?

                                                                 Page 261                                                               Page 263
         1 that they are using it from a sales standpoint the fact           1      A. Not quite yet, ma'am, but very close. Yes,
         2 that they are certified -- RCI certified. And they're             2 ma'am.
         3 not RCI certified. They haven't achieved certification            3   Q. Did you receive this email on or about June
         4 yet.                                                              4 20th, 2017?
         5         And so therefore, I'm saying that, going                  5    A. Yes.
         6 forward, for a third-party to do this means that -- that          6    Q. Do you recall if you approved this deal?
         7 they're not really quite straightforward-kind-offolks.            7    A. I don't have any direct recollection of that.
         8 And therefore, what we're going to do is -- and that's            8 As I read it, it's probably likely that I did, because
         9 we're not going to give them their real-time repair       9           the ShowroomMagnet actually is -- is a -- is part of the
        10 order opening, because that is a special thing that's    10           company that we acquired. It's a product. And so
        1 1 over and above what a normal RCI -- normal RCI would be 1 1          therefore, doing something for that particular product
        P just for data movement.                                   1/           area would be something that I would likely approve.
        13          The real-time opening ofrepair orders           13              Q. Naked Lime -- ShowroomMagnet is part ofthe
        14 means that they're now into our mainline software, and   14           Naked Lime entity?
        15 they're writing on our software to -- to feed to them            15             MS. GULLEY: Objection; form.
        16 the repair order has just been opened, real time. And            16     A. Yes. What ShowroomMagnet is, as I recall,
        17 what's happening is -- and that's that I'm -- I'm                17 it -- it is a marketing system which is employed to
        18 directing Bob Schaefer: When somebody is -- is                   18 motivate people that come in and get a test drive. And
        19 basically being dishonest with us, there's no way we're          19 to basically show up in the showroom and talk to a
        20 going to let them into our main software.                        20   salesperson and take a test drive for which they get
        21    Q. (By Ms. Wedgworth) When you write, "Take away              21   a --a small, you know, cash payment. And it's -- it
        22 the ROs opened real time from them," you've already              22   has been found to be fairly decently and effective way
        23 given them something; is that correct?                           23   to get people to come into the dealership and take a
        24         MS. GULLEY: Objection; form.                             24 test drive.
        25      A. The contract which has obviously not been done           25    Q. (By Ms. Wedgworth) And the situation described

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         1 at the top,"ShowroomMagnet has been utilizing a data                 1           MS. GULLEY: Objection.
         2 broker for the extraction of DMS transactional data for              2     Q. (By Ms. Wedgworth) I'm sorry?
         3 clients. The purpose ofthis data is for market area                  3     A. That's an integral part of it.
         4 evaluations."                                                        4     Q. Does Reynolds currently allow third part- --
         5           Did Reynolds, with regard to                               5 any third party to have real-time repair order
         6 ShowroomMagnet, agree to eliminate the use of a data                 6 functionality?
         7 broker to access CDK DMS?                                            7           MS. GULLEY: Objection; form.
         8           MS. GULLEY: Objection; form.                               8     A. When you talk about functionality, I know we
         9     A. I -- I don't recall, you know, that specific                  9 have some interfaces that allow look-only repair work.
        10 action. But I know it was our intention to, where                   10 But there is -- you know, there's no, outside of our
        1 1 possible, use -- get -- get data feeds directly from               1 1 application software, actually creating repair orders or
        12 CDK. And my reason for doing that is -- and that's                  12 updating repair orders.
        13 that, as I think is -- is readily apparent, there's some            13     Q. (By Ms. Wedgworth) So is that a "no" to the
        14 substantial potential liabilities involved. Anytime                 14 question?
        15 that you start, you know, moving data around, that                  15           MS. GULLEY: Objection; form.
        16 potentially has personal- -- personally identifiable                16     A. No. I think my answer is my answer. And I
        17 information. I want to be doing business with people                17 understand that's a little bit long but, I mean, I can't
        18 that, if there is some kind of lawsuit, they can -- if              18 say it yes or no.
        19 they're found liable, you know,that they can pay the                19     Q. (By Ms. Wedgworth) So does -- does any third
        20 judgment.                                                           20 party have the same ability with regard to real-time
        21     Q. Do you know that the data broker mentioned here              21 repair order in the Reynolds system as Reynolds does?
        22 was Authenticom?                                                    22           MS. GULLEY: Objection; form.
        23           MS. GULLEY: Objection; form.                              23     A. That's a much better restatement.
        24     A. I'm not aware of that. This is a general                     24     Q. (By Ms. Wedgworth) Thank you.
        25 policy decision.                                                    25     A. And --yeah. And the answer is, no. There's

                                                                    Page 265                                                           Page 267
         1    Q. (By Ms. Wedgworth) Where does it say that?                     1 no outside third party that has identical access or has
         2           MS. GULLEY: Objection; form.                               2 identical functionality. We do -- because remember, you
         3     A. That's my belief                                              3 know, repair order -- you know,functionality, that's an
         4           MS. GULLEY: Peggy, if you're between                       4 integral part. That's what the service system does, is
         5 documents, lunch has been here about 30 minutes.                     5 it creates repair orders. And, you know, uses them to,
         6           MS. WEDGWORTH: It's here?                                  6 you know, process the information and help run the shop.
         7           MS. GULLEY: Yeah, it is.                                   7 It's not an interface at all. That's -- that's it.
         8           MS. WEDGWORTH: Yeah, let's break for                       8     Q. Has any third party other than AutoAlert had
         9 lunch. Thank you.                                                    9 real-time repair order functionality?
        10          THE VIDEOGRAPHER: This is the end of Media 10                           MS. GULLEY: Objection; form.
        1 1 2. The time is 12:17 p.m. We're off the record.                    11     A. Again, you know, repair order functionality, as
        1/          (Lunch recess 12:17 to 1:36 p.m.)                          1/ you're using it, is a very broad statement, okay? There
        13          THE VIDEOGRAPHER: Were back from lunch.                    13 is certainly some functionality that, you know, other
        14 This is the beginning of Media 3. The time is 1:36 p.m.             14 third parties have in terms of, you know, looked-at kind
        15 We're back on the record.                                           15 of access. But to actually start a repair order --you
        16            EXAMINATION (Continuing)                                 16 know, make a repair order --what you call "repair order
        17 BY MS. WEDGWORTH:                                                   17 functionality," that's the integral part of-- of the
        18    Q. Good afternoon, Mr. Brockman. Does Reynolds'                  18 service system. And no other third party has that.
        19 service product have real-time repair order                         19     Q. (By Ms. Wedgworth) The functionality you're
        20 functionality?                                                      20 speaking about is to create and edit a repair order?
        21          MS. GULLEY: Objection; form.                               21           MS. GULLEY: Objection; form.
        22     A. Does Reynolds' service product have                          22     A. There is the -- the way that I describe it
        23 real-time --                                                        23 is -- and that's there's -- there's repair order
        24    Q. (By Ms. Wedgworth) Repair order functionality?                24 functionality, using a broad word like -- like you --
        25     A. Yes. And that's an integral part of it.                      25 like you stated. Only, you know, Reynolds software has

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         1 that, because that is the integral part, you know.                1     A. No. It -- it is called -- and I don't even
         2 That's the center functions of Reynolds service                   2 know that we call it a "transaction fee." It is -- it
         3 software, okay? Any other access to repair order                  3 is a fee for each time a record is -- is added, changed
         4 functions is -- is much more limited. It's limited to             4 or deleted. And it's only where they have write-back
         5   look only, that type of access. That's the kind of              5 access. You know, in order to talk about this, it's
         6   access the third party had -- have. None of them have,          6 important to talk about what happened to Xtime and --
         7   you know, the first type of access, which is the guts of        7     Q. (By Ms. Wedgworth) Actually, I didn't ask that
         8   Reynolds service system.                                        8 question. I'm just simply asking if there was a
         9     Q. (By Ms. Wedgworth) With regard to pricing in               9 transaction fee implemented in mid-2016.
        10 June of 2016, did Reynolds implement a transaction fee           10     A. The answer to that is -- and that's no. That's
        1 1 with regard to RCI to their vendors?                            1 1 not the case.
        12           MS. GULLEY: Objection; form.                           12    Q. A transaction fee was not implemented to
        13      A. The time frame was when?                                 13 vendors with write-back interface?
        14      Q. (By Ms. Wedgworth) Mid-2016.                             14         MS. GULLEY: Objection; form.
        15           MS. GULLEY: Form.                                      15    A. Ifs a transaction fee only if they did an add,
        16      A. Is that around the date of-- of the Xtime                16 change or delete.
        17 issue?                                                           17    Q. (By Ms. Wedgworth) And was that fee five cents
        18    Q. (By Ms. Wedgworth) You'd know that better than             18 per transaction?
        19 me, so I don't know the answer to the question. But I            19    A. That's correct.
        20 will show you a document that will be Plaintiffs                 20    Q. And a year later, was that
        21 Exhibit 672.                                                     21 five-cent-per-transaction fee increased?
        22        (Exhibit 672 Brockman was marked for                      22    A. Yes, it was increased as part of our -- our
        23         identification.)                                         23 normal, you know, annual price increase.
        24   Q. (By Ms. Wedgworth) I'll show you what's been                24    Q. Are you the ultimate decision maker on that
        25 marked as Plaintiffs Exhibit 672.                                25 price increase?

                                                           Page 269                                                                    Page 271
         1          Mr. Brockman, have you reviewed Plaintiffs               1         MR.RYAN: Object to the form.
         2 Exhibit 672?                                                      2     A. Yes and no. The answer is general -- in
         3      A. Yes. And which is very helpful, as a matter of            3 general terms, yes. I do not actually, you know -- I'm
         4   fact, because it does, you know, allow correct focus            4 not involved in the actual price increase of each
         5   on -- on the timelines in that, you know -- this                5 individual, you know, item number that we sell. My
         6   particular document is partially in reference to exactly        6 involvement has only to do with, you know, what the
         7   what I thought, which is around the Xtime incident --           7 general percentage is going to be, which is CPI plus 2.
         8 subsequent to the Xtime incident.                                 8 And, you know,this year its -- CPI plus 2 is 4.1
         9    Q. So is it fair to say that in mid-2016, Reynolds             9 percent.
        10 raised RCI pricing?                                              10    Q. (By Ms. Wedgworth) Did you receive and write
        11          MS. GULLEY: Objection; form.                            1 1 this email, 672, on or about July 4, 2016?
        12      A. No. That's not correct.                                  17     A. Yes, I did.
        13    Q. (By Ms. Wedgworth) Is it fair to say that they             13          (Exhibit 673 Brockman was marked for
        14 implemented a transaction fee?                                   14           identification.)
        15        MS. GULLEY: Objection; form.                              15     Q. (By Ms. Wedgworth) Mr. Brockman, I'll show you
        16    A. No. That's not correct. You know, what                     16 what's been marked as Plaintiffs Exhibit 673.
        17 happened was -- and that's that -- and this affects only         17    A. Yes.
        18 a very small number of RCI, you know, customers. Again, 18    Q. Did you receive and write this email in 673 on
        19 it also -- it only affects those that actually try to   19 or about May 9, 2017?
        20 have update capability that could cause the kind of              20     A. Yes, that's correct.
        21 problem that occurred with Xtime.                                21    Q. And does this document reflect your approval of
        22    Q. (By Ms. Wedgworth) So with regard to those                 22 a price increase with regard to the transaction fee?
        23 vendors who were subject to the transaction fee, is that         23           MS. GULLEY: Objection; form.
        24 something sometimes called a "ping fee"?                         24     A. I don't see that it -- okay. It does address
        25            MS. GULLEY: Objection; form.                          25 the per transaction price increase.

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                                                       Page 272                                                               Page 274
         1    Q. (By Ms. Wedgworth) And you approved that price         1 insurance -- there's probably -- ifI had an opportunity
         2 increase?                                                    2 to sit down and think about it for a while, I -- I could
         3    A. Yes, I did.                                            3 build a much longer list. But it's -- it's much more in
         4    Q. Do you know how the price increase of a quarter        4 terms of numbers ofthe things to be considered than
         5 of a cent was determined?                                    5 what you have there.
         6          MS. GULLEY: Objection; form.                        6    Q. (By Ms. Wedgworth) And no one at Reynolds has
         7    A. It looks to me like -- it says here, it                7 done this list of costs with regard to RCI?
         8 was a -- a 5 percent -- which was CPI plus 2 -- for that     8          MS. GULLEY: Objection; form.
         9 year.                                                        9    A. That's correct. We do not have cost
        10    Q. (By Ms. Wedgworth) Does Reynolds track RCI            10 accounting.
        1 1 cost in any way?                                           11    Q. (By Ms. Wedgworth) Do dealers, as part of
        12           MS. GULLEY: Objection; form.                      12 their Reynolds contracts, pay Reynolds for storage of
        13     A. We do not.                                           13 their data?
        14     Q. (By Ms. Wedgworth) I'm sorry?                        14    A. Only in -- in certain situations. We have a --
        15     A. We do not.                                           15 a product offering, which is called -- the acronym for
        16    Q. With regard to RCI cost, do those -- do the           16 it is RBDR. And what it does is -- and that's that it
        17 costs include the developing of interfaces?                 17 provides for backup of-- of dealership's data on a
        18     A. Yes, that would be one of the costs.                 18 remote automatic basis. This -- if -- if the customer
        19     Q. Is another cost server maintenance?                  19 has their own server, they have to have an employee
        20     A. Server maintenance, server heat, light, power,       20 which is charged with running the backups every night
        21 server amortization, server repair, replacement, you        21 and filing the tape away in a fireproof vault.
        22 know, the -- the manpower it takes to supervise all         22          The RBDR product, you know,takes the
        23 that. I'm sure that there's more factors than that, but     23 responsibility of remotely accessing the dealership's
        24 those are the ones that come right off the top of my        24 server and backing up its data files into our Dayton,
        25 head.                                                       25 Ohio research park office. And that -- that service

                                                            Page 273                                                          Page 275
         1    Q. Is one of the costs of RCI the DSV personnel           1 also provides for-- in the event of disaster recovery,
         2 compensation?                                                2 will air freight them a -- a new server and load it with
         3     A. Yes.                                                  3 their most recent backup data so they can get back in
         4     Q. Is Bob Schaefer's salary part of RCI costs?           4 business.
         5     A. I would imagine so. But, again, I repeat which        5    Q. So if the dealership has their own server for
         6 I talked about several times, we do not have cost            6 storage of their data, is there any cost to the
         7 accounting.                                                  7 dealership from Reyn- -- that they must pay to Reynolds?
         8     Q. I understand.                                         8          MS. GULLEY: Objection; form.
         9     A. But -- but from a theoretical standpoint, yes,        9    A. I'm not -- not quite understanding. Could
        10 you know, his compensation would -- would be something      10 you --
        1 1 that would -- it would be -- would be included, you        11    Q. (By Ms. Wedgworth) So -- so if the dealership
        1/ know, if we had cost accounting, which we don't.            1/ stores their own data and doesn't use RBDR,is there a
        13    Q. Are there any other RCI costs you're aware of,        13 cost to the dealership that Reynolds charges?
        14 other than the developing of interfaces, the service --     14           MS. GULLEY: Object to form.
        15 server maintenance costs, the DSV personnel comp, such      15    A. There -- there's a maintenance charge for --
        16 as Mr. Schaefer's salary? Anything else for RCI costs?      16 for that server. And what that covers is -- that covers
        17          MS. GULLEY: Form.                                  17 onsite maintenance repair and replacement.
        18    A. I think it's a considerable more number of            18    Q. (By Ms. Wedgworth) So that's a monthly charge?
        19 things. Because, you know, for instance, Internet           19          MS. GULLEY: Form.
        20 bandwidth is -- would be an important, you know,            20     A. Yes.
        21 component, because all these transactions flow through      21     Q. (By Ms. Wedgworth) To the dealership?
        22 what we refer to as "the hub." And it --in itself is a      22     A. Yes, that's correct.
        23 completely separate system. It's designed for -- for        23     Q. And that monthly charge to the dealership is
        24 moving packets of data between servers.                     24 for dealer storage oftheir own data on their own
        25           We have the issue of-- of fire                    25 server; is that correct?

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         1         MS. GULLEY: Objection; form.                                1 product called "Consumer Reach." That's what you see
         2    A. No. Ifs not a charge for dealership -- its                    2 abbreviated as CR.
         3 charged for hardware maintenance for -- for that server.            3    Q. Mr. Brockman, there's no question pending right
         4    Q. (By Ms. Wedgworth) If a dealership doesn't use                4 now.
         5 the RBDR program you described, is there any cost to the            5   A. Well, I -- I guess if you're interested in
         6 dealership to -- to store the data?                                 6 knowing what's going on --
         7          MS. GULLEY: Objection; form.                               7    Q. I -- I'm definitely interested in some things,
         8    A. Again, the -- the charge for the server is for                8 but -- but the way it works is I ask the question and
         9 hardware maintenance. There are software monthly fees,              9 you answer. It's just the way the process works.
        10 which are under contract. Each element of software                 10           So my question is: Is this part of
        1 1 generally has some requirement to store data, but                 1 1 Reynolds' suite of products to allow email blasts on the
        12 there's no, you know, fee that is identified as -- as              12 part of dealers to customers?
        1 3 data storage.                                                     13           MS. GULLEY: Objection; form. And to the
        14           (Exhibit 674 Brockman was marked for                     14 prior thing.
        15           identification.)                                         15      A. It relates to a -- a Reynolds product, which is
        16    Q. (By Ms. Wedgworth) Mr. Brockman, I'll show you               16 being misused by the customer, which is resulting in
        17 what's been marked as Plaintiffs Exhibit 674. It's                 17 great dislocation, both to Reynolds and to the customer.
        18 Bates number: REYMDL00503332 through 35.                           18 Their email traffic is blacklisted, which means it falls
        19         Mr. Brockman have you had a chance to                      19 in a black hole. They don't know if it's transmitted or
        20 review Plaintiffs Exhibit 674?                                     20 not. Its a very serious issue.
        21    A. Yes, ma'am. My comment to this one is really                 21     Q. (By Ms. Wedgworth) Has Reynolds ever attempted
        22 getting down to the weeds. It's going to take a while              22 to limit or reduce the number ofrecipients of a
        23 to talk about this one.                                            23 dealer's email blast?
        24     Q. I'm going to try to stay high-level on this                 24           MS. GULLEY: Objection; form.
        25 one.                                                               25    A. Yeah, prior to this, we had not. Okay? But

                                                                   Page 277                                                          Page 279
         1     A. I don't know that's going to be possible.                    1 what's happened is -- and that's they're buying outside
         2     Q. Well, we'll give it a whirl.                                 2 direct mail lists that have bad email addresses in them.
         3          So did you write and receive this email on                 3 And then they send out an email blast. And the email,
         4 or about July 19th, 2017?                                           4 you know, provider gets upset about that, and they
         5          MS. GULLEY: Objection; form.                               5   blacklist the address. They blacklist the -- you know,
         6    Q. (By Ms. Wedgworth) Let me try it again.                       6   the -- the dealership's address. And in this case, what
         7         Did you write and receive this email on                     7   they're doing is they're getting ours blacklisted, which
         8 about the time period of July 16 through July 19, 2017?             8   means that we have a whole bunch of customers that get
         9           MS. GULLEY: Form.                                         9   disabled, you know, because one dealer has done
        10     A. Well, there's -- I've got to go back. There --              10   something stupid.
        11 there's lots of emails on this string. And if you give             11      Q. (By Ms. Wedgworth) And is it fair to say
        1/ me a moment, I'll try and count the ones that --that --            1/   somebody at Reynolds says the problem can be solved by
        13 I actually sent.                                                   13   contacting a Reynolds product called Naked Lime?
        14     Q. (By Ms. Wedgworth) I think the one you sent                 14         MS. GULLEY: Objection; form.
        15 was on the first page.                                             15    A. If you will point that out to me.
        16           MS. GULLEY: Form.                                        16    Q. (By Ms. Wedgworth) The first paragraph at the
        17    Q. (By Ms. Wedgworth) And my question -- we'll                  17 bottom, Mr. Barras writes to you.
        18 just limit it to that -- the email on the first page,              18         MS. GULLEY: Objection; form.
        19 July 18, 2017. Did you write this?                                 19    A. That's correct. That's what it says. The
        20    A. Is this July 18th?                                           20   Naked Lime product has a more sophisticated way of
        21    Q. Yes.                                                         21   handling emails than the consumer reach product. The
        22    A. Yes. That -- That's correct. What's saying                   22   consumer reach product is a very old product. And
        23 here is -- and that's that we're concerned about -- you            23   the -- the Naked Lime product, it has license built into
        24 know, caps. Daily caps, monthly caps. What -- what                 24 it that since -- when email service provider is throwing
        25 this relates to is -- and that's that we have a -- a               25 away emails and -- to stop the whole process before

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         1 blacklisting occurs.                                                1 out to "300." Is that you scratching out "150" and
         2     Q. (By Ms. Wedgworth) So you respond to                         2 inserting "300"?
         3 Mr. Barras by saying,"I think there should be daily                 3          MS. GULLEY: Objection; form.
         4 caps as well as monthly caps"; is that correct?                     4    A. Yes, ma'am.
         5          MS. GULLEY: Objection; form.                               5    Q. (By Ms. Wedgworth) Is that true for all the
         6     A. Yes. And that -- that's a -- again, this is --               6 other numbers that are handwritten?
         7 in an effort to stop sending junk to the email service              7    A. Yes, ma'am.
         8 provider, to avoid getting blacklisted.                             8         MS. GULLEY: Form.
         9    Q. (By Ms. Wedgworth) So Reynolds did limit the                  9    Q. (By Ms. Wedgworth) And then handwritten,"For
        10 number of recipients of a dealer's email blast; correct?           10 installation of monthly support fees for Canadian
        11          MS. GULLEY: Objection; form.                              1 1 dealers," it's -- "20%" is crossed out. "30%" -- is
        12    A. I'm not sure, you know, what the final                       12 that your handwriting?
        13 disposition was of this problem. I know that -- I do               13    A. Yes, it is.
        14 know that now it's no longer the issue it was when this            14    Q. And then "Per dealer install fee is per the
        15 happened. When this happened it was a disaster.                    15 table," your handwriting again?
        16    Q. (By Ms. Wedgworth) Was the quota done to both                16    A. Yes, that's correct.
        17 legacy and new customers?                                          17     Q. How did you determine to raise the per dealer
        18          MS. GULLEY: Objection; form.                              18 installation fee for package going from S150 to 900?
        19    A. I -- I don't know exactly, you know, what                    19           MS. GULLEY: Objection; form.
        20 the -- what the final resolution was. You know, these              20     A. This particular customer has a number of -- of
        21 emails relate to a moment in time when the product was,            21 real-time interfaces, which means they're very heavily
        22 you know -- or when the problem was at its worse.                  22   dependent upon, you know, our software functionality to,
        23    Q. (By Ms. Wedgworth) Well, there was no                        23   you know, get done what they want to have done. Every
        24 recommendation to put a quota on Naked Lime; correct?              24   time that we do one of these, we run into the issue of
        25         MS. GULLEY: Objection; form.                               25   increasing the complexity in our application software.

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         1    A. It's my understanding that Naked Lime did not                 1 And part of-- part of my decision-making responsibility
         2 suffer from the problem.                                            2 is -- and that's that there is all kinds of requests
         3     Q. (By Ms. Wedgworth) So there was no quota put                 3 for, you know, this and that to be done to our
         4 on Naked Lime?                                                      4 application software.
         5         MS. GULLEY: Objection; form.                                5           Now,if I say yes to them all, in the last
         6    A. Again, I don't know, you know, what was done,                 6 act, everybody goes crazy, because it's become too big
         7 you know, subsequent to this email. I'm -- it is a --               7 and too complex. It's my job to actually think about
         8 it is -- its one of, you know, of the issues that goes              8 all the time, you know, what is it that were doing
         9 on in the company with 5,000 employees and tens of                  9 that's going to increase complexity in our application
        10 thousands of customers. And I -- I see moments in time,            10   software? In this particular case, I believe that
        1 1 but I -- I don't know everything that's going on.                 11   the -- the complexity load that this particular customer
        1/     Q. (By Ms. Wedgworth) Mr. Brockman, I'll show you              1/   was going to put on us, you know, really required a
        13 what has been previously marked as Plaintiffs Exhibit              13   little bit higher price.
        14 226. I'm going to focus you on the last page to ask you            14            And -- you know, that's just, you know, the
        15 if it's your handwriting.                                          15   sum and substance of it. You know, we cannot do, you
        16     A. You said the last -- the last, last page?                   16   know, everything that everybody likes -- would like to
        17     Q. Yes.                                                        17   have without cost, which means we've got to increase the
        18          MS. GULLEY: Objection; form.                              18   prices a little bit.
        19     Q. (By Ms. Wedgworth) Is this your handwriting,                19      Q. (By Ms. Wedgworth) Was one of the real-time
        20 Mr. Brockman?                                                      20 interfaces for AutoAlert the repair order?
        21     A. Yes, it is.                                                 21          MS. GULLEY: Objection; form.
        22     Q. And at the top of the page, it says, "AutoAlert             22    A. It is the -- it is the publish repair order,
        23 Irvine California." And then the handwriting you have              23 which is taking the -- the -- it's notifying the third
        24 in the middle of the page, "per dealer installation                24 party that there's been activity on a repair order.
        25 fee," the typewritten is "150." It -- it's scratched               25 It's either been opened or closed. And they want to --

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         1 they want to know that, really, right at the instant               1 new projects, new software, new hires, new customer
         2 that it occurs, its real time.                                     2 relationships. Those are much more important to me than
         3     Q. (By Ms. Wedgworth) Did you consult any                      3 these detailed numbers.
         4 particular documents, or specific information, when you            4     Q. At the bottom ofthis page where there are
         5 made these changes?                                                5 three asterisks, at the very bottom, beneath the
         6     A. No.                                                         6 highlighted numbers that you looked at earlier, there's
         7     Q. Did you speak to anyone, specifically, about                7 a note with three asterisks. "Legal Fees for Data
         8 making these changes?                                              8 Services are $1,034k in July, $10,690k YTD or $18.3M
         9     A. Not that I recall.                                          9 annualized. Case to date (Aug 2017-current) costs total
        10     Q. Mr. Brockman, I'll show you what's been marked             10 $16.3M." Do you see that?
        1 1 as Plaintiffs Exhibit 675.                                       11           MS. GULLEY: Objection; form.
        12          (Exhibit 675 Brockman was marked for                     12     A. Yes, I do.
        13             identification.)                                      13     Q. (By Ms. Wedgworth) Have you looked at that
        14     Q. (By Ms. Wedgworth) Which is the July 2018                  14 before?
        15 financial page -- package. And I'm going to ask you to            15     A. I think I've actually --probably as a thumbed
        16 turn to Page 16 of the document which is, again, going            16 through, I probably noticed that one.
        17 down under the RCI numbers for July through 2000- --              17     Q. Are those -- are those costs with regard to the
        18 2018, there's a "14%" on "Recurring Revenue" for RCI?             18 current litigation we're in now?
        19           MS. GULLEY: Objection.                                  19           MS. GULLEY: Objection; form.
        20     Q. (By Ms. Wedgworth) From the previous year?                 20     A. I believe that to be the case. Though it
        21           MS. GULLEY: Objection; form.                            21 doesn't specifically say that, but that -- I would think
        22     A. Thank you very much.                                       22 that would probably be true.
        23     Q. (By Ms. Wedgworth) It's about six lines down               23     Q. (By Ms. Wedgworth) Is this a -- a figure
        24 from the top. RCI "Recurring" -- "Recurring Revenue" --           24 you've requested to be put in the data?
        25 further up.                                                       25           MS. GULLEY: Objection; form.

                                                                  Page 285                                                            Page 287
         1           MS. GULLEY: Is there a question?                         1     A. No, it is not.
         2     Q. (By Ms. Wedgworth) Do you see the "14%"?                    2           MS. WEDGWORTH: If we just a very short
         3           MS. GULLEY: Objection; form.                             3 break, I want to confer with co-counsel for just a
         4     A. I'm not seeing a -- a percentage on the line                4 minute. Off the record.
         5 that I'm looking at anywhere.                                      5           MS. GULLEY: Off the record.
         6     Q. (By Ms. Wedgworth) If you start at the top of               6           THE VIDEOGRAPHER: Off the record at 2:15
         7 the page and go six lines down.                                    7 p.m.
         8     A. Oh, the top of the page?                                    8           (Short recess 2:15 to 2:21 p.m.)
         9     Q. Yes.                                                        9           THE VIDEOGRAPHER: Time is 2:21 p.m.We're
        10     A. I'm sorry, I was distracted by the highlighting            10 back on the record.
        1 1 that you have. It's further down towards the bottom of           11            EXAMINATION (Continuing)
        1/ the page.                                                         1/ BY MS. WEDGWORTH:
        13     Q. So there's "One Time Revenue," and beneath it              13     Q. Mr. Brockman, other than the ODE relationship,
        14 is "Recurring Revenue." Keep going down to RCI, under             14 the CBR relationship and the informal relationship you
        15 "Recurring Revenue." Not "One Time," but "Recurring."             15 spoke about earlier today, does Reynolds have any other
        16     A. Okay. I -- I found --                                      16 relationships with CDK?
        17     Q. Do you see the "14%"?                                      17           MS. GULLEY: Objection; form.
        18           MS. GULLEY: Objection; form.                            18     A. If you could repeat that list? It's OD
        19     A. Yes.                                                       19 relationship...
        20     Q. (By Ms. Wedgworth) And does that -- is this a              20     Q. (By Ms. Wedgworth) CBR.
        21 number that you would look at on a monthly basis?                 21     A. CBR.
        22     A. Not really. As I've stated before, I spend, on             22     Q. And the informal relationship you discussed
        23 this particular package that comes out once a month,              23 today.
        24 half-hour or less. Because this is not where the action           24           MS. GULLEY: Objection; form.
        25 is as far as I'm concerned. I'm much more interested in           25     A. That's all that I'm aware of.

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         1    Q. (By Ms. Wedgworth) Are you aware of any other                1 Reynolds were negotiating the wind-down agreement; is
         2 relationships before -- that existed with CDK that no              2 that right?
         3 longer exist?                                                      3           MS. GULLEY: Objection; form.
         4          MS. GULLEY: Objection; form.                              4     A. I believe that's correct.
         5    A. Not that I'm aware of                                        5     Q. (By Mr. Nemelka) And here, the second sentence
         6    Q. (By Ms. Wedgworth) I want to show you                        6 that you write is,"We need to conclude our deal -- or
         7 Plaintiffs Exhibit 676, which is the last financial                7 not -- as I have issues that can no longer wait to be
         8 statement well look at. And its "December YTD 2017."               8 dealt with." Are those issues the security enhancements
         9 And I just have a simple question: Is -- this -- did               9 that you've been holding off on?
        10 you receive this document in the ordinary course of your          10     A. That's correct.
        1 1 job after December 2017?                                         11     Q. And then you relate to him that some "bright,
        12          MS. GULLEY: Objection; form.                             12 mostly young Harvard MBA-types" have been wanting to
        13          (Exhibit 676 Brockman was marked for                     13 talk to you about CDK,right?
        14           identification.)                                        14     A. They really -- they start out, they want to be
        15    A. I -- I don't know what the legal definition is              15 taught about the industry.
        16 of"in the ordinary course of my job."                             16     Q. But then they turned and wanted to talk to you
        17    Q. (By Ms. Wedgworth) Well, as part of your job,               17 about CDK?
        18 did you -- it -- was this the document you would receive          18           MS. GULLEY: Objection; form.
        19 on a regular basis?                                               19     A. Yes. That -- That's what it says and that's --
        20    A. Yeah. Stated that way --                                    20 that's exactly what was happening.
        21          MS. GULLEY: Form.                                        21     Q. (By Mr. Nemelka) And what they wanted to know
        22    A. --yes, I agree.                                             22 is -- and as you write,"What they really want to know
        23          MS. WEDGWORTH: At this point, I'm going to               23 about is CDK -- how you operate -- and not very
        24 reserve my remaining time. And I think Mr. Nemelka has            24 subtly -- what could be done to improve things." That's
        25 a couple of questions.                                            25 what they wanted to talk to you about, right?

                                                                  Page 289                                                              Page 291
         1          MS. GULLEY: Could I just ask you a                        1          MS. GULLEY: Form.
         2 question? When you say you reserve you're remaining                2     A. These arc unsolicited calls. You know, the
         3 time, do you -- you mean reserve whatever remaining time           3 phone rang, as I pick it up and, you know, there's
         4 there is after Mr. Nemelka, right?                                 4 somebody that wants to talk to me. And this is what was
         5          MR. NEMELKA: Right.                                       5 happening.
         6          MS. WEDGWORTH: Yes.                                       6     Q. (By Mr. Nemelka) And you told them, as you
         7          MS. GULLEY: Just to clarify.                              7 write here, "I am exactly the right person that you want
         8                 EXAMINATION                                        8 to talk to -- but I am very busy -- and am not talking."
         9 BY MR. NEMELKA:                                                    9 Is that what you told them?
        10    Q. Good afternoon, Mr. Brockman. Mike Nemelka.                 10          MS. GULLEY: Form.
        11    A. Good morning. (Inaudible.)                                  11     A. That's correct.
        1/    Q. I just have a few questions for you about just              1/     Q. (By Mr. Nemelka) When you say you were exactly
        13 a few documents here at the end of the day. I'd hand              13 the right person that they wanted to talk to about CDK
        14 you Plaintiffs Exhibit 677, which is an email from you            14 and how they could improve things, what did you mean?
        15 to Mr. Schaefer, forwarding a correspondence that you             15          MS. GULLEY: Form.
        16 had with Mr. Anenen in February of 2013. I'll give you            16     A. No question, I -- I've not been in this
        17 a moment to read it.                                              17 business for the number of years I have and not learned
        18          (Exhibit 677 Brockman was marked for                     18 things about how to run this type of business. I don't
        19           identification.)                                        19 know about other business, but I know about this kind of
        20    A. Yes.                                                        20 business.
        21    Q. (By Mr. Nemelka) Thank you. So the bottom                   21     Q. (By Mr. Nemelka) And then you conclude in your
        22 email is an email from you to Mr. Steve Anenen dated              22 email to Mr. Anenen, "Just so you know when someone is
        23 February 5th [sic], 2015; correct?                                23 throwing darts at you -- it isn't me providing them the
        24    A. Yes.                                                        24 ammunition."
        25    Q. And this was around the time when CDK and                   25     A. Yes.

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         1     Q. So what did you mean by that?                                          MS. GULLEY: Form.
         2            MS. GULLEY: Form.                                      2     A. I don't know --
         3     A. Well, I think exactly that. I mean, you know,              3     Q. (By Mr. Nemelka) Strike that. I think that
         4 I think Steve Anenen was under a lot of pressure from,            4 was a bad question.
         5 you know -- you know, dissident stockholders who were             5     A. Would you like to s- -- have another question?
         6 mostly hedge fund-type kind of folks. And Steve is a              6     Q. Yes,I do have another question.
         7 very nice person. I personally like the guy. He always            7     A. Okay.
         8 has been polite, gentlemanly with me, and I've tried to                 Q. And you recognized that there were some
         9 be so with him. And I wouldn't be in a hurry to see him           9 benefits to Cox Automotive and its ac- -- acquisition of
        10 be ambushed. And so I couldn't help him other than say,          10 Dealertrack in -- in combining those assets; correct?
        1 1 "Look, it ain't me, but somebody is gunning at you."            11           MS. GULLEY: Objection; form.
        12     Q. (By Mr. Nemelka) Okay. You can put that                   12     A. I think as a-- as just a matter of normal
        1 3 aside.                                                          1 3 course, when there's a major transaction happen amongst
        14            (Exhibit 678 Brockman was marked for                  14 other companies that are in the same industry that we're
        15            identification.)                                      15 in, I kind of-- I read those articles. And certainly,
        16     Q. (By Mr. Nemelka)I've handed you a document --             16 you know, any good size acquisition, such as this one
        17 first of all, before I do -- yesterday we talked about           17 was -- at the heart of it -- it had to be some manner of
        18 how certain applications would need RCI and 3PA                  18 synergies. And that's what I said.
        19 interfaces forever from you and CDK. Do you recall when          19     Q. (By Mr. Nemelka) And what you write here is
        20 we talked about -- talked about that?                            20 that -- to Mr. Lamb -- "I think [that] there is no
        21            MS. GULLEY: Objection; form.                          21 question that they will achieve some more market power
        22     A. I think I -- I referred to the fact that, as              22 by combining VAuto and AAX. However to make these apps
        23 certain applications -- like, for instance, ReverseRisk,         23 really work right, they will require RCI interfaces
        24 which has a -- a substantial number of, you know, ADP or         24 forever from us and CDK." You wrote that, right?
        25 CDK DMS systems. In order to provide that particular             25           MS. GULLEY: Form.

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         1 product to them, it would require, on a long -- because                  A. Yes, that's correct.
         2 as long as they use that product, you know, in order for          2      Q. (By Mr. Nemelka) And when you say "RCI
         3 it to work, it has to have accounting data.                       3 interfaces," what you mean is RCI interface from
         4     Q. (By Mr. Nemelka) And there is some Cox                     4 Reynolds and a 3PA interface from CDK,right?
         5 Automotive applications that you believe would need RCI           5            MS. GULLEY: Form.
         6 and 3PA interfaces forever from Reynolds and CDK,right?           6      A. That's correct. And -- and this -- and there
         7            MS. GULLEY: Objection; form.                           7 is an opinion statement here when I say,"However to
         8     A. There -- there are -- again, using the                     8 make these apps really work right." That's my opinion.
         9 ReverseRisk example, a dealership that uses the                   9      Q. (By Mr. Nemelka) Right.
        10 Dealertrack accounting system in order to be able to,            10      A. That's not necessarily a decided fact. And --
        1 1 you know, have and utilize a ReverseRisk business               1 1 and the fact these products continue to work as they are
        1/ intelligence system would need to have some manner of --         12 today -- but they could also work a little better.
        13 of data access or accounting data.                               13      Q. And it's because they have -- but in your
        14     Q. (By Mr. Nemelka)I've handed you Plaintiff's               14 opinion, is that they would need interfaces with RCI and
        15 Exhibit 678. Which is an email from you to Ron Lamb,             15 3PA forever in order to work properly; correct?
        16 dated June 30, 2015, the subject being "Cox/DT Merger."          16            MS. GULLEY: Objection; form.
        17 And I will give you a moment to review it.                       17      A. That's my opinion. It would be very much like
        18     A. Yes.                                                      18 the ReverseRisk product that we have today, which
        19     Q. So this email chain between you and Mr. Lamb              19 is an -- an accounting business intelligence software.
        20 relates to Cox Automotive's acquisition of Dealertrack;          20 In order to work, it relies on a continuing source of,
        21 correct?                                                         21 you know, accounting data.
        22     A. That's correct.                                           22      Q. (By Mr. Nemelka) Does VAuto need -- need
        23     Q. And the combining of certain applications                 23 accounting data in order --
        24 already owned by Cox Automotive and those who are owned24                      MS. GULLEY: Form.
        25 by Dealertrack; correct?                                         25      A. No. It doesn't, but -- well, I say it doesn't

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         1 need it, but its nice.                                              1     Q. (By Mr. Nemelka) And ShowroomMagnet -- and
         2     Q. (By Mr. Nemelka) All right.                                  2 that's a Reynolds application; correct?
         3     A. It -- it would be -- you know, you can keep                  3           MS. GULLEY: Objection; form.
         4 track of what your accounting basis is from a tax                   4     A. And that's a Reynolds application. It is a --
         5 standpoint, from a -- a gap accounting standpoint. You              5 it's a very small one. It's the one that provides a
         6 can do that by hand in the VAuto system. But it'd be a              6 cash voucher, a motivation, to get prospective car
         7 little nicer if it automatically went over and sniffed              7 buyers to come in and take a -- a test drive.
         8 the accounting system and came back with a number and               8     Q. (By Mr. Nemelka) And he says for that one,
         9 put it in VAuto system.                                             9 Authenticom was currently pulling data from Reynolds
        10     Q. All right. You can set that aside.                          10 DMSs,right?
        11           I've handed you what I've marked as Exhibit              11           MS. GULLEY: Objection; form.
        12 679, which is an email from you to Bob -- to Bob                   12     Q. (By Mr. Nemelka) Do you see that? After -- at
        13 Schaefer, dated July 1, 2017, with the subject being               13 Showroom Management -- or ShowroomMagnet?
        14 "Data Access Direction." I'll give you a moment to                 14           MS. GULLEY: Form.
        15 review.                                                            15     Q. (By Mr. Nemelka) He writes, "Currently pulling
        16           (Exhibit 679 Brockman was marked for                     16 from Reynolds DMS." Do you see that?
        17            identification.)                                        17           MS. GULLEY: Objection; form.
        18     Q. (By Mr. Nemelka) Finished, Mr. Brockman?                    18     A. I see that.
        19     A. Yes.                                                        19     Q. (By Mr. Nemelka) So Reynolds was using
        20     Q. So Mr. Schaef- -- this -- July 1st, 2017, this              20 Authenticom to pull data from Reynolds dealers; correct?
        21 was after Authenticom had filed the lawsuit against                21           MS. GULLEY: Objection; form.
        22 Reynolds and CDK; correct?                                         22     A. I think what's happening there is -- and that's
        23     A. Yes, that's correct.                                        23 this was a -- a result of an acquisition of a --
        24     Q. This is after, also, the preliminary injunction             24 evidently, fairly recent acquisition. And it, you
        25 hearing involving that lawsuit; correct?                           25 know -- it had, prior to us acquiring this little

                                                                   Page 297                                                              Page 299
         1     A. Yes, that's correct.                                         1 product, this little company, that they had been -- they
         2     Q. And Mr. Schaefer is writing you to say that                  2 were doing business, obviously, independently with us.
         3 Reynolds should terminate any of its relationships with             3 And so therefore, they -- since they weren't RCI
         4 Authenticom services; correct?                                      4 certified, they were going to a third party to -- to
         5     A. That -- that's what he's recommending.                       5 acquire data for them. Which -- this is something I'm
         6     Q. And what he says here in the first sentence is               6 not ever happy to see happening. But whenever you have
         7 that Reynolds is still using Authenticom for MMS. And               7 an acquisition, things are not operated in the most
         8 that's a Reynolds application; correct?                             8 efficient manner, and there are stupid things going on.
         9           MS. GULLEY: Objection; form.                              9 And that would be classified as a stupid thing going on.
        10     A. It is a Reynolds application. It's sold to a                10     Q. (By Mr. Nemelka) And you -- and in -- in
        1 1 fairly small number of-- of dealers that use CDK                  1 1 response to Mr. Schaefer's recommendation to terminate
        1/ systems.                                                           1/ all relationships with Authenticom after they had
        13     Q. (By Mr. Nemelka) All right. And IDS                         13 initiated this litigation, you wrote, "I agree -- do
        14 ReminderTrax, that's a Reynolds application; correct?              14 what needs to be done." That's what you wrote; correct?
        15           MS. GULLEY: Objection; form.                             15           MS. GULLEY: Objection; form.
        16     A. That's --that's a service reminder card. It's               16     A. Yes. And I might add on that, I obviously
        17 an application that we sell to service departments. And            17 wasn't happy about the fact that we've been -- we were
        18 in some cases, those service departments are --use CDK             18 sued, in my opinion, without good reason. But it --
        19 software.                                                          19 it's also important, I think, to do business with
        20     Q. (By Mr. Nemelka) RepMan, that's also a                      20 people, or with entities, that have substance. I don't
        21 Reynolds application; correct?                                     21 think Authenticom has much in the way of substance. And
        22           MS. GULLEY: Objection; form.                             22 I prefer to do business with some folks, particularly
        23     A. RepMan is really a General Motors application.              23 when it comes to data. If there's a lawsuit that goes
        24 It's not -- not really ours. It's reputation                       24 on and there's a big judgement, I'm not the only one
        25 management.                                                        25 standing there.

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         1           MR. NEMELKA: I have no further questions.               1     A. In general terms, they seem to be clustered
         2 I'll reserve the remainder of our time.                           2 around RCI.
         3           MS. GULLEY: Thanks. I have some questions               3     Q. Okay. And one of the things that you have
         4 before I get started. By my count, you have six                   4 testified about in the last couple of days is that
         5 minutes.                                                          5 Reynolds does not have cost accounting; correct?
         6           All right. Thank you, Mr. Brockman.                     6           MS. WEDGWORTH: Objection.
         7           Peggy, can you tell me where the exhibits               7     A. That's correct.
         8 are from yesterday? Are they sort of that sea of                  8     Q. (By Ms. Gulley) And Ms. Wedgworth was asking
         9 information?                                                      9 you questions about some of the costs of RCI. There are
        10           MS. WEDGWORTH: I think in this area.                   10 costs associated with RCI; correct?
        11          (Brief discussion.)                                     11           MS. WEDGWORTH: Objection.
        12                 EXAMINATION                                      12     A. Absolutely.
        13 BY MS. GULLEY:                                                   13     Q. (By Ms. Gulley) What -- what about Reynolds'
        14     Q. Let's stick with the document Mr. Nemelka was             14 efforts to secure its enterprise system? What are the
        15 asking you about. That would be Plaintiffs Exhibit               15 costs associated with Reynolds efforts to secure its
        16 679. All right. Do you have Plaintiffs Exhibit 679 in            16 enterprise system, in general terms?
        17 front of you, sir?                                               17           MS. WEDGWORTH: Objection.
        18     A. Yes.                                                      18           MR.NEMELKA: Objection.
        19     Q. One of Mr. Schaefer's statements to you related           19     A. Well, probably the first category has to do
        20 to having relationships directly with the DMS                    20 with it takes a whole bunch of executive attention, mine
        21 provider-- do you see it in parentheses? He's list DMS           21 included, to focus on the issue of data security. And
        22 providers CDK, Dealertrack, Automate and Autosoft?               22 deciding, you know, what needs to be done, how -- how to
        23     A. Uh-huh. (Witness answers affirmatively.)                  23 get it done, how to react in the marketplace to data
        24 That's correct.                                                  24 security issues, certainly requires us to spend some
        25     Q. And you -- you agreed that he should do what              25 more money on advertising, you know, to -- to counteract

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         1 needs -- you agreed that he should do what needs to be            1 some of the effects of what we've been -- what's been
         2 done in terms of entering into relationships with those           2 necessary to do from a data security standpoint.
         3 DMS providers; correct?                                           3           You know,that's kind of, you know, the top
         4           MS. WEDGWORTH: Objection.                               4 level. And -- and to go down and enumerate a list of
         5           MR. NEMELKA: Objection.                                 5 things, it would take -- take a little while. But
         6     A. That's correct.                                            6 that's one of the categories that we didn't talk very
         7     Q. (By Ms. Gulley) And you did, in fact, ent                  7 much about in -- in the previous, you know, questions
         8 you did, in fact, direct others to enter into                     8 this afternoon.
         9 relationships with the other DMS providers; correct?              9     Q. (By Ms. Gulley) Have you made a conscious
        10           MS. WEDGWORTH: Objection.                              10 choice to invest in system security since the merger by
        11     A. That's correct.                                           1 1 acquisition with the Reynolds and Reynolds company?
        11     Q. (By Ms. Gulley) Now,did the other -- did                  1/           MS. WEDGWORTH: Objection.
        13 Dealertrack sue Reynolds? Did -- has anybody sued                13     A. Yes. I come, originally, from IBM. And the
        14 Reynolds over their relationship with Dealertrack?               14 IBM philosophy was very, very much oriented towards
        15           MS. WEDGWORTH: Objection.                              15 security. And in all the software design and
        16           MR. NEMELKA: Objection.                                16 development, you know, that I was a part of in the UCS
        17     A. Not that I'm aware of.                                    17 company, data security was extremely important. And I'm
        18     Q. (By Ms. Gulley) Do you know who Dealertrack's             18 very, very pleased to state that, so far as I know --
        19 lawyer is?                                                       19 because we never know what we don't know -- that system
        20           MR. NEMELKA: Objection.                                20 is totally tight and enjoys that reputation in the
        21     A. No. Am I supposed to?                                     21 marketplace, that it's, from a security standpoint, way
        22     Q. (By Ms. Gulley) Not necessarily. All right.               22 ahead of everybody else.
        23 You were asked some questions about the financial                23           When I got to Reynolds, it's kind of like I
        24 information that you received. Do you recall those               24 had been spending my life, you know, mopping and
        25 questions, in general terms?                                     25 polishing the floor. And I inherited this house, and it

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         1 has two inches of water on the floor. And we don't need         1 Monday afternoon. And we started receiving complaints
         2 to think about mops and brushes, we need pumps, because         2 from some customers saying,"What have you done?" and
         3 that was the situation from a data security standpoint.         3 "Why is our system running so slowly?" and "We're" --
         4 It was just terrible.                                           4 "We've checked around and we're not running any specific
         5          And it's been my goal, you know, since that            5 batch jobs," you know,"What is" -- "What on earth is
         6 day that -- to get it into the right kind of shape. And         6 going on?"
         7 it's -- it's vastly improved. Still not there, you              7         And, you know, we started, you know,
         8 know, there's still more work to do. And that's caused          8 accessing some of those systems, and we discovered there
         9 by the fact that there are people on the outside, and           9 was something going on, that there was a piece of
        10 more of them every day, you know, that want to invade          10 software in -- in the Reynolds server. It wasn't -- it
        1 1 your systems. Starting from PCs up.                           11   was running, actually, in -- in the -- in the -- in
        12     Q. (By Ms. Gulley) Did you keep that goal a                12   the -- the outside part of the server. But what it was
        1 3 secret in 2006 when TICS acquired the Reynolds and            13   doing, it was -- it was adding records at a high rate to
        14 Reynolds company?                                              14   the Reynolds server in the customer's location. And we
        15            MS. WEDGWORTH: Objection.                           15 discovered what was happening was -- and that's that
        16            MR.NEMELKA: Objection.                              16 Xtime was -- "abusing" would be the right word -- they
        17       A. Absolutely not. It's been -- it's known, you          17 were just trampling their -- their permission to have
        18 know, that that was going to be one of the goals.              18 access to add, change and delete records. And they were
        19   Q. (By Ms. Gulley) Reporters ever ask you about              19 adding, you know, dummy, bo- -- bogus customer records
        20 it?                                                            20 at a high rate. And they added some 700,000. You know,
        21            MS. WEDGWORTH: Objection.                           21 just trashed customer records.
        22       A. Yes.                                                  22          And that was what was slowing down the
        23       Q. (By Ms. Gulley) What did you tell them?               23 servers who had called and complained. Fortunately, we
        24            MS. WEDGWORTH: Objection.                           24 were able to get it shut off before it went any further.
        25       A. I told them we were going to improve security.        25           Then came the cleanup problem, or the

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         1    Q. (By Ms. Gulley) Since that time, late Oct- --             1 cleanup issue. We found that --that some of the --
         2 late 2006, when the acquisition occurred, how much would        2 that there were some pieces of-- ofjunk in -- in
         3 you estimate you have invested in data security at the          3 the -- these customer records that was consistent across
         4 Reynolds and Reynolds company?                                  4 all ofthem. And, you know, we found that it took us
         5         MS. WEDGWORTH: Objection.                               5 several days to figure this out, that we could write
         6    A. Probably, counting everything, which would                6 software and we could go read the entire customer file
         7 include, you know, my time, other executives' time, you         7 on those servers and find bad records and throw them
         8 know, load on the technical support center answering            8 out.
         9 questions and issues, sales -- salemen's time dealing           9        The problem was -- and that's that, in the
        10 with customers over the issue of data security,                10 meantime, the customers continued to operate. And as
        1 1 additional advertising, you know,that we felt compelled       1 1 the customers continued to operate, they would actually
        1/ to -- to do simply from a --to keep our image up in the        1/ transact business on some ofthese, you know, bogus, you
        13 public, you know, marketplace, I wouldn't be surprised         13 know, customer records. And so we were faced with the
        14 if the total number, if we ever sat down to figure it          14 issue of it wasn't just a matter of-- of going back
        15 out, would be half a million dollars.                          15 and -- and deleting customer records that we could
        16    Q. (By Ms. Gulley) In response to some of the               16 identify, we also had to identify whether or not they
        17 questions you had begun explaining about the cost of           17 had had any business transacted on them. Because if we
        18 some issues related to Xtime, and you were unable to           18 did, then we would lose that -- lose that data
        19 finish your answer and were told that you'd be able to         19 completely.
        20 finish it later -- so here is your chance -- what were         20           So we ended up having a situation where
        21 you -- what were you talking about with respect to             21 once we got done doing everything we could from the
        22 Xtime?                                                         22 programming standpoint, the customers had to go back and
        23            MS. WEDGWORTH: Objection.                           23 find the duplicates. Because there would be a
        24            MR.NEMELKA: Objection.                              24 duplicate, you know, customer record that was bad, but
        25       A. Well, the issue started on -- came up on a            25 yet it was still good, because it had some -- some --

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         1 tracking some business transactions involved.                   1          MS. WEDGWORTH: Objection.
         2         And then in the last act, the customers                 2          MR.NEMELKA: Objection.
         3 were actually responsible for cleaning all of that up by        3    A. I don't know, because we had to go back in to
         4 hand. Now, what that's like -- it's like, you know,             4 every application program that we allowed read/write
         5   somebody that lives next door who's about half crazy and      5   access to and build it in. And then we also had to
         6   likes to shoot, and all they did is kill your dog, but        6   build the -- the database for these log transactions.
         7   they didn't hit you. I mean, so you could be happy            7   And then, of course, the --the interesting part of
         8   about that. Well, but as somebody that's, you know, in        8   these log transactions -- how long do you have to keep
         9 charge of-- I'm kind of the executive in charge ofloss          9 them?
        10 prevention -- I'm saying, "Well, good God, what could          10    Q. (By Ms. Gulley) So it's an ongoing expense?
        1 1 have happened?"                                               11          MS. WEDGWORTH: Objection.
        12         Because that same kind of logic could have             12    A. It's an ongoing expense, and we don't know how
        13 occurred where they deleted all of our stuff instead of        13 long we have to keep them because, in some cases that --
        14 adding. They could have just as well been deleting,            14 they could have a bust where, you know, the -- the loss
        15 because they had write-back access, and if they had sat        15 was minor. But yet you could have a situation, you
        16 and deleted, you know,they could have destroyed God            16 know, where they decided -- or not decided, but where
        17 knows how much, you know,information. Why did they             17 they -- through lack of programming skill, they could --
        18 only get at 400 or so dealerships? I don't know. You           18 they could walk on email addresses.
        19 know --you know, the grace of God. You know, it could          19           Well, you know, you might not notice that
        20 have been thousands.                                           20 for a couple of months. And then you'd have to go and
        21         And so that's the reason why --that I sat              21 try and fix it, which means that --we keep a lot --lot
        22   and thought,"How the hell can we put -- you know, we         22   of file stuff, I think, for retention, seven years. I
        23   can't prevent this, because we can't stop them. But how      23   hope to God we never have to go that far back to fix
        24   can we fix it?" What we did was -- is we went into the       24   anything, but somebody had to make a decision as to how
        25   software that we allowed them, you know,                     25   long we were going to keep it, so I said seven years.

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         1 delete/add/change access to, and we created journalling.               Q. (By Ms. Gulley) In terms of what you've had to
         2 And what "journalling" means is -- is we take -- let's          2 spend already in building the log-in functionality and
         3 say you've got a change, you know, function going to            3 the service base so far, are we talking thousands,
         4 happen. What we do is we take a snapshot of the record          4 millions?
         5   before they change it, log it off, and then we take a         5         MS. WEDGWORTH: Objection.
         6   snapshot of it after -- after -- after change and log it      6         MR. NEMELKA: Objection.
         7   off. And that means that we can go back and we can tell       7    A. I would say not -- not as much as a million,
         8   what happened. And in many cases, probably be able to         8 but probably -- probably made a pretty good hole in
         9   restore.                                                      9 700,000 or 800,000.
        10              Unfortunately, we run into the situation          10    Q. (By Ms. Gulley) Earlier, I had asked you --
        11   where what happens in the time interval from when the        11     A. And then there's the ongoing cost. I mean,
        1/   incident occurs versus when we discovered they want to       12 there's -- you know, the stuff that you vaulted, you've
        13   fix it -- which is business transactions happen on           13 got to keep it. You've got to sell on it, you've got --
        14 records in between.                                            14 you've got to spin it.
        15          Now,the --the logging --you know, we can              15    Q. Earlier, I had asked you what you -- you
        16 tell you which ones they stepped on, but we can't fix          16 estimated the investment in system security, and
        17 it. We can't do an automatic fix, because there's been         17 the rec- -- the -- and we just saw the transcript looked
        18 business transactions that happened that, you know, we         18 like you had said half a million. I wanted to make sure
        19 don't know about.                                              19 I got that right.
        20           So that's all part and parcel of-- of the            20      A. No. It's half a billion.
        21 Xtime story. It was a -- a rude awakening to us that --        21           MS. WEDGWORTH: Objection.
        22 that third-party programmers could be so -- so lax and         22      Q. (By Ms. Gulley) Say it again.
        23 so stupid as to let something like that happen.                23           MS. WEDGWORTH: Objection.
        24    Q. (By Ms. Gulley) How much did it cost you to              24    A. Our total investment for data security forever
        25 build out this new protection?                                 25 and a day probably is in the order of half a billion.

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         1    Q. (By Ms. Gulley) How do you feel about data              1 license to do that, your license covers only your
         2 brokers?                                                      2 employees and direct agents.
         3          MS. WEDGWORTH: Objection.                            3    Q. (By Ms. Gulley) How long have you had those
         4          MR,NEMELKA: Objection.                               4 restrictions against the use ofthird-party data
         5     A. The same way I feel about the unprintable --           5 brokers?
         6 but, you know, certainly, in polite company --                6           MS. WEDGWORTH: Objection.
         7     Q. (By Ms. Gulley) "The elevator speech"?                 7     A. I think in the case of UCS software, its been
         8          MS. WEDGWORTH: Objection.                            8 at least 25 or 30 years. As far as Reynolds is
         9     A. You know, the problem with data brokers is --          9 concerned, when I got there 12 years ago, they were
        10 is --you know, it starts off from a legal standpoint.        10 already there, and had been around for a while. But I
        1 1 You know, according to Gramm-Leach-Bliley, you know,        1 1 don't know how long.
        12 dealerships are considered financial institutions. And       12     Q. (By Ms. Gulley) If-- during this deposition,
        1 3 as such, they have certain responsibilities.                13 we've heard you, on numerous occasion, call data
        14           There's also another act that -- that              14 brokers, like, Authenticom "hackers and bandits"; is
        15 applies directly. And what it says in -- in short order      15 that correct?
        16 is -- and that's that a dealership is considered a           16            MS. WEDGWORTH: Objection.
        17 financial institution. And they're responsible for the       17            MR.NEMELKA: Objection.
        18 security of the data that they accumulate in their           18   A. That's correct.
        19 process of arranging financing. If they are to use a         19   Q. (By Ms. Gulley) Why do you feel -- what --
        20 third-party service provider, they must have a contract      20 what are the risks to Reynolds system such that you
        21 with that service provider, you know, that specifies     21 would give them those names, "hackers and bandits"?
        22 who's responsible for what, who indemnifies who and what 22         MS. WEDGWORTH: Objection.
        23 the liabilities are and so forth.                        23         MR.NEMELKA: Objection.
        24           A data broker, in the -- in the simplest       24   A. Well, first of all, what they're doing is --
        25 sense, what they're doing is they're extracting data out     25 and that's that they have used -- and Steve Cottrell has

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         1 of a dealership system. It's got to be a contract             1 admitted in open court how often that he had worked, you
         2 there. And then, you know, whoever that they send the         2 know, gaining entrance, you know, getting passed the
         3 data to, there's got to be another contract there. So         3 security barriers, to access Reynolds software. And I
         4 there -- there's this, you know, myriad of-- of               4 think that qualifies him for the name "hacker."
         5 contracts that are required in order to be legal.             5           You know, what the big worry is -- and
         6          Data brokers is -- you know, they're --              6 that's that to the extent that a third-party hacker is
         7 they're little, small companies for the most part,            7 involved, there's a security breach and that there's
         8 and they don't have the resources to do that. They, in        8 going to be all hell to pay. And, you know, we've been
         9 many cases, are kind of oblivious to -- to the fact           9 through this. You know -- this is -- was my first --
        10 that, you know, they are required to do all of these --      10 matter of fact, that's howl met Michael. It was a
        11 these things according to the law.                           1 1 Chevrolet dealership by the name of Franklin, and I
        12          And so therefore, in my opinion, they're            12 don't know where they were in the company -- in the
        13 absolute outliers. Secondly, there's called a -- it's        13 country, but the general manager of that dealership had
        14 called a Computer Fraud and Abuse Act. Computer Fraud        14 access to a master password. And he could run any kind
        15 and Abuse Act is very, very clear that if you enter into     15 of reports or any kind of listings that -- that he
        16 a computer system, and the software on a computer            16 wanted. Which, that's not unusual for, you know -- he
        17 system, if you're not you authorized to do so, you're in     17 was the onsite person in charge. He was the general
        18 violation of that law.                                       18 manager.
        19          Well, people don't pay a lot of attention           19        Well, he used that -- that password
        20 to the fact that -- that Reynolds owns the software          20 authority to download the entire customer files of that
        21 that's on every dealership system. If they license that      21 customer -- of that dealership onto his laptop. And
        22 software to the dealer and the license is not an             22 when he left -- and I don't know under what
        23 unlimited license, it's very much a limited license that     23 circumstances he left, but it kind of sounds like maybe
        24 says that you cannot, you know, allow a third party to       24 not nice circumstances -- he saw fit to post the
        25 access or to use that software because you have no           25 customer database in its entirety on the Internet.

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         1         And there were, you know, people whose                   1           (Brief discussion.)
         2 names and information was posted that were not happy,            2           (Exhibit 274 was marked for
         3 and they called the FDC. And the FDC came down on that           3            identification.)
         4 dealer and said, you know -- I don't know whether they           4      Q. (By Ms. Gulley) I'm marking and handing to you
         5 had their guns drawn or not, but I mean,they -- they             5   Defendant's Exhibit 274. Less you think the plaintiffs
         6 were -- it was -- it was very shocking -- and asked the          6   and defendants' numbers are widely disparate, the
         7 dealer what on earth he had done. The dealer was, like,          7   plaintiffs skipped numbers. Ours -- we did not.
         8 completely unknowledgeable of what all happened. And as          8   Here's Defendant's 274.
         9 they talked to him some more, he said, "Look, I                  9           (Brief discussion.)
        10 understand what you're talking about. You need to talk          10     Q. (By Ms. Gulley) Take a minute to review
        1 1 to Reynolds. They're our computer guys, they'll know           1 1 Defendant's 274.
        12 everything."                                                    12      A. I'm -- I'm familiar with this.
        13          So the next thing we know, we have FTC on              13      Q. Who's Robert T. Brockman, II?
        14 our door, and we don't know much about dealing with the         14      A. He's my son.
        15 FTC. Matter of fact, never been around them at all.             15    Q. We were discussing a moment ago the Franklin
        16 And -- but fortunately -- fortunately, we got a good            16 incident. What is --what is this about, the --
        17 piece of advice from one of-- one of our outside                17 Defendant's Exhibit 274?
        18 attorneys --                                                    18         MS. WEDGWORTH: Objection.
        19          MS. GULLEY: Okay. So you can't talk about              19    A. This one here is -- is -- I believe is
        20 privileged information. I'm sorry, sir.                         20 DealerBuilt. DealerBuilt, if I can recall what happened
        21          THE WITNESS: Oh, okay.                                 21 on that one, they had a lot of very sizeable customers.
        22     Q. (By Ms. Gulley) But -- but you're talking                22   And they were sending backups of the local server in the
        23 about the FTC. You're not talking about antitrust,              23   dealership back to a central point. And when they
        24 you're talking about the privacy people; is that right?         24   transmitted the data, it wasn't encrypted. And it
        25     A. I'm talking about the privacy people. Can I              25   caused the exposure of-- I want to say, like, 400,000

                                                                Page 317                                                        Page 319
         1 talk about that?                                                 1 or so, that they know of, you know, individual customer
         2      Q. No.                                                      2 records were exposed.
         3      A. No?                                                      3          And that meant that -- in any kind of data
         4      Q. You cannot reveal privileged information.                4 exposure, you know, the first -- the first cost is $2
         5           MS. WEDGWORTH: Objection.                              5   apiece it costs you per name to send a registered letter
         6      Q. (By Ms. Gulley) But --                                   6   to the person whose data was exposed and to tell them
         7      A. I can say, you know, what -- what the effect             7   that their data has been exposed and they should be
         8 was on us.                                                       8   cautious about, you know, what's happening. Because
         9      Q. What was the effect on you ofthe FTC's                   9   their -- you know, their personal information may have
        10 investigation into --                                           10   gotten into the wrong hands of some bad people.
        11    A. Well, we obviously --                                     11             And then, after that, you start dealing
        12    Q. -- Franklin?                                              12   with the FTC, which I -- I don't have any knowledge to
        13          MS. WEDGWORTH: Objection.                              13   what that cost in this particular situation, but I bet
        14          MR.NEMELKA: Objection.                                 14 it was a bunch. And I think this was one ofthe first
        15     A. We obviously started spending a bunch of money,          15 wake-up calls of a really large data breach in the
        16 a whole pile, simply to convince the FTC that we did            16 automotive business that we know about.
        17 nothing wrong. The computer system was not in any way           17          Because we always have to remember -- it's
        18 at fault or involved.                                           18 kind of like in -- in the banks where they have worries
        19           But it doesn't take much of a leap in my              19 about bad people stealing money from the banks
        20   mind to think about, "Well, what if the computer system       20   internally. You never hear about those. Now, maybe
        21   was involved? What -- what if something happened that         21   that's because none of them ever happen. I don't think
        22   caused a breach? We better be prepared for all hell to        22   that's the case. I think they're concerned about the
        23   break loose and then it would be really expensive." And       23   publicity. I think they're concerned about bad guys
        24 so the idea of having any kind of data broker involved          24 getting ideas. And, you know, that's certainly what
        25 in any of that kind of process to me is not smart --            25 could be happening here.

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         1     Q. (By Ms. Gulley) Would you read what you sent                       A. Yes.
         2 to your son, for the record?                                        2     Q. All right. This is a series of emails and a
         3     A. Yeah. Ifs short. Three words. "It finally                    3 report relating to the Randall Reed dealership. Do you
         4 happened. Love, Dad."                                               4 recall this exchange?
         5     Q. What did you mean when you said that?                        5           MS. WEDGWORTH: Objection.
         6            MS. WEDGWORTH: Objection.                                6     A. Yes, I do.
         7     A. Well, he and I have had conversations about                  7     Q. (By Ms. Gulley) In the very top email, sent
         8 this a lot. You know, my son has a degree in computer               8 September 17, 2013, from you, you say, "Chris, the
         9 science from Rice University, along with a master's in              9 attached report shows the scheduled unattached
        10 electrical engineering and an MBA. And he's -- he's                10 automatically run reports being run on Randolph Reed's
        1 1 interested in these kind of things, so we talk about              1 1 345 server." Do you see that?
        12 them. He's 44 years old. I don't know if he's quite                12           MR. NEMELKA: Objection.
        1 3 grown yet, but he's getting there.                                13     A. Yes, I do.
        14     Q. (By Ms. Gulley) What do you mean by "finally"?              14     Q. (By Ms. Gulley) And then what did you say?
        15     A. Well, I -- I've been predicting it for a long               15           MS. WEDGWORTH: Objection.
        16 time, and so it -- it was -- while it was an unhappy               16     A. It says, "It's a wonder that this box runs at
        17 situation, at least it serves the fact that I've not               17 all, much less running docuPAD with acceptable response
        18 been worrying in vain. We have -- we have -- in terms              18 times."
        19 of numbers of dealerships, you know, numbers of customer 19               Q. (By Ms. Gulley) What does that mean?
        20 records and whatever, we obviously has vastly more than            20           MS. WEDGWORTH: Objection.
        21 DealerBuilt did.                                                   21     A. Well, what's happened here in this -- the
        22     Q. Have you been criticized for that?                          22 customer, this Randall Reed company has called up, you
        23     A. I've been criticized a lot for -- for data                  23 know, very, very, very unhappy that their 345 server --
        24 security, which is incredible. But I think what really             24 and this is an older server. This is a server that
        25 happens in -- in the dealership world is -- and that's             25 probably -- the last one was manufactured 15 years ago.

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         1 that it's not the dealer. It is the -- it is the                    1 It's that old. And it is overrun with batch jobs such
         2 department head who, short term, you know, wants to get             2 that docuPAD response time is not as good as it ought to
         3 his -- what he wants to get done, what he wants to get              3 be. Of course, when you run this report --
         4 done. He doesn't care about security. He may not even               4     Q. (By Ms. Gulley) And just for the record,
         5 be around that dealership next year. He has a very                  5 you're looking at the attachment?
         6 short-term outlook.                                                 6           MR.NEMELK A: Objection.
         7            He is completely -- from a liability                     7     A. These are a list of-- of-- of what we call
         8 standpoint, its not going to be his personal liability.             8 "scheduled batch jobs." And it -- it shows the user ID
         9 He's worried about getting done whatever he can get done            9 that set it up in the first place, and then a
        10 so his bonuses at the end of the month is -- is good               10 description of what it is, and then how many stores it's
        1 1 at -- as good as it could be. He's a very short-term              1 1 located -- not how many -- which store numbers --which
        1/ thinker. And those are the people that make the most               1/ store number -- this first one is in Store No. 9.
        13 noise, you know, when -- when security enhancements take 13                     And then it shows whether it's a report
        14 place.                                                             14 generator or query builder or a download. And then how
        15            Inevitably, when you -- when you get to the             15 many hours a day did that -- did it run? It runs every
        16 dealer and explain to him the liabilities that are                 16 1 and 1/2 minutes, 13 and 1/2 hours a day.
        17 floating around and -- and what -- what -- what's going            17           So what's happened is --and that's --and
        18 on, what we're trying to prevent, you know, the dealer             18 this reports an available report on -- on every system.
        19 says,"Okay, we understand."                                        19 The customer has completely dumb-assed themselves.
        20     Q. I'm going to hand you Defendant's 275. Take a               20 And -- and what they've done is they've completely
        21 moment to look at that.                                            21 ignored the fact that all computers have finite
        22            (Exhibit 275 was marked for                             22 resources, and you cannot load on them, you know,
        23            identification.)                                        23 immense amounts of work. And this is probably the worst
        24     Q. (By Ms. Gulley) Have you had a chance to look               24 example I've ever seen about this.
        25 at that?                                                           25           And it's -- typically, a lot of these --

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         1 these automatically scheduled reports, that is a sure                1           THE VIDEOGRAPHER: This is the beginning of
         2 sign of a hacker. Because what they're doing is -- and               2 Media 4. We're back on the record at 3:31 p.m.
         3 that's they want the report run at a specific time where             3            EXAMINATION (Continuing)
         4 they can go back and get it and -- and pull it off to,               4 BY MS. GULLEY:
         5 you know, their computer in the sky.                                 5     Q. When we were talking about Xtime earlier, I
         6            So I found this one interesting. I mean,                  6 don't think I circled around to this question. The
         7 it, you know -- this one's so bad, you got to laugh.                 7 Xtime situation that you described, how does that relate
         8 Just -- it's -- it's, you know,just beyond the pale. I               8 to the transaction fee issue that Ms. Wedgworth was
         9 mean, this one here, when we have a -- a place on the                9 asking you about?
        10 wall of our computer history where we have an example of 10                A. The --the process of-- of somebody-- some
        1 1 the worst use ever of remotely unattended batch jobs,              11 entity like Xtime doing add/change/delete write-back
        12 this is it right here.                                              12 information, what that does is that generates a bunch of
        13     Q. (By Ms. Gulley) Look at the -- the -- you see                13 extra work we've got to do. Plus, we've got to save the
        14 that the rows are numbered -- Row 9? Maybe yours aren't             14 before-and-after images. And we did it on a
        15 numbered. So going down nine spots -- guys, I've just               15 per-transaction basis simply because we believed that it
        16 put an arrow -- so one, two, three, four, five -- and               16 would always be a number of RCI customers that don't
        17 for the record, I've put an arrow at "Superior." That's             17 need that, because they're not doing add/change/delete
        18 where I want you to look.                                           18 write-back.
        19     A. Okay.                                                        19           And therefore, it would be unfair just to
        20     Q. Who is that? What is that? What do you think                 20 have a cover-blanket increase to cover the cost of doing
        21 that is?                                                            21 that. We put it on -- on the third parties that are
        22     A. I think that's Phil Bautista.                                22 actually using that -- that facility.
        23     Q. So is Superior Solutions a hostile data broker?              23     Q. Do you know what the impact of that transaction
        24            MS. WEDGWORTH: Objection.                                24 fee has been on the number of write-back transactions?
        25            MR. NEMELKA: Objection.                                  25           MS. WEDGWORTH: Objection.

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         1     A. They are. Of the worst kind.                                  1     A. I -- I'm sure that it has been reduced, because
         2     Q. (By Ms. Gulley) Are they -- are they in the                   2 I think before that, there were -- there was no -- no
         3 same space as Authenticom?                                           3 charge for write-back transactions. And so once there
         4            MR. NEMELKA: Objection.                                   4 became a charge, they came back and changed how they --
         5     A. Yes.                                                          5 how they did things. Some cases, you know,for
         6     Q. (By Ms. Gulley) All right. And so how                         6 instance, they would want to update a repair order or
         7 frequently was SIS accessing this Reynolds system at                 7 update a service reservation, you know, frequently. You
         8 this time?                                                           8 didn't really need to do that.
         9            MS. WEDGWORTH: Objection.                                 9     Q. (By Ms. Gulley) So what's the impact on the
        10     A. Every two and a half minutes. And accumulating               10 system load now?
        1 1 four and a half hours a day worth of compute time.                 11           MS. WEDGWORTH: Objection.
        12     Q. (By Ms. Gulley) What impact can that have on                 12           MR.NEMELKA: Objection.
        13 Reynolds technology?                                                13     A. It -- it improved the situation from the system
        14            MS. WEDGWORTH: Objection.                                14 load but, you know,the -- there's still the logging.
        15            MR. NEMELKA: Objection.                                  15 You know, it is a fair amount of overhead.
        16     A. It-- it overloads it. Even a really good                     16     Q. (By Ms. Gulley) Another topic you talked about
        17 server, you know, shouldn't have anything like that                 17 over the last couple of days is the automated access to
        18 running. And you're pretty good. I didn't catch that.               18 the Reynolds system. Does Reynolds allow its customers
        19            MS. GULLEY: Let's go off the record and                  19 to provide automated access to third parties?
        20 take a break. We've been going a while without a good               20           MS. WEDGWORTH: Objection.
        21 break. I'm going to still be on when I --when we come               21     Q. (By Ms. Gulley) Themselves?
        22 back.                                                               22           MS. WEDGWORTH: Objection.
        23            THE VIDEOGRAPHER: This is the end of Media 23                   A. No. They're --they're not allowed to do that
        24 3. The time is 3:16 p.m. We're off the record.                      24 and the security changes won't --won't let that happen.
        25            (Short recess 3:16 to 3:31 p.m.)                         25     Q. (By Ms. Gulley) But what if an automated third

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         1   party says,"Oh, no, we're the agent ofthe dealer."              1    Q. (By Ms. Gulley) Ms. Wedgworth had said-- or,
         2   Does Reynolds allow that?                                       2 no, I'm sorry, it was Mr. Nemelka had called it a
         3             MS. WEDGWORTH: Objection.                             3 "five-year agreement." The agreement was 2015,five
         4      A. No.                                                       4 years is 2020. Was it a five-year agreement?
         5      Q. (By Ms. Gulley) You also mentioned, several               5          MR. NEMELKA: Objection.
         6   times, Reynolds reporting functionality. Can dealers            6          MS. WEDGWORTH: Objection.
         7   give their operational data out to third parties?               7    A. No. It was an agreement until the -- the
         8             MS. WEDGWORTH: Objection.                             8 stand-down process had been -- had been completed, which
         9      A. Yes.                                                      9 it was completed, satisfactorily.
        10      Q. (By Ms. Gulley) And so on the one hand, we               10    Q. (By Ms. Gulley) Ms. Wedgworth asked you about
        11   talked about system access, no automated access, but           1 1 exempted user IDs in various contexts. Are exempted IDs
        12   they can provide their data. How can they do that?             12 exempted from all Reynolds security policies?
        13             MS. WEDGWORTH: Objection.                            13          MS. WEDGWORTH: Objection
        14      A. We have a -- a data reporting facility. And              14    A. No. Only for specific security policy issues.
        15   what they can do is -- and that's they can -- say, for         15    Q. (By Ms. Gulley) Who's knowledgeable on that --
        16   instance, run a print job that's not ever printed.             16 those issues?
        17   Instead, it's sent to disk and then they -- they               17          MS. WEDGWORTH: Objection.
        18   transmit that data in that dataset outside in -- as far        18    A. Maybe Kelly Hall.
        19   as we're concerned, you know, once they do it                  19    Q. (By Ms. Gulley) All right. We've also talked
        20   themselves, we're out of the track.                            20 about DMS competition. Do dealers change DMS providers?
        21      Q. (By Ms. Gulley) So if Authenticom was the                21    A. Yes, they do.
        22   recipient of that data from the dealer, is that                22    Q. Do dealers switch away from Reynolds?
        23   permitted?                                                     23    A. Yes, they do.
        24             MS. WEDGWORTH: Objection.                            24    Q. Do dealers switch away from CDK?
        25             MR.NEMELKA: Objection.                               25          MR. NEMELKA: Objection.

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         1     A. Yes.                                                       1     A. Yes, they do.
         2     Q. (By Ms. Gulley) I'm sorry?                                 2     Q. (By Ms. Gulley) Do they switch away from Cox
         3     A. Yes. I think there was one -- one of the, you              3 Automotive Dealertrak?
         4 know, big users of-- I can't remember. It's -- it's               4           MS. WEDGWORTH: Objection.
         5 not a good example.                                               5           MR. NEMELKA: Objection.
         6     Q. What -- what about CarFax? If the dealer                   6     A. Yes, they do.
         7 wanted to download its information and send it to                 7     Q. (By Ms. Gulley) Now, you had mentioned there,
         8 CarFax --                                                         8 you do not have an agreement between Reynolds and Cox
         9     A. That's what I was thinking about.                          9 Automotive Dealertrack with respect to conversions; is
        10           MS. WEDGWORTH: Objection.                              10 that right?
        11           MR. NEMELKA: Objections.                               11          MS. WEDGWORTH: Objection.
        1/     A. And they do.                                              12     A. Correct.
        13     Q. (By Ms. Gulley) I did not know you were                   13     Q. (By Ms. Gulley) But dealers, nevertheless,
        14 thinking that, by the way.                                       14 leave Cox Aut- -- are able to switch between Reynolds
        15     A. Yeah. They do. They use --they use a                      15 and Cox; correct?
        16 reporting mechanism and download their data to CarFax            16          MS. WEDGWORTH: Objection.
        17 and, as a result, CarFax is --never became an RCI                17     A. That's correct. That process is -- is really,
        18 customer. And that's fine.                                       18 you know, relatively simple. What you do is -- and
        19     Q. (By Ms. Gulley) As well?                                  19 that's that you --you print off a bunch of reports --
        20           MS. WEDGWORTH: Objection.                              20 and I say "print off' --you run a bunch of print jobs,
        21     A. Yes. (Inaudible.)                                         21 but don't print them off Instead, you send them to
        22     Q. (By Ms. Gulley) Is the wind-down agreement                22 disk. And then that disk or thumb drive goes to the
        23 between Reynolds and CDK from 2015 still in effect?              23 assuming, you know, competitive system, and then they
        24           MS. WEDGWORTH: Objection.                              24 run a series of software programs that parse the printed
        25     A. No.                                                       25 information and put it into data records. And that

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         1 is -- that's how we convert any non-CDK, you know,             1 So the date of this email exchange is in early September
         2   customer. For instance, if we convert a Dealertrack          2 2015. What does Hendrick do after September 2015, after
         3   customer, we do it all with print jobs, and are very         3 this pitch was made?
         4   familiar with it doing it. It's really very simple           4           MS. WEDGWORTH: Objection.
         5   programming. It's Tab A, Slot B. You know, it's very,        5           MR.NEMELKA: Objection.
         6 very simple programming.                                       6    A. Really, really, you know, unhappy thing.
         7   Q. (By Ms. Gulley) Let me hand you what                      7 They -- they issued termination notices to us and
         8 Ms. Wedgworth marked Plaintiffs 657. This is the draft         8 announced that they're going to CDK. And I was very
         9 letter to Hendrick discussed between you and Mr. Lamb.         9 disappointed.
        10 Do you recall that area of questioning?                       10    Q. (By Ms. Gulley) Did they sign a contract with
        11     A. Yes.                                                   1 1 CDK?
        12    Q. So just now, you gave an example of a dealer --         12         MS. WEDGWORTH: Objection.
        13 how -- how you would convert a dealer other than a CDK        13    A. Yes, they did.
        14 dealer; is that accurate?                                     14    Q. (By Ms. Gulley) So they switched to CDK?
        15           MS. WEDGWORTH: Objection.                           15           MS. GULLEY: Objection.
        16      A. That's right. (Inaudible.)                            16      A. They didn't. They didn't switch yet.
        17    Q. (By Ms. Gulley) Now,in this draft letter that           17      Q. (By Ms. Gulley) They decided to switch?
        18 Mr. Lamb wrote, he discusses a -- a drop in sales and         18           MS. WEDGWORTH: Objection.
        19 other costs of a conversion away from Reynolds. Do you        19      A. They decided to switch. They contracted to
        20 remember that? And I'm looking at this -- this page           20 switch. And then -- which is a further, you know,
        21 with the chart ending in 023.                                 21 longer story -- they decided to switch. And then, as
        22          MS. WEDGWORTH: Objection.                            22 the switch began, it began first with a very small
        23    A. Yes.                                                    23 dealership that was, basically, a new start. And they
        24    Q. (By Ms. Gulley) Now,would you expect a dealer           24 had all new people and it was -- you know, therefore
        25 that was switching away from a different DMS provider         25 pretty easy, pretty simple conversion job, which went

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         1 into Reynolds to have the same sort of costs?                  1 okay.
         2           MS. WEDGWORTH: Objection.                            2           The second dealership that they converted
         3      A. Yes. You know, if we were converting them off          3 was a monster Toyota dealer, which is within eyesight of
         4 of Dealertrack, you know, we would go through the same         4 Hendrick's headquarters. And it was a -- an absolute
         5   process. And I -- I've tried to make the point that the      5   disaster from the conversion standpoint. But not
         6   greatest variable in any kind of conversion is whether       6   because of the software, not because of the systems, not
         7   or not, you know, the dealership personnel are motivated     7   because of the data conversion, not because of anything
         8   and actually take their courses, pass their tests and        8   like that.
         9 learn how to new -- use the new software. And that's           9           There is a process that is very, very
        10 key. And it's more important than anything else.              10   important in the service department, which it's called
        11    Q. (By Ms. Gulley) Does Reynolds help customers            11   "opcodes." And opcodes are -- they're unique to each
        12 do that?                                                      12   dealership. Each dealership has kind of built their own
        13          MS. WEDGWORTH: Objection.                            13   opcode structure. And typically, it's a two-digit or a
        14    A. Yes. We have an education department and we             14 three-digit number. And its whole purpose is -- is to
        15 have onsite installers, and we have remote install            15   save time in typing. When you're opening up a repair
        16 support people as well.                                       16   order, there's a tremendous amount of keystroke-kind of
        17    Q. (By Ms. Gulley) Would you consider yours                17   work that has to be done. And the opcodes shorten that
        18 superior or inferior to CDK's?                                18   dramatically.
        19            MS. WEDGWORTH: Objection.                          19           Well, there had been an initiative inside
        20     A. Well, I think that without question. We're             20   Hendrick, which had not been accomplished or even
        21 superior. But that's --you know, that --that's the            21   attempted, which was to standardize opcodes amongst all
        22 nature of-- of our business model. What we try to do          22   105 dealerships. And the goal -- or the reason to do
        23 is -- is -- we're not the cheapest. Don't want to be          23   that was, that way you could move a service advisor from
        24 the cheapest. We want to be the best.                         24 one dealership to another dealership, and he would not
        25    Q. (By Ms. Gulley) Turn back to that first page.           25 have to relearn the opcodes. Because if you put a

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         1 service adviser into an environment where there's all          1 "Mr. H.," as he's called -- he's very low-key kind of
         2 new opcodes, he's crippled, because he has to look up          2 guy. And he --he went around and just kind of talked
         3 whatever opcode it is. And -- and he has to keep doing         3 to folks, you know, after, you know, the initial fire
         4 that until he's finally memorized, you know, whatever          4 had been quenched. And he walked up to a -- a CDK
         5 the new set of opcodes are from the place he's been            5 installer and, you know, talked to him, you know,"Well,
         6 transferred to.                                                6 how are you? My name is Rick Hendrick." Shook his
         7          They wanted to avoid that forever and all             7 hand. Rick's -- you know, Rick's a hero figure in -- in
         8 time. Unfortunately -- and I don't know the exact --           8 car racing. He's one of"the" guys. And he was talking
         9 who talked to who about what, but the upshot was -- and        9 to this one young person and, you know, in the course of
        10 that's that Hendrick decided -- and -- and CDK let them       10 the conversation, he's -- he asked, well,"How long have
        1 1 change the opcodes on the day of conversion to the new       1 1 you been with CDK?"
        12 system.                                                       12        And the person answers. "Well, I'm not with
        13         And the result was -- and that's that, you            13 CDK. I'm -- I'm a contractor."
        14 know -- it's always been on Monday mornings, people           14       "Oh, really? Okay. How long have you been
        15 always bring their cars in, and they've kind of made          15 a contractor?" and so forth. And he talked to several
        16 their to-do list over the weekend and -- you know, day        16 others, you know, kind of got the same answer. And he
        17 one is, you know, you bring your car into do this or do       17 realized that he had been promised the best install team
        18 that. So there's a lot of-- right -- typical Monday           18 and he had not gotten it. And Rick Hendrick's the kind
        19 morning.                                                      19 of person -- he's a very simple person. You only get to
        20         The process of opening a repair order was             20 lie to him once.
        21 absolutely crippled, because it was all new opcodes and,      21          And the next day he called us up and said,
        22   you know, the service advisors had to look up every         22 "Bob," you know,"we've got problems. If you won't
        23   opcode, which just, you know, really made it proceed at     23 punish us, we'd like to come back."
        24   a snail's pace. Which meant that the -- the technicians     24          And the answer is, obviously,"Whatever our
        25   who were paid on incentive programs, they did not get       25 last proposal is, that's it."

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         1 work to do until almost noon. And they were not happy          1           And so they came back. And, you know,
         2 about that. They lost half a day's pay.                        2 that's probably one of the most amazing, you know,
         3           But everybody, I think, had a little bit             3 conversion stories that I've ever heard and -- and the
         4 of, you know, forgiveness built in, because, after all,        4 software, our software, had nothing to do with it. You
         5 they were converted to the new system and it was --            5 know, CDK's software had nothing to do with it. There
         6 they -- they expected some things not to go right.             6 was nothing wrong with the hardware. Probably not that
         7          The second day, it didn't get any better.             7 much wrong with the people. If they had just not
         8 And by noontime, you know, the techs were absolutely up        8 changed opcodes.
         9 in arms. It was an absolute up rising. And they were           9    Q. (By Ms. Gulley) Why did you lose Hendrick in
        10 saying -- which is absolutely true -- they were top           10 the first place?
        1 1 technicians, some of them had been with Hendrick 25          11         MS. WEDGWORTH: Objection.
        12 years or more, and they were just wailing. And so the         12    A. Well, that's a very pertinent question. Mr. Ed
        13 call for help went out to -- Mr. Hendrick needed to come      13 Brown is, nominally, the president, is a required
        14 and address the group, which he did. And he did a smart       14 banker. He was with Bank of America there in Charlotte
        15 thing. He said,"Guys, I promise you, you're going to          15 for 30 some-odd years. He retired. And he had banked
        16 make 10 percent more this month than you've ever this         16 Rick over the years and knew him well.
        17 year. Be patient with us."                                    17         And Rick decided that he wanted to spend
        18           The techs said, "Okay, we understand."              18 more time racing, and he hired Ed Brown. And Ed Brown
        19           And then another interesting thing                  19 knows nothing about computers. He probably -- by now,
        20 happened. Success of data conversions has a lot to do         20 he knows a little bit about dealerships but, you know,
        21 with the quality of personnel, experienced personnel,         21 that's not been -- he's definitely not what you would
        22 really. Obviously, there was -- there was some real           22 call a -- an experienced automotive executive. And I
        23 lack of experience, because the CDK conversion group          23 think what he wanted to do is he wanted to go do
        24 should have resisted this idea -- this crazy idea of          24 business with CDK because they were a big public company
        25 changing opcodes on the first day of installation. So         25 and we're not.

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         1      Q. (By Ms. Gulley) So he just decided to switch?           1 with Ms. Wedgworth, you used a number of terms like
         2         MS. WEDGWORTH: Objection.                               2 "profit producer" or "revenue generator." Do you
         3    A. So he decided to switch. And, you know, Mr. H.            3 remember that discussion?
         4 had promised me -- he said, "Bob, I promise you that I          4     A. Yes.
         5 will never, ever let the decision of this magnitude go          5          MS. WEDGWORTH: Objection.
         6 by without me personally being involved."                       6     Q. (By Ms. Gulley) You called it "sticky," right?
         7          And I said, "Rick, you really need to do               7          MS. WEDGWORTH: Objection.
         8 that."                                                          8     A. Yeah, it is -- it is so compelling from a money
         9   Q. (By Ms. Gulley) Did he promise he'll stay with             9 standpoint that we think that dealers will stick with it
        10 you?                                                           10 simply because it would make economic -- you know, it
        11        MS. WEDGWORTH: Objection.                               1 1 wouldn't be sensible to change.
        12    A. Well, he signed a five-year contract, and he             12    Q. (By Ms. Gulley) So I think the -- so the
        13 has almost doubled their billing with additional stuff         13 record is clear -- it's not entirely clear in the
        14 that they bought. They bought over 400 docuPADs.               14 record, who you're talking about. Who is making all of
        15   Q. (By Ms. Gulley) Let's talk about docuPAD for a            15 this revenue? Who is generating all of this -- who's
        16 minute. Does every Reynolds dealer have a docuPAD?             16 producing all of this profit?
        17          MS. WEDGWORTH: Objection.                             17         MS. WEDGWORTH: Objection.
        18          MR. NEMELKA: Objection.                               18    A. The dealer is. And -- and it's occurring
        19      A. No. That -- That's our goal, but I mean --             19 because of what, you know, what I think is nigh onto a
        20 we've not yet achieved that.                                   20 miracle. Because I -- I -- in the original conception,
        21    Q. (By Ms. Gulley) Now,if dealer -- if a dealer             21 I never dreamed it would do it.
        22 wanted to use docuPAD with another DMS, would you              22           What happens is -- and that's that the
        23 consider that?                                                 23 finance and insurance part of the business is typically
        24          MS. WEDGWORTH: Objection.                             24 called a "business office." And, you know, the part of
        25    A. There -- there's technical issues that just              25 the sales process of buying a car -- where it occurs is

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         1 prohibit that. You know, there's -- one of the -- one           1 after you've decided what car that you want. It's after
         2 of the magic screens in -- in docuPAD is a screen               2 you've decided what kind of financing, it's after you've
         3 where -- will be displayed of some add-on.                      3 decided on what trade-in value you're going to have.
         4           You know,for instance, like an extended               4 All that's done and everybody kind of shakes hands on
         5   warning for, you know,repair. There will be a                 5 the deal.
         6   good/better/best --that kind of choice and -- and the         6           And then, after a little bit, you're sent
         7   consumer, with their -- with their stylus on their side       7 to the business office to finalize the paperwork. Okay?
         8   of the table actually checks which one they want, and         8 That's where there's this final attempt to sell you
         9 they will instantly display what their payment is in the        9 things. And it's all kinds ofthings. It's extended
        10 corner.                                                        10 warranties. It is tire and wheel protection. It's, you
        11          And then they can -- they can tap on the              1 1 know, electronic key, locks. It's -- it's windshield
        12 "Better Policy," and it will change the payment for            1/ cracks. It is what they call "rust and dust," which is,
        13 them. And then it will check -- they'll tap on the             13 you know -- it's fabric protectant inside. It used to
        14 "Best Policy" and it will give them what the payment is.       14 be undercoating, but nobody undercoats anymore.
        15 And they can choose which one they want or none.               15          But it --it's a very, very essential
        16           They can -- they -- go back and click on             16 profit center for the dealership. Unfortunately, it is
        17 the "None" button, and it will(verbally indicating) --         17 ranked very, very high in customer dissatisfaction. And
        18 it will keep on changing, you know, the payment.               18 people who have been through the process are warned that
        19            Well, how does he get that done? What it            19 what you do is you cross your arms like this
        20   does is -- is it -- it is built right into the Reynolds      20 (indicating) when you go in there, and the answer to
        21   F&I system. And, you know,therefore, we can't -- we'd        21 everything they say is, "No." "No." "No." "No." And
        22   like to consider selling it to, you know, non-Reynolds       22 you do that long enough, they'll finally let you loose
        23   customers, but we can't from a technical standpoint. It      23 and you can go away with your new car.
        24 would just -- the rework would be just huge.                   24         What happens in the docuPAD situation is we
        25   Q. (By Ms. Gulley) Also in talking about docuPAD             25 completely changed that whole process. Instead, you

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         1 know, the consumer comes in, they sit on their side of          1      Q. (By Ms. Gulley) Are we talking '70s, the
         2 the table, and there's this big flat screen that's about        2 1970s?
         3 so high (indicating) and the whole transaction is --            3         MS. WEDGWORTH: Objection.
         4 takes place there. And the customer is given a stylus,          4    A. 1970s. 1970s. I have very, very bad
         5 and they basically -- it's a menu system. They get to           5 experience with them, and I'm, you know, still bent out
         6 pick the stuff off the menu that they want.                     6 of shape about that.
         7         And the miracle is that they buy more                   7           And then about -- about 20 years ago, there
         8 because they don't hate the process. They're -- they're         8   was a small company in Houston that, you know, copied
         9 so completely disarmed, you know, they -- they go from          9   our system and built a new one based upon -- they --
        10 this posture here, saying -- telling them,"No." "No."          10   they stole our -- our screen layouts, our report
        1 1 "No." Instead, they get handed a stylus, and say --           11   layouts, our -- our field -- our field layouts, our data
        12 "You" -- "You run the system. You make your choices."          12 fields inside the field -- inside the -- inside the
        13          And that amounts to, typically, 200 bucks             13 records, and sold it to, you know. ADP for $67 million
        14 per transaction more gross profit to the dealer. So if         14 And for some reason -- or a reason we don't know, ADP
        15 you have a -- a typical finance manager who will handle        15 decided to hold back $27 million out of that
        16 70 transactions a month at 200 bucks apiece, that's            16 transaction. For some reason.
        17 $14,000 a month in additional gross profit --per F&I           17           We sued ADP as a result, and I wasted a
        18 managers. If you've got five, then it's five times that        18 year in depositions, arbitration and whatnot. You know,
        19 a month.                                                       19 finally lost. I'm still amazed that I did. But in
        20    Q. (By Ms. Gulley) Is that more than the -- what            20 my -- I was dispirited about that. But the Lord decided
        21 they're paying to license the DMS,the whole DMS?               21 that he will help me.
        22    A. Correct.                                                 22           And it went like this: After ADP won, they
        23          MR.NEMELKA: Objection.                                23 put in -- they ran a whole floor in a big office
        24    A. We have customers that will stand up and swear,          24 building out of Westmark in Houston. And they hired
        25 and take calls, you know, and go visit -- that that's          25 about 150 programmers. This was going to be the next

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         1 what it does. It's that good. It's one ofthose                  1 generation system. They told their sales force all
         2 situations where -- I've been in this business a long           2 about the next generation system. And they worked at it
         3 time, and my daily prayer is, "Oh, Lord, please give me         3 and they worked at it and they worked at it, and it all
         4 one more killer ap." And he gave it to me. I -- I               4 looked great, and it would run four terminals well.
         5 didn't -- I didn't invent it. I can't take credit for           5 Four. You put 20 on it, it wouldn't work at all. And
         6 that. But I saw it, and I said, "God, we've got to have         6 they could not scale it up.
         7 this."                                                          7         But they worked -- they didn't stop
         8      Q. (By Ms. Gulley) All right. Lets switch gears            8 working. They said, "Well, we can fix this. We can do
         9 a little bit. Mr. Nemelka just shortly --this                   9 this." And they worked and they worked and they worked
        10 afternoon, put in front of you an email between you and        10 and they worked, and finally, five years after their --
        1 1 Mr. Anenen. Do you remember that?                             11 their, quote, "victory" over Bob Brockman, they scrapped
        1/     A. Uh-huh. (Witness answers affirmatively.)                1/ the whole thing.
        13     Q. How do you feel about CDK/ADP?                          13         And as close as I can estimate that cost
        14            MS. WEDGWORTH: Objection.                           14 them, including the original purchase price, plus the
        15            MR.NEMELKA: Objection.                              15 legal fees for fighting me off, it cost them $250
        16      A. Well, that is --that is a -- a complex                 16 million and cost them five years in market, because all
        17   question. There's individual people inside CDK that are      17 of a sudden, they had to start over on what their next
        18   decent people. Ron Workman was a decent person. I            18 generation piece of software was going to be.
        19 mean, Steve Anenen is a decent person. Corporately,            19         So obviously, I have a lot of very, very
        20   they're -- I don't have good feelings about them at all,     20 strong feelings about it -- about ADP or CDK. I don't
        21   and it goes back to many, many, many years ago. I've         21 like them, and I don't like them a lot.
        22   been competing against them directly in the marketplace      22    Q. (By Ms. Gulley) Do you want help them make
        23   for well in excess of40 years. And, you know, they did       23 more profits?
        24 some things, you know, back early on that I'm still mad        24         MS. WEDGWORTH: Objection.
        25 about.                                                         25           MR.NEMELKA: Objection.

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         1    A. Only if-- if I make more profit, you know,                 1     A. I -- I didn't come to understand their data
         2 right alongside them.                                            2 access policy, really, until we bought ReverseRisk,
         3    Q. (By Ms. Gulley) Well,in this case, the                     3 which is -- which was a customer. They -- they acquired
         4 plaintiffs have alleged that you and CDK have gotten             4 data downloads for accounting data from CDK,and it
         5 together in some sort of conspiracy. I want to kind of           5 wasn't until that time that I understood, even, how it
         6 talk through some of that. Are you the leader of                 6 all worked.
         7 Reynolds and Reynolds?                                           7     Q. (By Ms. Gulley) These --in terms of an
         8          MS. WEDGWORTH: Objection.                               8 agreement between Reynolds and CDK related to companies
         9    A. Unequivocally.                                             9 like Authenticom, if there was any such agreement about
        10    Q. (By Ms. Gulley) When did you learn that CDK               10 how the two firms were going to jointly treat somebody
        1 1 was going to require vendors to access its system              1 1 like Authenticom, would you know about it?
        12 through the 3PA program rather than any other method?           12           MS. WEDGWORTH: Objection.
        13          MS. WEDGWORTH: Objection.                              13     A. Absolutely. As you probably can tell, I'm --
        14    A. I don't know the exact day, but it was                    14 I'm into the details, big time. And there's no way in
        15 substantially after the stand-down agreement.                   15 the world anything like that would happen without my --
        16    Q. (By Ms. Gulley) So it was after February 2015?            16 without my knowledge.
        17    A. Yes.                                                      17     Q. (By Ms. Gulley) What about any agreement
        18          MS. WEDGWORTH: Objection.                              18 between Reynolds and CDK related to the two firms' data
        19    Q. (By Ms. Gulley) Did you personally agree with             19 access policies? If there were any agreement like that,
        20 anyone at CDK that you would get together to block              20 would you know about it?
        21 Authenticom?                                                    21     A. Absolutely.
        22          MS. WEDGWORTH: Objection.                              22           MS. WEDGWORTH: Objection.
        23          MR. NEMELKA: Objection.                                23     A. Absolutely.
        24    A. Did not.                                                  24     Q. (By Ms. Gulley) Did you enter into an
        25    Q. (By Ms. Gulley) That you would get together to            25 agreement with CDK to create a market where Reynolds

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         1 block anyone in Authenticom's business line?                     1 controlled all ofthe access to data stored on a
         2          MS. WEDGWORTH: Objection.                               2 Reynolds DMS and CDK would control all of the access to
         3    A. No. Did not.                                               3 data stored on CDK's DMS?
         4    Q. (By Ms. Gulley) Did you personally agree with              4           MS. WEDGWORTH: Objection.
         5 anyone at CDK that you would destroy Authenticom                 5     A. I did not.
         6 together?                                                        6     Q. (By Ms. Gulley) Are you aware of any such
         7          MS. WEDGWORTH: Objection.                               7 agreement?
         8    A. Absolutely not.                                            8           MS. WEDGWORTH: Objection.
         9    Q. (By Ms. Gulley) Have you ever discussed CDK's              9     A. There is no -- there is no such agreement.
        10 policies about system access to their DMS with CDK?             10     Q. (By Ms. Gulley) As soon as we find it, I'll
        11          MS. WEDGWORTH: Objection.                              1 1 hand you Exhibit 644, from plaintiffs, earlier marked.
        1/    A. I have not.                                               12 It's notes from a sales meeting in Aspen. Ms. Wedgworth
        13    Q. (By Ms. Gulley) Are you aware of any agreement            13 had asked you some questions about this. I'd like to
        14 between anyone at Reynolds and CDK to eliminate                 14 direct you to the page ending 632. I -- I don't
        15 third-party data brokers, like Authenticom?                     15 actually know if it was Ms. Wedgworth or Mr. Nemelka as
        16          MS. WEDGWORTH: Objection.                              16 I sit here, but do you recall looking at this document
        17    A. I have not.                                               17 before?
        18    Q. (By Ms. Gulley) Did you and CDK ever meet to              18     A. Yes, I do.
        19 even discuss the two firm's data access policies?               19     Q. And again, these are -- I believe you
        20          MS. WEDGWORTH: Objection.                              20 testified, in sum and substance, that these are your
        21    A. We have not.                                              21 notes in preparation of speaking to the top salespersons
        22    Q. (By Ms. Gulley) Are you aware of anyone having            22 at Reynolds in --
        23 those kind of conversations with CDK?                           23           MS. WEDGWORTH: Objection.
        24    A. No.                                                       24     Q. (By Ms. Gulley) -- July 2014.
        25          MS. WEDGWORTH: Objection.                              25           MS. WEDGWORTH: Objection.

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         1     A. Yes, it would be the sales VPs.                               1 those folks? Or something else?
         2     Q. (By Ms. Gulley) And how many sales VPs are                    2           MS. WEDGWORTH: Objection.
         3 there?                                                               3           MR.NEMELKA: Objection.
         4           MS. WEDGWORTII: Objection.                                 4     A. Probably, you know, Phil Bautista was -- was
         5     A. All total, like, 12.                                          5 one of the early and one of the worst ones. And is
         6     Q. (By Ms. Gulley) All right. There's a line                     6 still -- he's still regrowing his fangs.
         7 here -- Bullet 1, 2, 3, 4 -- Bullet 4, "This could put               7           MS. GULLEY: I thank you for your time. I
         8 the security wars very much behind us." Do you see                   8 have nothing further. I believe the plaintiffs have a
         9 that?                                                                9 few minutes left.
        10           MS. WEDGWORTH: Objection.                                 10               FURTHER EXAMINATION
        11     A. Is this 632?                                                 1 1 BY MR. NEMELKA:
        12     Q. (By Ms. Gulley) 632. Do you see where it says                12     Q. Mr. Brockman, you testified about an -- an
        13 "Security" at the bottom?                                           13 Xtime incident, and I have a question about that. The
        14     A. Okay.                                                        14 Xtime incident happened through the RCI interface, not
        15     Q. And then there's a number of bullet points.                  15 because of any data integrator; correct?
        16 I'm looking at the penultimate -- the second from the               16           MS. GULLEY: Form.
        17 bottom. "This could put the security wars very much                 17     A. That's correct.
        18 behind us." Do you see where I am?                                  18     Q. (By Mr. Nemelka) So your answers with respect
        19           MS. WEDGWORTH: Objection.                                 19 to the Xtime incident have nothing to do with use of
        20     A. Yes.                                                         20 data innovators, right?
        21     Q. (By Ms. Gulley) You were asked a lot about                   21           MS. GULLEY: Form.
        22 this section in earlier questioning. I'd like you to                22     A. That particular situation, yeah, did not
        23 explain what you meant by "security wars" in this                   23 involve data integrator. Come, however, any data
        24 document.                                                           24 integrator that employed any kind of write-back
        25           MS. WEDGWORTII: Objection.                                25 strategy, you know, could, potentially, the same thing

                                                                    Page 353                                                           Page 355
         1           MR. NEMELKA: Objection.                                    1 happen.
         2     A. The subject of data security, when it comes to                2     Q. (By Mr. Nemelka) All right. And then
         3 third-party data brokers, hackers, whatever you want to              3 Ms. Gulley put a document in front of you with your son
         4 call them, has been, over the years, very much a                     4 about the DealerBuilt situation. The DealerBuilt
         5 cat-and-mouse kind of situation where we will detect a               5 situation also had nothing to do with dealers using data
         6 method by which somebody is getting into the system.                 6 integrators, right?
         7 And we will devise a countermeasure. And that will                   7     A. That's correct.
         8 cause them to be unable to get into the system for a                 8     Q. And so you wrote your son, "It finally
         9 while.                                                               9 happened." It had nothing -- but that had nothing to do
        10           And then they --they're -- they're not --                 10 with Data Integrators, right?
        11 you know, dummies. What they'll do is they'll figure                11           MS. GULLEY: Objection; form.
        1/ out a different way. And that will work for a while,                1/     A. It has to do with a data breach situation,
        13 and we will, ultimately, observe that one, and we'll                13 which is a very distinct possibility with a data
        14 then go about employing countermeasures.                            14 integrator.
        15           Now, what that is -- is that --that's --                  15     Q. (By Mr. Nemelka) But that incident with
        16 that's kind of a seesaw, you know, kind of back and                 16 DealerBuilt had nothing to do with a data integrator,
        17 forth like a war. And that's where the inference comes              17 right?
        18 from. There's not a -- a --we don't have a declaration              18           MS. GULLEY: Objection; form.
        19 of war per se. You know, we don't have a -- a, quote,               19     A. That particular incident did not have anything
        20 "War room" with a capital W,that sort ofthing. It --                20 to do with a data integrator.
        21 it's a figure of speech. And it applies to this, you                21     Q. (By Mr. Nemelka) And still today, you haven't
        22 know, back and forth nature of -- of data security                  22 -- you're not aware of any data breach caused by
        23 and -- and its countermeasures.                                     23 Authenticom; correct?
        24     Q. (By Ms. Gulley) So -- so the security war was                24           MS. GULLEY: Objection; form.
        25 with DMI and Integra Link!! and Authenticom and SIS,                25     A. That's come to my attention.

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         1     Q. (By Mr. Nemelka) You also testified about --                      Q. And the email which is dated May 8, 2016, you
         2 you estimated that you wouldn't be surprised -- I wrote             2 might recall that dealt with security enhancements that
         3 it down -- you wouldn't be surprised, you said, if the              3 you wanted to implement and did implement that month.
         4 number was 500 million with respect to what Reynolds had            4 Do you recall that?
         5 spent with respect to security. Do you recall that                  5          MS. GULLEY: Form.
         6 testimony?                                                          6    A. Excuse me. Let me read this again. Yes, I --
         7           MS. GULLEY: Billion. Not millions. He                     7 I've read this. I'm not sure that I understand it
         8 said billion, not million                                           8 completely, but --
         9           MR. NEMELKA: 500 billion?                                 9    Q. (By Ms. Wedgworth) So here, Mr. Schaefer asked
        10           MS. GULLEY: Oh, I'm sorry. Half a                        10 you, toward the bottom of the email, talking about the
        1 1 billion. I'm sorry, Counselor, it's late. I'm sorry,              1 1 new security enhancements to be implemented by Reynolds
        12 Mike.                                                              12 It states, "I am trying to understand if there will be
        13     Q. (By Mr. Nemelka) You never actually calculated              1 3 any exceptions? Which we have always had? For example,
        14 that number, did you?                                              14 PAG, Hendrick, AMSI, Rahal, Wyler, etc."
        15     A. That's correct.                                             15          PAG and Hendrick, AMSI, Rahal and Wyler,
        16     Q. Nobody in Reynolds actually calculated that                 16 those are all dealerships; correct?
        17 number, have they?                                                 17          MS. GULLEY: Objection; form.
        18           MS. GULLEY: Objection; form.                             18    A. That's correct.
        19     A. That's correct.                                             19    Q. (By Ms. Wedgworth) And they are large
        20     Q. (By Mr. Nemelka) There are no documents                     20 dealerships, right?
        21 reflecting that calculation, are there?                            21    A. Yes. They are some of the largest.
        22     A. No.                                                         22    Q. And here, Mr. Schaefer says that those
        23          MS. GULLEY: Form.                                         23 dealerships have always had exemptions; is that correct?
        24     A. That's -- that's correct. I -- I'm making                   24          MS. GULLEY: Form.
        25 that, you know, guesstimate based on my knowledge and              25    A. For certain, you know, PAG, Hendrick, AMSI,I'm

                                                                   Page 357                                                      Page 359
         1 experience in the business.                                         1 personally aware of always had some exceptions. These
         2     Q. (By Mr. Nemelka) All right. That number is                   2 are very large organizations, amongst the largest, and
         3 just a guesstimate, right?                                          3 have very extensive IT staffs of their own. And they're
         4           MS. GULLEY: Objection; form.                              4 what I would call quite sophisticated.
         5     A. That's correct. But I think it's a pretty good               5           Rahal and Wyler are a little smaller, but
         6 one.                                                                6 they still have -- not a large number of individuals,
         7     Q. (By Mr. Nemelka) But it's still speculative,                 7 but they have a small number of individuals that are
         8 right?                                                              8 really, really savvy and know what they're doing.
         9           MS. GULLEY: Objection; form.                              9           And in those particular cases, we've always
        10     A. It's still speculative. But I would -- I would              10 allowed them, you know, some specific exceptions as far
        1 1 add that I'm, you know, probably uniquely qualified to            1 1 as, you know, downloading of data and that sort of
        1/ be able to make that kind of guesstimate.                          12 thing.
        13           MR. NEMELKA: All right.                                  13           MS. GULLEY: That's -- that's the end of
        14               FURTHER EXAMINATION                                  14 your time.
        15 BY MS. WEDGWORTH:                                                  15     A. And what -- what --
        16     Q. Mr. Brockman, you stated earlier that the                   16     Q. (By Ms. Wedgworth) Well --
        17 exemptions are only for specific security policy. Do               17     A. What Bob Schaefer is doing and that's he wants
        18 you remember saying that when Ms. Gulley was asking you 18 to know, you know, what kind of exception is -- is going
        19 questions?                                                         19 to be. And he's asking, he's saying, "Please advise."
        20     A. Yes, I did.                                                 20     Q. And he's saying, We have always had these
        21     Q. If you could look at -- at Exhibit 665 of                   21 exceptions for these dealerships, correct?
        22 Plaintiffs. Here's 665. Mr. Brockman, this document,               22     A. The     the --
        23 halfway down the page, the top email, if you'll note, is           23           MS. GULLEY: Objection; form.
        24 from Mr. Schaefer to you. Do you see that?                         24     A. -- for these, five dealerships, there's always
        25     A. Yes.                                                        25 been some kind of exception. Without going back in to

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         1 the details, I can't tell you exactly what.                           1 half of it was brilliant?
         2     Q. (By Ms. Wedgworth) And in addition to --                       2           MS. GULLEY: Object to everything you just
         3            MS. GULLEY: Peggy, that's the end of your                  3 said.
         4 time.                                                                 4           MS. WEDGWORTH: Here's a copy of it for
         5            MS. WEDGWORTH: I'm going to continue. You                  5 you. 677.
         6 took a long time, you went over a lot of topics. You                  6           MR. NEMELKA: I found it.
         7 covered lots of-- a lot of topics.                                    7          MS. WEDGWORTH: 657. There we go.
         8            MS. GULLEY: You had to reserve your time                   8     Q. (By Ms. Wedgworth) Mr. Brockman, do you recall
         9 for that. I'm sorry, Peggy. We're not going to                        9 this document?
        10 continue. I told you that there was a limit to how long              10     A. Yes, ma'am.
        1 1 you could go. I just didn't cut him off when he was                 11     Q. So on the second page, those dealerships that
        12 answering.                                                           12 are listed there, those are all privately held
        13            MS. WEDGWORTH: Nor did I when I was                       1 3 dealerships, correct --
        14 questioning him. So I -- I'm going to continue my                    14           MS. GULLEY: Objection; form.
        15 questioning.                                                         15     Q. (By Ms. Wedgworth) -- in that box, in the
        16            MR. NEMELKA: We have two more minutes.                    16 chart?
        17 You're wrong about your calculation anyway, Andi.                    17           MS. GULLEY: Form.
        18     Q. (By Ms. Wedgworth) So -- so other than the                    18     Q. (By Ms. Wedgworth) Second page.
        19 five dealerships, there's also an "etc." at the end,                 19           MS. GULLEY: Form.
        20 Mr. Brockman. Do you see that?                                       20     A. And what -- what is your question again,
        21            MS. GULLEY: Objection; form.                              21 please, ma'am?
        22     A. Yes, ma'am, I do.                                             22     Q. (By Ms. Wedgworth) The dealerships listed in
        23     Q. (By Ms. Wedgworth) And so that doesn't limit                  23 the chart are all privately held dealerships; is that
        24 it to just the five dealerships who always have                      24 right?
        25 exemptions; is that correct?                                         25           MS. GULLEY: Form.

                                                                     Page 361                                                                Page 363
         1            MS. GULLEY: Objection; form.                               1     A. Ma'am, I -- I don't know that. I -- I --
         2     A. Ma'am, I -- I don't know, you know, if there's                 2 there's some of them -- Herb Chambers, I'm -- I'm
         3 one more, or no more, or multiple that more. I can't                  3 familiar with. And I'm pretty sure that one is
         4 tell from looking at this. And, again, we -- I think                  4 privately owned. The status of the rest of them, I --
         5 we've also talked about in the last two days about the                5 I'm unaware.
         6 total number of exceptions that are out there and how                 6     Q. (By Ms. Wedgworth) Well, do you have -- do you
         7 that number keeps coming down, down, down,down, down                  7 have any knowledge that any ofthose others are publicly
         8 And were not all the way there yet.                                   8 held companies?
         9     Q. (By Ms. Wedgworth) And the biggest drop of                     9     A. Ma'am,I'm -- I'm sorry. I -- I just don't
        10 those exemptions coming down --                                      10 know.
        11          MS. GULLEY: Objection.                                      11     Q. Okay. With regard to this letter, I think you
        1/     Q. (By Ms. Wedgworth) -- came after the                          1/ answered some questions from Ms. Gulley. You -- do you
        13 stand-down agreement; correct?                                       13 stand by this letter as Mr. Ron Lamb wrote it and you
        14     A. That's correct.                                               14 edited it?
        15     Q. So if we now go to the first exhibit that you                 15           MS. GULLEY: Objection; form.
        16 -- that I used with you today -- and let's see if I can              16     A. Yeah, I acknowledge the fact that he wrote it.
        17 find it.                                                             17 This is a sales letter. And I looked at it from a
        18            MR. NEMELKA: I can try to find it for you.                18 topical standpoint. As I think I remember stating, I
        19            MS. WEDGWORTH: Okay. It's the Ron Lamb                    19 was very pleased that there were no misspellings, and
        20 exhibit. But I -- I'll try to do it without looking for              20 punctuation also looked pretty good. But as far as
        21 the exhibit. It was the very first one today, which                  21 the -- the exact, you know, last, you know, comment in
        22 would be 657.                                                        22 the paragraph, I did not read it for that -- that level
        23     Q. (By Ms. Wedgworth) But it's -- it's the letter                23 of content.
        24 that Ms. Gulley referred you to that you reviewed, where             24     Q. (By Ms. Wedgworth) Well, when you say it's a
        25 you said Mr. Lamb has written the letter and the first               25 sales letter --

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         1         MS. GULLEY: Ms. Wedgworth, were way                       1 depending on his answers.
         2 beyond your time. You can finish the -- you are way               2          MS. GULLEY: What are you going to ask the
         3 beyond your time. For the record, we have asked                   3 court for, an unlimited deposition?
         4 questions of all of our witnesses. You just did not               4          MS. WEDGWORTII: Nope. Not unlimited at
         5 reserve enough.                                                   5 all. I would think at least an hour could cover all of
         6          MS. WEDGWORTH: Well, I'm going to -- I'm                 6 this.
         7 going to keep this deposition open for many reasons.              7          MS. GULLEY: Well, I believe that we need
         8 The least of which is that we -- we let him answer every          8 to go off the record. You're asking me before we go off
         9 single question. We let him take as long as we want.              9 the record for an extension of one hour. Otherwise,
        10 You've asked a lot of questions. He's given very long            10 you're filing a motion to just to be clear on the
        1 1 answers and we're entitled to respond to all of that.           1 1 record, for the future.
        12 In addition, you produced over 2,000 -- 200,000                  12          MS. WEDGWORTH: Correct. Correct.
        1 3 documents --                                                    13          MS. GULLEY: And you'll be asking the Court
        14          MR.NEMELKA: Pages of documents.                         14 for one hour, additional?
        15         MS. WEDGWORTH: --pages of documents over 15                          MS. WEDGWORTH: Certainly one hour, yes.
        16 the weekend. And for all those reasons, we are going 16                      MS. GULLEY: Okay. Off the record.
        17 to --                                                17                      THE VIDEOGRAPHER: Off the record at 4:20
        18         MS. GULLEY: You knew that those documents    18 p.m.
        19 were coming in advance, because we --                19                      (Short recess 4:20 to 4:42 p.m.)
        20         MS. WEDGWORTH: Actually, we did not. And                 20         THE VIDEOGRAPHER: Back on the record at
        21 we certainly didn't see them coming in on Friday night.          21 4:42 p.m.
        22         MS. GULLEY: You compelled them and the                   22          MS. GULLEY: While we were off the record,
        23 court ruled that they would be produced after the motion         23 there was discussion back and forth among counsel about
        74 to compel. As you know, we're all still producing                24 next steps. Counsel for plaintiffs approached me and
        25 documents in response to the Court's ruling on the               25 said, you know,if we could go ten more minutes, they

                                                                 Page 365                                                        Page 367
         1 motion to compel. You put these depositions on the                1 would, you know, withdraw their objection to keep the
         2 docket in -- in any event. That's our entire point, is            2 deposition open. We were agreeable to that extra ten
         3 why plaintiffs are so far ahead of us on the number of            3 minutes, and we're willing to put Mr. Brockman on the
         4 depositions, because plaintiffs do not produce                    4 stand for an extra ten minutes.
         5 documents. And we understand that we can only take                5          However, during that time period, he
         6 depositions once.                                                 6 suffered an incident with his health, verified by a
         7         We are not holding the deposition open                    7 test. And unfortunately, he's unable to come back into
         8 longer. You have used the entire seven hours. We split            8 the room to proceed for those ten minutes. My
         9 this over two days, not to give you a one-and-a-half day          9 understanding is that plaintiffs are okay closing the
        10 deposition, but rather because of health -- of attorney          10 deposition for today, subject to your statements.
        1 1 eyes only -- as we said before -- health considerations         11          MS. WEDGWORTH: We just reserve our rights
        12 that mean Mr. Brockman really cannot be here any longer.         12 to pursue whatever we may need in the future. And we
        13          And therefore, this deposition is not going             13 certainly appreciate that his health is paramount and
        14 to stay here open. I was actually going to tell you we           14 don't feel it appropriate. If the --if he can't
        15 were out of time; if you would like to finish this               15 testify today, it wouldn't be appropriate to do it
        16 series of questions for the next two or three minutes,           16 today, due to his health.
        17 that's fine, until you jumped down my throat and said            17          MR. NEMELKA: And I have no further
        18 you're not going to close it at all. That's nonsense.            18 questions.
        19 That's -- we have an agreed protocol order.                      19         MS. GULLEY: No,just in response to
        20           MS. WEDGWORTH: Well, I am not agreeing to              20 Ms. Wedgworth, obviously, Mr. Brockman is the chairman
        21 it, and I will be making a motion to the court to finish         21 of the company, and he made himself available for the
        22 this deposition.                                                 22 entire seven hours. We would object to keeping the
        23        MS. GULLEY: How much longer do you need,                  23 deposition open in any way. I understand we've agreed
        24 Ms. Wedgworth?                                                   24 to disagree on that point.
        25          MS. WEDGWORTH: I'm not sure. It's                       25          MS. WEDGWORTH: Off the record.

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                                                                       Page 368                                                                 Page 370
         1            THE VIDEOGRAPHER: This will conclude                         1        IN THE UNITED STATES DISTRICT COURT

         2 today's deposition for Mr. Robert Brockman. We are off                           FOR THE NORTHERN DISTRICT OF ILLINOIS

         3 the record at 4:43 p.m.                                                 2                EASTERN DIVISION
                                                                                   3                    )
         4            (Deposition concluded at 4:43 p.m.)
                                                                                        IN RE: DEALER MANAGEMENT )MDL NO. 2817
         5
                                                                                   4 SYSTEMS ANTITRUST                 )
         6                                                                              LITIGATION,              )CASE NO. 18 C 864
         7                                                                         5                    )
         8                                                                         6
         9                                                                         7

        10                                                                         8           REPORTER'S CERTIFICATION

        11                                                                         9     ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN
                                                                                  10                January 17, 2019
        12
                                                                                  11                  Volume 2
        13
                                                                                  12
        14
                                                                                  13        I, SHAUNA L. BEACH, Certified Shorthand
        15                                                                        14 Reporter in and for the State of Texas, do hereby
        16                                                                        15 certify to the following:
        17                                                                        16        That the witness, ROBERT BROCKMAN,was duly
        18                                                                        17 sworn by the officer and that the transcript ofthe oral

        19                                                                        18 deposition is a true record ofthe testimony given by
                                                                                  19 the witness;
        20
                                                                                  20        I further certify that pursuant to FRCP Rule
        21
                                                                                  21 30(e)(1) that the signature ofthe deponent:
        22
                                                                                  22         X was requested by the deponent or a party
        23                                                                        23 before the completion ofthe deposition and is to be
        24                                                                        24 returned within 30 days from the date ofreceipt of the
        25                                                                        25 transcript. If returned, the attached Changes and

                                                                       Page 369                                                              Page 371
        1         CHANGES AND SIGNATURE                                             1   Signature Page contains any changes and the reasons
        2 WITNESS NAME:ROBERT BROCKMAN DATE: January 17, 2019
        3 PAGE   LINE CHANGE       REASON
                                                                                   2    therefor;
        4                                                                          3                was not requested by the deponent or a
        5                                                                          4    party before the completion of the deposition.
        6
        7
                                                                                   5           I further certify that I am neither counsel
        8                                                                          6    for, related to, nor employed by any ofthe parties or
        9                                                                          7    attorneys to the action in which this proceeding was
        to
        11                                                                         8    taken. Further, I am not a relative or employee of any
        12                                                                         9    attorney of record in this cause, nor am I financially
              I, ROBERT BROCKMAN,have read the foregoing                          10    or otherwise interested in the outcome of the action.
        13 deposition and hereby affix my signature that same is
           true and correct, except as noted above.                               11             Subscribed and sworn to on this
        14                                                                        12          30th Day of January , 2019.
                       ROBERT BROCKMAN                                            13
        15
           THE STATE OF
                                                                                  14
                                       )
        16 COUNTY OF                 )                                            15
        17        BEFORE ME,                                    , on this
           day personally appeared ROBERT BROCKMAN,known to me (or
        18 proved to me under oath or through
                                                                                  16
                                            )(description of identity             17                SHAUNA L. BEACH,RDR, CRR,CSR #8408
        19 card or other document) to be the person whose name is                                   Expiration Date: 12/31;2019
           subscribed to the foregoing instrument and acknowledged
        20 to me that they executed the same for the purposes and                 18
           consideration therein expressed.                                       19
        21        Given under my hand and seal of office this                     20
                     day of                                ,
        22
                                                                                  21
                                                                                  22
        23           NOTARY PUBLIC IN AND FOR                                     23
                     THE STATE OF
        24           COMMISSION EXPIRES:
                                                                                  24
        25                                                                        25

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                           Federal Rules of Civil Procedure

                                       Rule 30




              ( e) Review By the Witness; Changes.

              ( 1) Review; Statement of Changes. On request by the

              d eponent or a party before the deposition is

             completed, the deponent must be allowed 30 days

              a fter being notified by the officer that the

             transcript or recording is available in which:

              (A) to review the transcript or recording; and

              (B) if there are changes in form or substance, to

             s ign a statement listing the changes and the

              r easons for making them.

              ( 2) Changes Indicated in the Officer's Certificate.

              T he officer must note in the certificate prescribed

             b y Rule 30(f) (1) whether a review was requested

              a nd, if so, must attach any changes the deponent

             m akes during the 30-day period.




              D ISCLAIMER:    THE FOREGOING FEDERAL PROCEDURE RULES

             ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

              T HE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

             2016.      PLEASE REFER TO THE APPLICABLE FEDERAL RULES

              O F CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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                        VERITEXT LEGAL SOLUTIONS
              COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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         transcript of the colloquies, questions and answers
         as submitted by the court reporter. Veritext Legal
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         documents as submitted by the court reporter and/or
         attorneys in relation to this deposition and that
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